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                                                                                                United States District Court
                                                                                                  Southern District of Texas

                                                                                                     ENTERED
                                                                                                   January 19, 2018
                               UNITED STATES DISTRICT COURT
                                                                                                  David J. Bradley, Clerk
                                SOUTHERN DISTRICT OF TEXAS
                                  CORPUS CHRISTI DIVISION

M.D.; bnf STUKENBERG, et al.                   §
                                               §
         Plaintiffs,                           §
VS.                                            §           CIVIL ACTION NO. 2:11-CV-84
                                               §
GREG ABBOTT, in his official capacity          §
as Governor of the State of Texas              §
and                                            §
CHARLES SMITH, in his official capacity §
as Executive Commissioner of the Health        §
and Human Services Commission of the           §
State of Texas                                 §
and                                            §
HENRY WHITMAN JR., in his official             §
capacity as Commissioner of the Department §
of Family and Protective Services of the State §
of Texas                                       §
                                               §
         Defendants.                           §

                                              FINAL ORDER

          The Court’s post-trial Memorandum Opinion and Verdict (“December 2015 Order”)

found the State of Texas (the “State,” “Texas,” or “DFPS”)1 failed to protect foster children in its

Permanent Managing Conservatorship (“PMC”) from an unreasonable risk of harm. (D.E. 368,

Page 255). The Court’s December 2015 Order is hereby incorporated by reference in its entirety.

The Court identified several specific areas as constitutionally deficient. (D.E. 368, Pages 248-

54). The Court ordered Texas to “establish and implement policies and procedures to ensure that

Texas’s PMC foster children are free from an unreasonable risk of harm.” (D.E. 368, Page




1
 Greg Abbott has since replaced Rick Perry as Governor of Texas, Charles Smith has since replaced Kyle Janek
who replaced Suehs as Executive Commissioner of the Health and Human Services Commission, and Henry
Whitman, Jr. has replaced John J. Specia, Jr., who replaced Heiligenstein as Commissioner of DFPS.


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245).2 It also ordered the State to “immediately stop placing PMC foster children in unsafe

placements, which include Foster Group Homes that lack 24-hour awake-night supervision.”

(D.E. 368, Page 245). Two years and one legislative session later, the foster care system of

Texas remains broken. The Court appointed Special Masters to develop an Implementation Plan

(the “Plan”) that would provide PMC children “with the constitutional minimum standards of

personal security and safe living conditions so that they are free from unreasonable risk of harm,

both physical and emotional.” (D.E. 546, Page 1).

I.        PROCEDURAL HISTORY

          The pre-trial history of this case is outlined in the Court’s December 2015 Order. That

order was not final, as the Court was not in possession of sufficient information to do so. (D.E.

368, Page 245). Defendants appealed the Court’s December 2015 Order and requested a stay

pending appeal, which this Court denied. (D.E. 370; D.E. 371). The Fifth Circuit also denied a

stay pending appeal. M.D. ex rel. Stukenberg v. Abbott, No. 16-40023 (5th Cir. Mar. 21, 2016).

Defendants subsequently voluntarily dismissed the appeal. M.D. ex rel. Stukenberg v. Abbott,

No. 16-40023 (5th Cir. Apr. 5, 2016).

          On March 21, 2016, the Court appointed Kevin Ryan and Francis McGovern as Special

Masters to address the specific areas of constitutional deficiency identified in the Court’s

December 2015 Order. (D.E. 379). Defendants sought a writ of mandamus directing the Court

to vacate the appointment of the Special Masters, which the Fifth Circuit denied. M.D. ex rel.

Stukenberg v. Abbott, No. 16-40482 (5th Cir. July 7, 2016). The Special Masters assembled a

team and subsequently reviewed hundreds of thousands of pages of documents and met with the

parties on numerous occasions over twenty-one months. (D.E. 546, Page 1). On November 4,

2
  The State of Texas continues to refuse to recognize it has a constitutional duty to protect PMC children from
unreasonable risk of harm. See, e.g., (D.E. 556-1, Page 2 ¶ 8) (“DFPS operates a constitutionally sound system . . .
.”).


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2016, the Special Masters filed a set of recommendations responsive to the Court’s December

2015 Order. (D.E. 471). On January 9, 2017, the Court issued an interim order adopting the

recommendations made by the Special Masters in November 2016. (D.E. 500). The Court

determined that a final order could not be entered at that time, as additional information was still

required. (D.E. 500, Page 2). The Court ordered the Special Masters to work with DFPS to

create policies to address the Special Masters’ prior recommendations. (D.E. 500, Page 13).

          The Court ordered the Special Masters to conduct a workload study of I See You

workers3 and of Residential Child Care Licensing (“RCCL”)4 investigators and inspectors. (D.E.

500, Pages 22-23). The Special Masters retained experts at the University of Texas-Austin to

conduct the two studies. (D.E. 546, Page 100-111; D.E. 546-1). On December 4, 2017, the

Special Master,5 after twenty-one months of careful study and with no input from the State

except providing information requested, filed a list of policies responsive to the Court’s

December 2015 and January 2017 Orders.6 (D.E. 546).

          Following the fifteen days the Court allowed for objections, Plaintiffs filed no objections

and Defendants filed general and specific objections that will be addressed separately below.

See (D.E. 555; D.E. 556). In numerous instances, the State refused to participate in drafting


3
  “I See You workers’ main responsibility, as indicated in the position title, is ‘seeing the child’ in her placement
every month to confirm that she ‘is still there.’” (D.E. 368, Page 171 (quoting D.E. 305, Pages 61-63)); see infra at
III.K. DFPS recently renamed the position “Local Permanency Specialist.” This Order retains the title used at trial.
4
  Since the entry of the Court’s December 2015 Order, the licensing aspects of RCCL have been separated from
DFPS’s administrative control. Licensing inspectors and the Centralized Background Check Unit (“CBCU”) were
moved to a new regulatory division within the Texas Health and Human Services Commission (“HHSC”).
However, the investigators who conduct investigations of alleged abuse and neglect in childcare operations remain
under DFPS’s control as part of CPS. Accordingly, the Court enters relief against the State of Texas to ensure PMC
children are free from an unreasonable risk of harm. For consistency, this Order uses the same name used at trial,
“RCCL.”
5
  On November 21, 2017, the parties agreed that Francis McGovern would serve as a mediator in this case and his
appointment as a Special Master was terminated. (D.E. 544).
6
  On December 15, 2017, Texas Lawyers for Children filed an amicus brief in support of Plaintiffs. (D.E. 554).
Although well-written and presented, this would have better served the children as a pre-trial brief, so the Court
could have evaluated the evidence in the brief after thorough examination by the parties. The Court has not relied
on the amicus brief in reaching any of its conclusions.


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corrective policies. See (D.E. 546, Pages 10-11, 16, 21, 25, 41, 43, 47); infra at III. The State

has taken minimal steps to aid the Special Masters in crafting corrective policies, limiting their

participation to providing requested information. Further, the State has completely ignored the

Court’s December 2015 Order to “establish and implement policies and procedures to ensure that

Texas’s PMC foster children are free from an unreasonable risk of harm.” (D.E. 368, Page

245).7 The Court adopts the Special Master’s policy recommendations as orders of the Court, as

specified herein.

II.       DEFENDANTS’ GENERAL OBJECTIONS TO SPECIAL MASTER’S POLICY
          RECOMMENDATIONS

          Defendants organize their Objections into General Objections that apply to the entire plan

(D.E. 556, Pages 2-10 ¶ 1), “Cluster” Objections that apply to particular sets of Items (D.E. 556,

Page 10 ¶ 2-Page 19 ¶ 3), and Specific Objections (D.E. 556, Pages 19-44). The Court addresses

the General and Cluster Objections in this section. Most of the Defendants’ Specific Objections

are chiefly factual in nature and are addressed infra at III. Many of the “specific” objections

raised by Defendants merely repeat the Defendants’ General Objections and repetitious specific

objections are not separately addressed beyond this section.




7
  In its order denying Defendants’ application for a stay of the December 2015 Order, the Fifth Circuit held that the
only appealable portion of this Court’s order was the prohibition on unsafe placements. M.D. v. Abbot, No. 16-
40023, slip op. at 4 (5th Cir. Mar. 21, 2016). However, the Fifth Circuit observed that orders appointing special
masters or requiring preparation and submission of remedial plans are not generally appealable. Id. at 4 & n. 3
(citing cases).


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          A.     General Objections

                 1.      Lack of Reliable Evidence

                         a.      Objection

          Defendants object to the entirety of the Plan on the basis that there is no expert or

otherwise admissible evidence of any class-wide constitutional violations. (D.E. 556, Page 2,

¶ 1(a)). They therefore argue that class-wide remedies are inappropriate. Id.

                         b.      Ruling on Objection

          This Objection is an attempt to relitigate the merits of the action, which were addressed in

the Court’s December 2015 Order, of which all findings of fact and conclusion of law are

incorporated herein. It is therefore OVERRULED.

                 2.      Vagueness of Constitutional Violations

                         a.      Objection

          Defendants object that the constitutional violations identified by the Court “are too vague

to permit the remedies proposed in the Plan to be precisely tailored to cure those purported

constitutional violations.” (D.E. 556, Page 3 ¶ 1(b)).

                         b.      Ruling on Objection

          Defendants appear to argue that the constitutional right to be free from unreasonable risk

of harm is too “vague” to permit a remedy, but “every right, when withheld, must have a remedy,

and every injury its proper redress.” Marbury v. Madison, 5 U.S. 137, 147 (1803). Defendants

correctly note that injunctive relief must be narrowly tailored to redress the violations found.

(D.E. 556, Page 8); see Fiber Sys. Int’l, Inc. v. Roehrs, 470 F.3d 1150, 1159 (5th Cir. 2006). But

“it is well-settled that, under the fourteenth amendment, a court may require remedial measures

that the Constitution does not of its own force initially require. Injunctive relief need not be




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confined to an order to cease an illegal practice.” Ruiz v. Estelle, 679 F. 2d 1115, 1155-56 (5th

Cir. 1982) (citations omitted), amended in part, reh'g denied in part on other grounds, 688 F.2d

266 (5th Cir. 1982) (per curiam). Here, to give but one example, the Court did not hold that the

Constitution requires that all foster children nationwide must have access to a landline phone.

See infra at III.D.3.     Rather, the Court found that Texas’s overall foster care system has

unconstitutionally exposed PMC children to an unreasonable risk of harm, and that providing

PMC children access to a phone is a necessary “measure[] that safeguard[s] against recurrence”

of that constitutional violation. See Ruiz, 679 F. 2d at 1156. The other relief ordered by the

Court is likewise aimed at remedying the fact that Texas’s foster care system as a whole exposes

PMC children to an unreasonable risk of harm. See Alberti v. Klevenhagen, 790 F.2d 1220, 1224

(5th Cir. 1986). Defendants’ objections on this ground are OVERRULED.

                 3.     Constitutional Standard

                        a.      Objection

          Defendants object that foster children have no substantive due process right to be “free

from unreasonable risk of harm,” and that the Special Master therefore erred in basing his Plan

on this standard. (D.E. 556, Pages 7-8, ¶ 1(c)).

                        b.      Ruling on Objection

          In its December 2015 Order, the Court found Plaintiffs had a right to be free from an

unreasonable risk of harm. (D.E. 368, Page 15); see also Doe ex rel. Magee v. Covington Cnty.

Sch. Dist. ex rel. Keys, 849, 857, 859 (5th Cir. 2012) (noting that a state has a constitutional duty

to care for foster children); Hernandez ex rel. Hernandez v. Tex. Dep’t of Protective &

Regulatory Servs., 380 F. 3d 872, 881 (5th Cir. 2004) (explaining that “the risk of severe

physical abuse to a foster child’s bodily integrity” is a legal injury); K.H. ex rel. Murphy v.




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Morgan, 914 F. 2d 846, 851 (7th Cir. 1990) (“[T]he Constitution requires the responsible state

officials to take steps to prevent children in state institutions from deteriorating physically or

psychologically.”) (citing Youngberg v. Romeo, 457 U.S. 307 (1982)). As Defendants admit, this

Objection is merely an attack on the constitutional standard enunciated in the Court’s December

2015 Order. (D.E. 556, Page 8 n. 12). The Court hereby incorporates the reasoning and findings

from its December 2015 Order by reference and Defendants’ Objection is OVERRRULED.

                 4.     Overbreadth of Remedies

                        a.     Objection

          Defendants object that the Plan’s proposed remedies are premised on a subjective

standard based on the Special Master’s conception of “best practices” rather than a constitutional

standard, and that the proposed remedies are therefore overbroad. (D.E. 556, Page 8 ¶ 1(d)).

                        b.     Ruling on Objection

          This Objection repackages General Objection 3. It is true that “best practices do not

establish constitutional minima.” See Romano v. City of San Marcos, 2017 WL 3996427, at *6

(W.D. Tex. Sept. 11, 2017) (internal quotation marks omitted) (quoting Brown v. Timmerman-

Cooper, 2013 WL 430262, at *4 (S.D. Ohio Feb. 4, 2013)). But the Special Master did not use a

“best practices” standard, he used the constitutional standard enunciated in this Court’s

December 2015 Order, that foster children have the right to be free from unreasonable risk of

harm. See (D.E. 546, Page 1). The Court finds that the remedies adopted by this Order are

necessary to protect foster children from unreasonable risk of harm. See Ruiz, 679 F.2d at 1156.

This Objection is OVERRULED.




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                 5.      Intrusiveness of Remedies

                         a.      Objection

          Defendants object that the Special Master failed to demonstrate the proposed remedies

are the least intrusive into the administration of DFPS. (D.E. 556, Page 8, ¶ 1(e)).

                         b.      Ruling on Objection

          Defendants fail to cite any authority for their contention that injunctive relief must always

be the least intrusive alternative. This requirement is present in the prison conditions context,

but the requirement there is explicitly prescribed by the Prison Litigation Reform Act. See 18

U.S.C. § 3626(a)(2); see also Ruiz, 679 F. 2d at 1145 (recognizing federal judicial policy of

“minimum intrusion” into administration of state prisons). Even so, the Court has tailored its

remedies to intrude as little as possible into the State’s legitimate affairs; the remedies intrude

only to the extent that the Court finds they are necessary to cure the constitutional violations

identified. See Ruiz, 679 F.2d at 1156; Stone v. City and Cnty. of San Francisco, 968 F. 2d 850,

861 (9th Cir. 1992) (“[F]ederal courts should always seek to minimize interference with

legitimate state activities in tailoring remedies.”). This Objection is OVERRULED.

                 6.      Recognition of Texas’s Efforts

                         a.      Objection

          Defendants object that the Plan “creates the decidedly false impression that Defendants

are doing little for foster care children.” (D.E. 556, Page 9 ¶ 1(f)). Defendants seek recognition

of the actions taken in this area by DFPS and the Texas Legislature and claim that the Master

failed to take their efforts into account. (D.E. 556, Page 9 ¶ 1(f)).




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                        b.     Ruling on Objection

          Many of the steps taken by the Texas Legislature and the Defendants are indeed

admirable. In fact, the Special Master’s plan recognizes multiple steps taken by the state. E.g.,

(D.E. 546, Pages 12, 35 n. e, 37, 53-54). However, policies not practiced are of no value, and

voluntary conduct of a defendant after the beginning of a suit cannot deprive a court of the power

to order relief. See Ruiz, 679 F. 2d at 1160; (D.E. 500, Page 11); cf. Friends of the Earth, Inc. v.

Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189 (2000). Nor have Defendants’ actions cured the

constitutional violations identified in this Court’s December 2015 Order. The Objection is

OVERRULED.

                 7.     Ineffectiveness of Remedies

                        a.     Objection

          Defendants object that there is no evidence the proposed remedies will cure the class-

wide constitutional violations. (D.E. 556, Page 9 ¶ 1(e)).

                        b.     Ruling on Objection

          The Court has concluded, based on the evidence in the record, that the remedies

prescribed above will substantially cure the class-wide constitutional violations. Ruiz, 679 F.2d

at 1156. Furthermore, “[a]n inability to guarantee complete relief for a constitutional violation . .

. does not justify withholding a remedy altogether.” Williams v. Pennsylvania, 136 S. Ct. 1899,

1910 (2016). The Objection is OVERRULED.




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               8.     Violation of Appointment Order

                      a.      Objection

       Defendants object that the Appointment Order for the Special Master (D.E. 379) violates

Fed. R. Civ. P. 53 and that the Plan, as a product of the improper appointment, is therefore

invalid. (D.E. 556, Page 9 ¶ 1(h)).

                      b.      Ruling on Objection

       This Objection attempts to relitigate the appointment of the Special Master. The Court

hereby incorporates its findings and reasoning from its Appointment Order. (D.E. 379). The

highly complicated factual details and administrative problems inherent in crafting an injunction

are “post-trial matters that cannot be effectively and timely addressed by an available district

judge or magistrate judge of the district.” Fed. R. Civ. Pro. 53(a)(1)(C). Any argument that it is

inappropriate for a court to employ a Special Master to help craft a remedial plan is meritless.

See, e.g., Morgan v. McDonough, 540 F. 2d 527, 533 (1st Cir. 1976) (“Masters have been used

extensively to formulate plans and recommendations . . . .”); United States v. Tex. Ed. Agency,

532 F.2d 380, 399 (5th Cir. 1976) (suggesting appointment of special master to draft

desegregation plan), vacated on other grounds by Austin Ind. Sch. Dist. v. United States, 429

U.S. 990 (1976). The Court reviewed the Special Master’s Plan de novo and made all changes it

thought necessary. See Fed. R. Civ. Pro. 53(f)(3)-(4). The Court discusses in detail similar

issues regarding its appointment of a Monitor under this same rule in Section IV below. The

Objection is OVERRULED.




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                  9.      Appropriateness of Injunctive Relief Respecting the Class as a Whole

                          a.     Objection

           Defendants object that the remedies violate Fed. R. Civ. P. 23(b)(2). (D.E. 556, Page 9

¶ 1(i)).

                          b.     Ruling on Objection

           The Supreme Court has clarified that certification of a class for injunctive relief is only

appropriate where “a single injunction . . . would provide relief to each member of the class.”

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011). Injunctive relief is appropriate if “the

party opposing the class has acted or refused to act on grounds that apply generally to the class.”

Fed. R. Civ. P. 23(b)(2). Defendants object that the Plan does not satisfy this standard, but

provide no explanation or authority supporting their contention. This claim is without merit.

“‘[R]elief to each member of the class,’ does not require that the relief to each member of the

class be identical, only that it be beneficial.” Sykes v. Mel S. Harris & Assocs. LLC, 780 F.3d

70, 97 (2d Cir. 2015) (quoting Dukes, 564 U.S. at 360) (alteration in original). The injunctive

relief is crafted to benefit each class member. To the extent this Objection is an attempt to re-

litigate the class certification, the Court has previously determined the requirements of Rule

23(b)(2) are met. (D.E. 213, Pages 62-63, 81, 88, 94). The findings of the Court in its Order

Granting Class Certification are hereby incorporated by reference. Accordingly, this objection is

OVERRULED.




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               10.     Plaintiffs’ Compliance with Fed. R. Civ. P. 23

                       a.      Objection

       Defendants argue that Plaintiffs were not entitled to class certification because they failed

to show commonality, typicality, and the existence of an appropriate class-wide remedy. (D.E.

556, Page 9 ¶ 1(j)). They therefore object to the granting of class-wide relief.

                       b.      Ruling on Objection

       Defendants’ attempt to relitigate their failure to timely appeal the class certification order

of August 27, 2013 must fail. (D.E. 213; D.E. 228). The Court has ruled on class certification

and the findings of the Court are hereby incorporated by reference. (D.E. 213). Defendants’

Objection is moot.

               11.     Propriety of the Plan’s Descriptions of Testimony, Documents, and
                       Prior Rulings

                       a.      Objection

       Defendants object that the Plan’s “descriptions or characterizations” of the record and

rulings in this case are outside the scope of the Appointment Order, are hearsay, and are not the

best evidence of what is in the record. (D.E. 556, Page 10 ¶ 1(k)).

                       b.      Ruling on Objection

       The Court does not rely on any of the “descriptions or characterizations” complained of

by the Defendants in this Objection. The Court is aware of the contents of the record and of its

own rulings. This Objection is OVERRULED.

               12.     Receivership

                       a.      Objection

       Defendants object that the Plan has no specified end date, violates Rule 65, and creates a

de facto receivership. (D.E. 556, Page 10 ¶ 1(l)).



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                          b.       Ruling on Objection

        Defendants offer neither authority nor argument in support of their claim that the Plan

creates a “de facto receivership,” but merely invoke the word “receiver” to challenge the Court’s

appointment of a monitor.        Receivers are generally court agents who handle property. See, e.g.,

Netsphere, Inc. v. Baron, 703 F.3d 296, 305 (5th Cir. 2012). However, this Order gives the

Monitor no power whatsoever to dispose of Defendants’ property.                        The Court extensively

discusses the appropriateness of appointing a Monitor infra at IV. Defendants’ receivership

argument is meritless.8

        This Order now contains an end date for the injunctive relief. See infra at IV. The Court

has limited the Monitor’s authority as required by Ruiz v. Estelle. Compare 679 F. 2d at 1162,

with infra at IV.12. To the extent the Defendants’ Objection is not satisfied by these changes to

the Plan, the Objection is OVERRULED.

        B.       Cluster Objections

                 1.       Orders Must Be Remedial

                          a.       Objection

        Defendants object that the Plan addresses policies and practices already in place, and that

orders “must be remedial in nature and must address a violation that is as-yet un-remedied.”

(D.E. 556, Page 10 ¶ 2(a)).

                          b.       Ruling on Objection

        The Court reiterates that policies not practiced are of no value. See Ruiz, 679 F. 2d at

1160; (D.E. 500, Page 11). The State of Texas has failed to act upon twenty years of studies

conducted or commissioned by the State. (D.E. 500, Page 12). In particular, it had a completely

8
  Although the Court’s order does not impose a receivership, federal courts do have the power to impose
receiverships when it is “the only reasonable alternative to noncompliance . . . .” See Morgan v. McDonough, 540 F.
2d 527, 533 (1st Cir. 1976), cited with approval in Miller v. Carson, 563 F. 2d 741, 753 (5th Cir. 1977).


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inadequate response to two internal studies finding error rates of 64.6% and 75%, respectively, in

its investigations of abuse and negligent supervision. (D.E. 368, Pages 201-04). Consequently,

this Court concludes that “unless directed otherwise by some authority, the studies and testing

will continue, no remediation will occur and the dangerous condition[s] will continue to exist.”

Cf. Interfaith Cmty. Org. v. Honeywell Int’l, Inc., 263 F. Supp. 2d 796, 834 (D.N.J. 2003), aff’d

399 F. 3d 248 (3d Cir. 2005). Throughout this litigation the State of Texas has not only insisted

it has not violated the Constitution but refuses to even recognize these children’s most basic

constitutional right to be free from unreasonable risk of harm. (D.E. 556, Pages 3-8; D.E. 556-1,

Page 2). The State displayed a troubling unwillingness to follow the order of the Court in

developing remedial policies and failed to make significant progress towards remedying the

constitutional violations subsequent to the Court’s December 2015 Order. (D.E. 368, Page 245).

Additionally, voluntary conduct of a defendant after the beginning of a suit cannot deprive a

court of the power to order relief. Cf. Friends of the Earth, 528 U.S. at 189. This Objection is

OVERRULED.

               2.     Orders May Not Command Defendants to Obey the Law

                      a.      Objection

       Defendants object to policy recommendations requiring them to obey state or federal law,

or to follow DFPS policy. (D.E. 556, Pages 10-11 ¶ 2(a)-(b). They argue that orders merely

requiring a defendant to “obey the law” violate the specificity requirement of Federal Rule of

Civil Procedure 65(d). (D.E. 556, Pages 10-11 ¶ 2(a)-(b) (quoting Meyer v. Brown & Root

Constr. Co., 661 F. 2d 369, 373 (5th Cir. 1981)).




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                          b.       Ruling on Objection

        “An injunction must simply be framed so that those enjoined will know what conduct the

court has prohibited.” Meyer, 661 F.2d at 373 (citing Int’l Longshoremen’s Assoc. v. Phila.

Marine Trade Assoc., 389 U.S. 64, 76 (1967)).                  Defendants are correct that “[a] general

injunction which in essence orders a defendant to obey the law is not permitted.” Id.                 However,

“[i]njunctions are problematic when they order a defendant to obey the law but do not

simultaneously indicate what law the defendant needs to obey”; injunctions ordering a defendant

to obey a specific law are permissible. See In re Rodriguez, 695 F.3d 360, 369 (5th Cir. 2012)

(citing Meyer, 661 F.2d at 373). Furthermore, this Order cites current law and DFPS policies for

context rather than content. See Scott v. Schedler, 826 F. 3d 207, 211-14 (5th Cir. 2016). All of

the actions which Defendants are required to take are spelled out within the four corners of this

document.9      To the extent this clarification does not satisfy Defendants’ Objection, it is

OVERRULED.

                 3.       Requirement that Defendants Create Policies

                          a.       Objection

        Defendants object that the orders requiring them to create and implement new policy fail

to define the new policies or the standard they are to be designed to meet. (D.E. 556, Pages 11-

12 ¶ 2(b)).

                          b.       Ruling on Objection

        Each Item cited by Defendants in this Objection states the minimum contents of the

policy which DFPS is ordered to follow. The “standard” the new policy is designed to meet is

9
 For example, Item 12 of Section D requires DFPS to “complete required initial face-to-face contact with the
alleged child victim(s) in Priority One child abuse and neglect investigations involving PMC children as soon as
possible but no later than 24 hours after intake.” The phrase “in accordance with DFPS policies and administrative
rules” merely observes that this is a standard which DFPS itself has already promulgated (but does not follow); it
does not add or detract anything from the Defendants’ obligations under the Order.


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therefore irrelevant to Defendants’ ability to comply with these Items, but the Court observes

that the standard motivating all of its relief is that Texas’s foster children have the constitutional

right to be free from an unreasonable risk of harm. (D.E. 368, Page 15); see supra at II.A.3.b.

Defendants’ Objection is OVERRULED.

               4.      Requirement that Defendants Submit Remedial Plans

                       a.      Objection

       Defendants object that orders requiring them to submit remedial plans impermissibly

shift Plaintiffs’ burden of proof on remedies to Defendants. (D.E. 556, Page 12 ¶ 2(c)).

                       b.      Ruling on Objection

       Defendants cite no authority for the proposition that courts may not order defendants

to submit remedial plans.      In fact, “[o]rders to responsible public officials to prepare

and submit plans for remedying constitutional violations are not uncommon.” Inmates of

Allegheny Cnty. Jail v. Wecht, 754 F. 2d 120, 128 n. 5 (3d Cir. 1985) (citing cases).

Plaintiffs carried their burden of proof at trial, and the Court finds the remedies are necessary

to cure the constitutional deficiencies. In each Item requiring submission of a plan, the Court

has identified the constitutionally mandated minimum reforms the plans must include.

Further, the Court overruled this same objection in its January 2017 Order and the Court

hereby incorporates its reasoning by reference. (D.E. 500, Page 12). This Objection is

OVERRULED.

               5.      Vagueness of the Term “Ensure”

                       a.      Objection

       Defendants object that the term “ensure” used in many parts of the Plan is impermissibly

vague and violates Rule 65’s specificity requirement. If “ensure” imposes a “zero tolerance,”




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absolute duty to perform, Defendants object that the order is impossible to perform. (D.E. 556,

Page 13 ¶ 2(d)).

                      b.     Ruling on Objection

       Defendants cite no authority in support of their contention that the term “ensure” is

impermissibly vague. The words of an injunction must “provide explicit standards for those who

apply them and give the person of ordinary intelligence a reasonable opportunity to know what is

prohibited.” Nat’l Org. for Marriage v. McKee, 649 F.3d 34, 63 (1st Cir. 2011) (citations

omitted) (internal quotation marks omitted). Additionally, the term “ensure” does not impose a

“zero tolerance” duty to perform as Defendants suggest and even if it did, Defendants have not

met their burden of showing impossibility. See United States v. Rizzo, 539 F.2d 458, 465-66 (5th

Cir. 1976); CFTC v. Wellington, 950 F.2d 1525, 1528 (11th Cir. 1992). Accordingly, the

provisions using the term “ensure” are not impermissibly vague. Therefore, the Objection is

OVERRULED.

               6.     Vague Terminology Is Unenforceable

                      a.     Objection

       Defendants object that various terms used in the Plan violate Rule 65(d) due to their

vagueness. (D.E. 556, Pages 14-17 ¶ 2(f)).

                      b.     Ruling on Objection

       The Court altered or provided clarification for any language it determined to be vague;

such changes are noted below in the relevant parts of the section laying out the policies. Where

the Court has not made such changes, it has determined that the existing language is sufficiently

clear. This Objection is SUSTAINED IN PART and OVERRULED IN PART.




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               7.      Relief to Non-Class Members

                       a.     Objection

       Defendants object that portions of the Plan provide relief to foster children who are not

part of the certified class, and that those portions of the Plan are therefore overbroad. (D.E. 556,

Pages 13-14 ¶ 2(e)).

                       b.     Ruling on Objection

       The remedy ordered by this Court affects children in the Temporary Managing

Conservatorship (“TMC”) of DFPS only to the extent necessary to ensure the constitutional

violations against PMC children cease. Only two remedies directly affect TMC children. First,

the Court’s requirement that medical records be collected upon intake, infra at III.G.1-3, is

necessary because all PMC children begin their time in DFPS as TMC children, and if a child’s

medical records are not acquired immediately, they may be irretrievably lost by the time the

child enters PMC. (D.E. 500, Page 19). Second, the Court has expanded Section M of the Plan

to provide direct relief to both PMC and TMC children in DFPS custody. See infra at III.M.13.b.

Where the Order requires DFPS to restructure or develop certain procedures or technology

systems, the Court has concluded that attempting to distinguish between PMC and TMC children

would be impracticable and could lead to significant confusion.          See, e.g., infra at III.J.1

(requiring implementation of new training procedures); III.K.1 (eliminating I See You workers).

The Items to which Defendants object provide specific direction as to what is required, and the

remedies are necessary to protect PMC children’s constitutional rights. Therefore, Defendants’

objection is OVERRULED.




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                   8.      Relief Requiring Legislation or Appropriation of Funds

                           a.      Objection

           Defendants object that none of the Defendants in this case (the Commissioner of DFPS,

the Executive Commissioner of HHSC, and the Governor) have the power to enact laws or

appropriate funds, and that therefore any orders requiring the passage of legislation or

appropriation of funds are beyond the Defendants’ control and improper. (D.E. 556, Page 17

¶ 2(g)).

                           b.      Ruling on Objection

           It is clearly established that suits against state officials in their official capacities, like the

suit here, are no different from a suit against the State itself. See, e.g., Will v. Michigan Dep’t of

State Police, 491 U.S. 58, 71 (1989); Hafer v. Melo, 502 U.S. 21, 25 (1991); Ganther v. Ingle, 75

F. 3d 207, 209 (5th Cir. 1996) (“Federal claims against state employees in their official

capacities are the equivalent of suits against the state.”). Since Defendants are state officials in

their official capacities, the State of Texas is a Defendant in this case.

           As to Defendants’ argument about the inappropriateness of relief requiring the

appropriation of funds, “a state cannot avoid the obligation of correcting the constitutional

violations of its institutions simply by pleading fiscal inability.” New York State Ass’n for

Retarded Children, Inc. v. Carey, 631 F.2d 162, 165 (2d Cir. 1980) (citing Dimarzo v. Cahill,

575 F.2d 16 (1st Cir. 1978); Welsch v. Likins, 550 F.2d 1122 (8th Cir. 1977); Rhem v. Malcolm,

507 F.2d 333, 341 (2d Cir. 1974)). It is true that “a federal district court ought not to put itself

‘in the difficult position of trying to enforce a direct order . . . to raise and allocate large sums of

money, . . . steps traditionally left to appropriate executive and legislative bodies responsible to

the voters.’” Id. (quoting Rhem, 507 F.2d at 341). But the Court is not ordering the State to




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allocate money. The Court is ordering the State “to rectify the [constitutional] violations . . . .”

Id. The record shows that the Legislature is supportive of DFPS’s requests, see (D.E. 331, Pages

32-33), and in its last session (according to Defendants), the Legislature increased foster-care

funding by almost $1 billion. (D.E. 556, Page 2). This same logic applies to the portion of the

Objection complaining that Defendants cannot enact legislation.                The Objection is

OVERRULED.

                    9.      Impossibility of Compliance

                            a.    Objection

           Defendants object that the Plan’s timelines are unachievable and that the Plan “shows

disregard for implementation science or even rational judgment regarding how to carry out

systemic change across a large agency workforce.” (D.E. 556, Pages 17-18 ¶ 2(h)). Defendants

add that even where compliance with a particular recommendation would be possible,

compliance with the entire Plan would be “impossible or nearly impossible.” (D.E. 556, Pages

18-19 ¶ 3).

                            b.    Ruling on Objection

           Defendants had over two years’ notice between the Court’s December 2015 Order and

this final Order to make progress towards remedying the identified constitutional violations.

Indeed, the December 2015 Order commanded the Defendants to “establish and implement

policies and procedures” to protect PMC children from unreasonable risk of harm in all the areas

specified by the Court in its December 2015 Order, (D.E. 368, Page 245), 10 yet Defendants now

insist that this Final Order does not give them enough time to adequately remedy any of the

major problems identified with Texas’s foster care system. (D.E. 368, Page 245). Despite their

complaints, Defendants have not presented any evidence that compliance with the remedies
10
     See supra p. 4 n. 7.


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below would be impossible or prohibitively expensive. On the contrary, as the Court notes in

responding to several of Defendants’ Specific Objections, when the Special Master asked the

Defendants to propose their own timelines for implementing various proposed forms of relief,

Defendants simply refused to respond. (D.E. 546, Pages 10-11, 113-17); see infra at III.

       Defendants’ arguments that the need for funding makes many of the proposed policies

impossible to perform lacks merit. The evidence related to funding presented at trial indicates

that the Legislature has been incredibly responsive to DFPS’s requested funds. See (D.E. 331,

Pages 32-33). Defendants state DFPS received nearly $1 billion in additional funding from the

Legislature in its last session (D.E. 556, Page 2). DFPS does not indicate how this money is

allocated or present any evidence as to the expense of the remedial policies as falling outside this

nearly one billion dollar allocation.   More importantly, “[t]he obligation of the [Defendants] to

eliminate existing unconstitutionalities does not depend upon what the Legislature may do . . . or,

indeed, upon what the [Defendants] may actually be able to accomplish.” See Wyatt v. Aderholt,

503 F. 2d 1305, 1314-15 (5th Cir. 1974) (quoting Holt v. Sarver, 309 F. Supp. 362, 385 (E.D.

Ark. 1970)). Accordingly, the Objection is OVERRULED.

       Where compliance is impossible, a defendant may raise impossibility as a defense to

contempt proceedings. United States v. Rylander, 460 U.S. 752, 757 (1983). As Defendants

declined to take advantage of their opportunities (or rather, their obligation) to work with the

Special Master in formulating the Plan, and have failed to offer credible evidence of

impossibility, Defendants’ objections would be better raised as a defense to a contempt

proceeding than as a challenge to the injunctive remedy.          Defendants bear the burden of

production on any defense of present impossibility. Id.; see also Ala. Power Co. v. Costle, 636

F.2d 323, 359 (D.C. Cir. 1979).




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III.      POLICIES AND PROCEDURES

          The Court has determined the State of Texas violated PMC children’s right to be free

from an unreasonable risk of harm. The Court adopts and ORDERS Defendants to implement

the following policies to remediate this violation. These policies and procedures only apply to

PMC children unless specifically noted otherwise.11

          A.      PMC Child-Caseworker Visitation

       1. Effective immediately, DFPS shall ensure that monthly face-to-face visits between
          caseworkers and children in the PMC class occur as required. The caseworkers’
          visits with children in the PMC class must include time with the child separate from
          the caregiver(s) and other children, if the child is verbal. Effective immediately,
          DFPS shall ensure that caseworkers document monthly, private meetings with each
          verbal PMC child in their care, unless the reason for noncompliance is fully
          documented in the child’s electronic case record.

       2. Effective immediately, DFPS shall ensure adequate12 training on its child visitation
          policies for all caseworkers responsible for visiting children in the PMC class.

       3. Effective immediately, DFPS shall track caseworker-child visits and report
          quarterly to the monitor(s) on the number of monthly caseworker-child visits
          required and the percent and number that occurred. DFPS shall report for all
          referenced visits whether they involved face-to-face time with the child separate from
          the caregiver(s) and other children, if the child is verbal.

       4. Effective immediately, DFPS shall ensure caseworkers who conduct visits with PMC
          children follow the agency’s contact guidelines, which they must document in the
          child’s electronic case record based on monthly visits with a child. The guidelines
          must require caseworkers, at least, to complete an assessment of the child’s safety,
          including an assessment of the placement; a confirmation that the child was
          interviewed individually, separately and privately from the caregiver and other
          children, if the child is verbal; a discussion of the form(s) of discipline being used in
          the placement; and a documented review of the child’s medical, mental health, dental
          and educational progress and needs.


11
   These policies apply to all previously determined classes of PMC children in this matter. Although the Court did
not certify the unverified kinship subclass, PMC children in kinship placements are a part of the certified general
class, which includes “all children now, or in the future, in the Permanent Managing Conservatorship of the State of
Texas.” (D.E. 213, Page 105). The Court only grants relief to PMC children in kinship placements in their capacity
as members of the General Class; such relief “provide[s] relief to each member of the class.” See Wal-Mart Stores,
Inc. v. Dukes, 564 U.S. 338, 360 (2011).
12
   “Adequate” means that the training shall focus on the importance of monthly, face-to-face private meetings with
each PMC child, and further include instructions on documentation of non-compliance.


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               a. Objection

       Defendants object that there is no basis in the record for finding that existing DFPS

policies or practices regarding caseworker visitation caused class-wide constitutional injury, and

that all of Items in this section are therefore unjustified. (D.E. 556, Pages 19-20)

               b. Ruling on Objection

       Former PMC youth testified at trial that their visits with caseworkers often were not

private. (D.E. 327, Pages 188-89; D.E. 307, Page 16). The Court wrote extensively in its

December 2015 Opinion about children who infrequently, or never, saw some of their

conservatorship (“CVS”) caseworkers.        (D.E. 368, Pages 165-168).        The Special Masters

reviewed case files, including those in the record of this matter. (D.E. 546, Page 3). Those

records frequently did not indicate whether CVS caseworkers met with children monthly and

privately. (D.E. 546, Page 3). The Special Masters asked DFPS where and how the agency

tracks whether visits with children are privately conducted. (D.E. 546, Page 3). DFPS advised

the Special Masters “there is no specific location in the IMPACT record where caseworkers must

confirm that a child was interviewed in private or separately.” (D.E. 546, Pages 3, 113).

       The study of I See You Workers undertaken by the University of Texas-Austin to inform

the Special Masters’ recommendations to the Court, concluded that 22 percent of assigned

secondary I See You workers missed the monthly visit with the child. (D.E. 546, Pages 3, 105-

06). DFPS’ aggregate visitation data does not indicate how many, if any, of these visits were

privately conducted. (D.E. 546, Page 3). Despite the Court’s December 2015 Opinion, DFPS

still does not have a way to track how many caseworkers’ visits with children are private each

month. (D.E. 546, Page 3).




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         Caseworkers “do not have enough time to do more than cursory monthly home visits”

of five minutes. (D.E. 368, Page 165). The record revealed that even cursory visits seldom

occurred every month, and that a child’s case file might contain documentation of visits that

never occurred. E.g., (D.E. 368, Pages 85-86, 104, 150, 168, 178, 180). Another state

official, the Texas Comptroller, concluded in 2004 that DFPS was failing to perform required

visits. (D.E. 386, Page 187). For example, named plaintiff J.S. was not visited by his

primary caseworker at all in the four months following his allegation of having been sexually

abused by his roommate. (D.E. 386, Pages 100-04). DFPS’s policy of requiring monthly

visits is not practiced, and is therefore of no value. See Ruiz, 679 F. 2d at 1160; (D.E. 500,

Page 11); supra at II.B.1. There is no evidence that Texas has since cured these defects. 13

         Furthermore, former foster children testified at trial that they were unable to report

abuse to a caseworker because the abuser (often the caregiver) was present during

caseworker visits. (D.E. 324, Page 64 Lines 3-16, Page 64 Line 22-Page 65 Line 15; D.E.

325, Page 169 Lines 14-25). The Special Master’s finding that DFPS records frequently fail

to indicate whether caseworker visits occur privately confirms this testimony. (D.E. 546,

Page 3).

         Primary caseworkers are often a foster child’s “only continuous and stable

relationship.” (PX 1871, Page 1). CVS caseworkers are among the few people that foster

children look to for support and guidance. (D.E. 326, Page 85). Children need to feel

comfortable telling their problems to their primary caseworker, making trust “highly

important.” (D.E. 326, Page 85). Without consistent, private visits, the requisite trust cannot


13
  The I See You Worker study conducted for the Special Master found that I See You workers, who are secondary
workers that assist primary caseworkers, missed roughly a quarter of their scheduled visits in June 2017, which
offers little hope that primary caseworkers have begun to make all of their monthly visits. (D.E. 546, Page 105); see
infra at III.K.1.b.


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develop between a foster child and his or her caseworker. (D.E. 368, Page 179). When a

child’s caseworker fails to make regular contact, the “child’s feelings of rejection are

compounded and lead to feelings of distrust between the child and the ‘system.’” (PX 1988,

Page 100).14 The Objection is OVERRULED.

        B.       PMC Children’s Records

     1. Within four months of the Court’s Final Order, DFPS shall submit to the Court a plan
        for an integrated computer system, with specific timeframes, that contains each
        PMC child’s complete records, including but not limited to a complete migration of
        all medical, dental, educational, placement recommendations, court records, mental
        health and caseworker records. The mental health, dental and medical information
        shall include all visits to the provider with detailed examinations, diagnoses, test
        results, immunizations, medications (including the reasons for each), history of abuse,
        treatment plans, and any other information necessary for the safety of the
        children. DFPS shall have this system fully functional within one year of the Final
        Order date.

     2. The DFPS plan shall ensure that DFPS caseworkers and supervisors serving
        PMC children, as well as CASA staff and volunteers, and any public or private staff
        assigned to oversee PMC children’s care, have access to an integrated, current,
        complete and accurate case record for PMC children on their caseloads, consistent
        with prevailing state and federal law, including, for example, the child’s current legal
        status and permanency goal; the child's Transition Plan (where applicable); the
        child’s placement information and all safety-related and licensure/verification
        information about the child’s placement, including investigation and inspection
        reports, enforcement actions and internal reviews conducted by CPAs15; the child’s
        historic and current caseworker(s) and supervisor(s), with corresponding contact
        information; the child’s complete medical, dental, educational and mental health
        information and records.

                 a.       Objections

        Defendants object that the phrase “consistent with prevailing state and federal law” in

Item 2 is vague. (D.E. 556, Page 14).




14
   For a more in depth discussion of the role and importance of caseworkers, see (D.E. 368, Pages 178-84) and infra
at III.H.
15
   Child Placing Agencies are private agencies contracted by DFPS to place foster children in homes. (D.E. 368,
Page 256). CPAs account for 90% of foster placements. (D.E. 368, Page 229).


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          Defendants restate their General Objection that implementing this policy within the time

frame is impossible and would require legislative approval. (D.E. 556, Pages 21-23).

          Defendants also object that giving external parties access to records will violate

confidentiality laws and that the Plan fails to provide solutions to these issues. (D.E. 556, Pages

22-23).

          Defendants object that there is no basis in the record for finding that DFPS’s existing

recordkeeping systems caused class-wide constitutional injury, and that all of the Items in this

section are therefore unjustified. (D.E. 556, Pages 20-21).

                 b.     Ruling on Objections

          The phrase “consistent with prevailing state and federal law” in Item 2 is meant only to

remind Defendants of their other legal obligations. Item 2 is not to be read as imposing on

Defendants an additional duty to obey confidentiality laws at risk of being held in contempt. To

the extent this clarification does not fully address Defendants’ Objection that Item 2 is vague, it

is OVERRULED.

          The Court readdresses Defendants’ logistical Objection to remark that Defendants have

known about the Court’s concerns with the IMPACT system since the Court identified them over

two years ago in its December 2015 Order. (D.E. 368, Page 249). Despite this, Defendants have

apparently done little to prepare for eventual reforms. The Special Master asked Defendants to

assess and report the time needed to improve IMPACT so that it could store all of a child’s

medical, dental, mental health, educational, and court records.        (D.E. 546, Pages 10-11).

Defendants’ response to each of these inquiries was “[n]ot applicable DFPS is not making such

changes to the IMPACT system.” (D.E. 546, Pages 10-11, 116-17). Similarly, Defendants

responded to the Special Master’s request for a draft plan to achieve the Court’s recordkeeping




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goals by stating “[n]ot applicable. Texas is not developing such a plan.” (D.E. 546, Pages 10,

116-117). Defendants now object, fifteen days after the Plan was filed, that the Plan’s timelines

for these goals are “impossible.” (D.E 556, Page 21). Defendants offer no explanation for why

they were unable to present the Special Master with the estimate they now present the Court in

their Objections, that it could take $10 million and several years to reform IMPACT. (D.E. 556,

Page 22). Even now, Defendants offer no evidence in support of this estimate. For these

reasons, and the reasons given supra at II.B.9, this Objection is OVERRULED.

       Defendants claim the Plan will require them to violate state and federal confidentiality

laws, but other states have successfully addressed these issues by providing separate access

codes to different groups of database users. See (D.E. 500, Pages 13-14). Item 2 permits

Defendants to take the steps necessary to comply with state and federal confidentiality laws.

When Defendants submit their plan for implementation of this portion of the order, they may

note (with particularity) any laws that are an obstacle to full implementation, what solutions they

have considered, and any alternative means of compliance they believe necessary. The Court

will consider any such obstacles and alternatives then. In the meantime, Defendants must take

whatever steps are necessary to achieve compliance. The remainder of this Objection boils down

to a complaint that implementation will be costly or logistically difficult, and is OVERRULED.

       The Court now turns to Defendants’ Objection as to basis. Due to DFPS’s burdensome

administrative demands, such as filling out paperwork, CVS caseworkers are only able to spend

26% of their time with children. (PX 1993, Page 10; D.E. 300, Page 24). At trial, Dr. Viola

Miller (who previously headed child welfare agencies in Kentucky and Tennessee) testified CVS

caseworkers should spend “at least 40 to 50 percent” of their time working directly with children

and families.   (D.E. 302, Pages 6, 42). Dr. Miller further explained that the combination of




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DFPS’s excessive caseloads with its administrative burdens meant, “[i]n essence, [foster]

children may well not have a caseworker.” (D.E. 302, Page 43). DFPS is well aware that its

caseworkers often cannot keep up with required documentation when caseloads are high. See

(PX 1825, Page 2). Lack of documentation was especially problematic when caseworkers left

and their cases were redistributed. (D.E. 324, Page 16).

        In the December 2015 Opinion, the Court included among its findings the following:

        The problems of inadequate and incomplete caseworker documentation are
        considerably magnified by the way in which DFPS maintains foster children’s
        case files. Children’s records are not kept in a single location nor are they
        consistently maintained in chronological order. (See D.E. 343 at 1; see generally
        DX 120 (filed under seal)). Some of the children’s files are kept electronically on
        DFPS’s IMPACT casework system. Other children’s files are maintained entirely
        in External paper files. (D.E. 343 at 1-2; supra p. 80-81 nn.25 & 26).
        Additionally, records relating to abuse and neglect investigations of children in
        foster care are kept separately by RCCL in the CLASS database. (See supra p.
        141 n.43). Although CVS caseworkers have access to the CLASS database,
        CLASS files are not merged with IMPACT files and it is unclear whether CVS
        caseworkers are trained, let alone have the time, to check whether children newly
        transferred to their caseloads have CLASS files. (See D.E. 343 at 2). Thus, not
        only are foster children’s case files shockingly long (358,102 pages of case files
        for the 20 children for whom the Court has records16), they are incredibly
        disorganized.

        Further, inherent problems with DFPS’s outdated IMPACT system further impede
        caseworkers’ ability to review important electronic case file information.
        According to The Stephen Group, IMPACT “is not in sync with current versions
        of forms that are used [by caseworkers] and forces arbitrary workarounds and
        repetitive entry of data.” (PX 1993 at 15). This results in “delays and
        considerable frustration among caseworkers and can mean that those accessing
        the system might not have immediate availability to the most recent updates in a
        particular case.” Id. This creates opportunities for important safety-related tasks
        to “fall through the cracks,” especially when cases are transferred between
        workers. See id. It is unclear how easily CPS caseworkers can access their foster
        children’s RCCL files, and how often they do so when receiving new files. What
        is clear is that caseworkers’ continuously fail to maintain complete, timely, and
        accurate documentation. The resulting widespread neglect of important tasks


16
  The Court also noted in its December 2015 order that these records, despite their great length, “contained no CPA
investigation files, and there were no IMPACT or RCCL files for multiple children.” (D.E. 368, Page 166). Nor did
these records include any medical, dental, school, or mental health records. (D.E. 500, Page 13 n. 14).


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         relating to the safety and well-being of PMC children is indicative of a system
         where caseworkers’ workloads are unmanageable.

(D.E. 368, Pages 168-69). And the Court further determined:

         DFPS paperwork and electronic filing system, including IMPACT, CLASS, and
         the External files, must become more efficient. Each child should have a readily
         accessible and organized case file, comprised of all records pertaining to that
         child. The Court was routinely frustrated at the disorganization, duplication, and
         inconsistency in the foster children’s case files. Caseworkers should be able to
         spend more than 26% of their time with foster children.

(D.E. 368, Page 249). In its December 2015 Order, the Court noted it took eleven uninterrupted

workweeks to read the twenty foster children’s case files that were in evidence in excess of

350,000 pages. (D.E. 368, Page 166); see also (DX 120). Considering the dangerously high

turnover rate, this task must be duplicated numerous times for each child, making it impossible

for caseworkers to have enough time to focus on the children. (D.E. 368, Page 166); see infra at

III.J.

         Even where a caseworker does review the entirety of a child’s voluminous records, vital

information such as history of abuse may be missing. For example, the record shows that when

DFPS investigated an allegation that J.T. had sexually abused his roommate, the investigator

wrote that “[t]here was no mention in the client file of the [earlier] investigation involving J.T.

sexually abusing a child in a previous foster home.” (D.E. 304, Pages 51-52). K.E.’s records

included an e-mail from an I See You worker to K.E.’s primary caseworker about an incident

where another child in K.E.’s foster placement bloodied K.E.’s nose, but the records contained

no record of any follow-up into the incident, or of K.E. ever receiving medical treatment for the

injury. (D.E. 368, Page 135).

         Medical and educational records were frequently inadequate. Z.H.’s educational records

were inconsistent with respect to such basic information as what grade he was in for a given




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year; K.E.’s records did not reveal whether she ever attended the sixth or eighth grades. See

(D.E. 368, Pages 131-32). S.R. was diagnosed with developmental problems and a court ordered

that S.R. receive genetic testing, but S.R.’s records do not indicate whether such testing ever

occurred. (D.E. 368, Page 151). Five-year-old J.V. was prescribed Focalin for ADHD, but his

records do not contain an evaluation justifying that prescription. (D.E. 368, Page 108).17

        More general deficiencies were also present in the records reviewed by the Court. J.V.’s

record noted that his therapist thought J.V. might be acting out because he wanted to leave a

treatment center and return to his adoptive home, but J.V.’s record does not indicate whether his

caseworker ever acted on the therapist’s suggestion that the caseworker ask the adoptive mother

if that would be possible. (D.E. 368, Page 124). The records for an eight-sibling group were

shorter than those for a single foster child; the case files included no RCCL files and frequently

discussed all eight children at once, “even though they were often placed separately and had

different caseworkers, making the files difficult to follow.” (D.E. 368, Page 141).

        As the Court found in the December 2015 Opinion, DFPS maintains PMC children’s

records among numerous electronic and paper files, stored in different locations and maintained

by distinct custodians. (D.E. 368, Page 168; D.E. 546, Page 5). As the Court determined, the

trial record, including exhibits, revealed evidence of children’s records missing information,

containing incomplete information and reflecting information that was inconsistent with

information in other files. See (D.E. 368, Pages 166-69); see generally (D.E 368). The Special

Masters’ examination of these case records among the trial exhibits, and other children’s records


17
   The December 2015 Order extensively documented the high number of psychotropic drugs used on PMC
children. See, e.g., (D.E. 368, Pages 70-72, 82, 107, 113, 129-30, 226). For example, M.D. was prescribed 16
psychotropic drugs while in care, often taking five or six medications at a time. (D.E. 368, Pages 70-72). At trial,
Commissioner Specia acknowledged that “many stakeholders felt that [foster] children were overmedicated,” though
he stated that DFPS had significantly reduced usage of psychotropic drugs since 2004. (D.E. 331, Page 54).
Because caseworkers are medical consenters, the Court anticipates that, with more complete medical records, these
occurrences may be more carefully evaluated.


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as described below, confirmed that PMC children’s records are currently stored in different

locations with different custodians. (D.E. 546, Page 5).

       These records are:

       A.      The STAR Health Passport is an electronic record maintained by DFPS’s
               healthcare vendor, Superior HealthPlan. The passport allows users to view
               service utilization for medical, dental, behavioral and mental health care.
               The passport includes information tabs, including a medical history tab.
               The passport can log health history, service dates, medical events,
               allergies, immunizations and diagnoses. The passport is not compatible
               with, or linked to, the IMPACT system, described below. The passport
               does not currently have the functionality for uploading most documents,
               such as birth certificates, medical, dental, developmental and
               psychological evaluations, or the capacity to store these documents.
               Superior HealthPlan staff and clinical providers can enter information into
               the passport, but not DFPS staff or caregivers. The passport is viewable by
               Superior HealthPlan staff, DFPS caseworkers, foster care agency
               providers, medical consenters (foster parents), health providers and Court
               Appointed Special Advocates (CASAs).

       B.      IMPACT is the main electronic data system administered by DFPS.
               IMPACT is not compatible with, or linked to, the passport described
               above. IMPACT has the capacity to include, among other things,
               caseworkers’ notes, child abuse and neglect history, placement history, a
               child’s photograph, investigative history, service dates, court orders,
               medical event dates, dental event dates and assessments. As described
               below, the Special Masters observed in a random sample audit of PMC
               children’s files that IMPACT frequently contained less health-related
               information than the passport. IMPACT does not currently have the
               functionality for uploading most documents, such as birth certificates,
               school records, legal documents, medical, dental, developmental and
               psychological evaluations or the capacity to store these documents. DFPS
               staff have access to relevant information in IMPACT; Attorneys ad litem
               do not. DFPS implemented Case Connection in September 2014, which is
               a web-based program that gives CASA staff and volunteers access to a
               child’s IMPACT based case information. Through Case Connection,
               CASAs can view certain placement, healthcare, education, permanency
               and demographic information.

       C.      CLASS (the Child Care Licensing Automation Support System) which
               tracks inspection and investigative work in PMC’s children’s licensed
               residential placements, among other settings. An allegation of child abuse
               or neglect involving a PMC child while in a licensed residential setting
               can be linked to the child’s history page in IMPACT.



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       D.     Because IMPACT and the STAR Health Passport cannot store most
              documents, PMC children’s medical, dental, developmental and
              psychological assessments, and children’s birth certificates, must be
              separately maintained in paper files when DFPS acquires them. These
              files are in different locations. Paper records may be housed by the
              caregiver (i.e. the foster parent) at the child’s placement or at the offices of
              the agency supervising the placement. The primary CVS worker also
              typically stores a paper record, including the child’s birth certificate, in her
              DFPS office. Medical/service providers may also keep children’s records
              at their places of business.

       E.     Education records are located in at least two places. The name of the
              child’s school, the school year and the enrollment/discharge date(s), can
              be located in the IMPACT personal detail tab. Information about the
              child’s educational needs can be tracked in the educational portfolio
              section of IMPACT. A separate paper-based system, often called the
              Green Binder, is intended to contain the PMC child’s complete
              educational information, including report cards, progress notes,
              classification for specialized services and school enrollment history, and is
              supposed to follow a child from placement to placement. When a Green
              Binder exists, it is maintained by the child’s placement provider.

       F.     Foster and adoptive home screenings and evaluations for PMC children
              are frequently kept in paper files maintained by the community agency
              that supervises the child’s placement

(D.E. 546, Pages 5-7).

       On May 4, 2017, Special Master Kevin Ryan and John Ducoff, a member of the Special

Master team, met with DFPS leadership to discuss DFPS’s child welfare record keeping systems

and to test those record keeping systems by examining the electronic files of 21 children in the

PMC class, selected randomly by Mr. Ryan from among the 10,551 children identified by DFPS

as being in the PMC class on March 31, 2017. (D.E. 546, Page 7). The STAR Health Passport

contained more information about children’s medical and mental health care, including

procedure dates, types of procedures and diagnoses, but the information in the STAR Health

Passport and IMPACT did not align nearly half the time. (D.E. 546, Page 7). Of the 21

randomly selected PMC children whose electronic case records were reviewed by Mr. Ryan and



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Mr. Ducoff, the dates of the child’s last medical examination listed in IMPACT mirrored, or

closely approximated, the dates of the child’s last medical examination in the Health Passport in

11 cases, and differed in 10 cases.18 (D.E. 546, Page 7).

        Of the 21 PMC children whose electronic case records were reviewed by Mr. Ryan and

Mr. Ducoff, 14 children had a current (within one year) photo in their IMPACT case record; two

children had a photo that was slightly overdue for updating in their IMPACT case record (by two

and three weeks at the time of the review); and five children did not have a recent photo in their

IMPACT case record. (D.E. 546, Page 7).

        All of the children had a verified Social Security Number in their IMPACT case file.

(D.E. 546, Page 7).

        Of the 21 PMC children whose electronic case records were reviewed by Mr. Ryan and

Mr. Ducoff, the IMPACT system contained no uploaded medical records, dental records,

educational records or mental health records. (D.E. 546, Page 8). DFPS said those records may

be in the possession of the primary CVS worker, or may not be in DFPS’s possession, but

instead held by the caregiver, or the providers. (D.E. 546, Page 8).

        Of the 21 PMC children whose electronic case records were reviewed by Mr. Ryan and

Mr. Ducoff, the IMPACT system recorded that 16 children had a recent (within 6 months) dental

examination, two children appeared slightly overdue for a dental examination (by two weeks)

and three children did not have a timely dental examination listed. (D.E. 546, Page 8). The

examinations were not included in the IMPACT system. (D.E. 546, Page 8).

        Of the 21 PMC children whose electronic case records were reviewed by Mr. Ryan and

Mr. Ducoff, the IMPACT system recorded that 17 children had a timely medical examination


18
  Mr. Ryan shared the results of the audit with DFPS through counsel and solicited feedback before finalizing and
sharing the findings with the Court.


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and four children did not have a timely medical examination listed. (D.E. 546, Page 8). The

examinations were not included in the IMPACT system. (D.E. 546, Page 8).

       In addition to the IMPACT system, Mr. Ryan and Mr. Ducoff also reviewed children’s

records in the Star Health Passport system. (D.E. 546, Page 8). In general, Mr. Ryan and Mr.

Ducoff observed that the STAR Health Passport often contained more information about

children’s medical and mental health care, including procedure dates, procedure types and

diagnoses. (D.E. 546, Page 8). However, the 21 passports did not include copies of medical

examinations, ER visit reports, hospitalization documents or dental examinations, even when

those events were indicated. (D.E. 546, Page 8).

       Of the 21 PMC children whose electronic case records were reviewed by Mr. Ryan and

Mr. Ducoff, the STAR Health Passport recorded that 15 children had a current dental

examination, five children did not and one child appeared to be slightly overdue for a dental

examination (within ten days). (D.E. 546, Page 8).

       Of the 21 PMC children whose electronic case records were reviewed by Mr. Ryan and

Mr. Ducoff, the Health Passport recorded that 20 children had a timely medical examination and

one child was overdue for a medical examination. (D.E. 546, Page 8).

       Of the 21 PMC children whose electronic case records were reviewed by Mr. Ryan and

Mr. Ducoff, the Health Passport and/or the IMPACT system reflected that 11 children had a

psychological assessment of some type within the past three years. (D.E. 546, Page 9). The

records were unclear or information was absent for seven children, and two children were

infants. (D.E. 546, Page 9). The psychological assessment documents were not included in

IMPACT or the Health Passport. (D.E. 546, Page 9).




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       Of the 21 PMC children whose electronic case records were reviewed by Mr. Ryan and

Mr. Ducoff, the dates of the child’s last medical examination listed in IMPACT mirrored, or

closely approximated, the dates of the child’s last medical examination in the Health Passport in

11 cases, and differed in 10 cases. (D.E. 546, Page 9).

       Of the 21 PMC children whose electronic case records were reviewed by Mr. Ryan and

Mr. Ducoff, the dates of the child’s last dental examination listed in IMPACT mirrored, or

closely approximated, the dates of the child’s last dental examination in the Health Passport in 11

cases, and differed in 10 cases. (D.E. 546, Page 9).

       Further, in a March 16, 2017 hearing, multiple DFPS officials stated they did not know

whether e-filing medical records was a requirement of the State’s contracts with medical

providers. (Status Conference, Mar. 16, 2017, at 11:12:05). Commissioner Whitman told the

Court that he would explore making e-filing medical records a contractual requirement. (Status

Conference, Mar. 16, 2017, at 11:17:29). However, the Special Master subsequently observed

this was not happening. (D.E. 546, Page 5). The Special Master also discovered, through the I

See You worker study, that even when workers were medical consenters, they often did not have

access to medical records. (D.E. 546, Page 34); see infra at III.K.

       In February and March 2017, Mr. Ryan and Deborah Fowler, a member of the Special

Master team, visited the residences of eight randomly selected Foster Group Home caregivers in

Texas. (D.E. 546, Page 9). The Foster Group Home caregivers each knew that the children’s

education records were contained in a Green Binder, which followed the child from placement to

placement. (D.E. 546, Page 9). In two instances, caregivers said the Green Binder was housed

in the offices of the community agency assigned to monitor the Foster Group Home and was not

available for inspection during the visit. (D.E. 546, Page 9). In six instances, the Green Binder




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was in the home of the Foster Group Home caregiver and contained the child’s educational

records, including enrollment information, report cards and information on learning disabilities

and accommodations. (D.E. 546, Page 9). Mr. Ryan visited a randomly selected Residential

Treatment Center in Harris County in March 2017, and was advised that some of the children did

have Green Binders on site, including their education information, and others did not. (D.E. 546,

Page 9).

       The Court’s Order of January 2017, included in Section V.B.:

       The Special Masters are ordered to work with DFPS to create and submit to the
       Court a plan for a comprehensive central databank for PMC children. The
       databank shall include: 1. Medical records; 2. Dental records; 3. Mental health
       records; 4. School records; 5. Court records; 6. Caseworker notes; and 7.
       Placement evaluations.

(D.E. 500, Page 13).

       In an effort to comply with the Court’s Order, the Special Masters asked DFPS to provide

a draft plan to achieve the Court’s goals. (D.E. 546, Page 10). DFPS declined to share a draft

plan, replying “Not applicable. Texas is not developing such a plan.” (D.E. 546, Pages 116-17).

       In an effort to comply with the Court’s Order, the Special Masters requested that DFPS

assess and report the time needed to improve its IMPACT system so that all of a child’s medical

records are included and available in an identified health section of a child’s case file in

IMPACT. (D.E. 546, Page 10). DFPS replied the request was “[n]ot applicable. DFPS is not

making such changes to the IMPACT system.” (D.E. 546, Page 113-15).

       In an effort to comply with the Court’s Order, the Special Masters requested that DFPS

assess and report the time needed to improve its IMPACT system so that all of a child’s dental

records are included and available in an identified health section of a child’s case file in




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IMPACT. (D.E. 546, Page 10). DFPS replied the request was “[n]ot applicable. DFPS is not

making such changes to the IMPACT system.” (D.E. 546, Pages 113-15).

       In an effort to comply with the Court’s Order, the Special Masters requested that DFPS

assess and report the time needed to improve its IMPACT system so that all of a child’s mental

health records are included and available in an identified health section of a child’s case file in

IMPACT. (D.E. 546, Page 10). DFPS replied the request was “[n]ot applicable. DFPS is not

making such changes to the IMPACT system.” (D.E. 546, Pages 113-15).

       In an effort to comply with the Court’s Order, the Special Masters requested that DFPS

assess and report the time needed to improve its IMPACT system so that all of a child’s

educational records are included and available in an identified education section of a child’s case

file in IMPACT. (D.E. 546, Pages 10-11). DFPS replied the request was “[n]ot applicable.

DFPS is not making such changes to the IMPACT system.” (D.E. 546, Pages 115-16).

       In an effort to comply with the Court’s Order, the Special Masters requested that DFPS

assess and report the time needed to improve its IMPACT system so that all of the court records

pertaining to a child’s case are included and available in an identified legal section of a child’s

case file in IMPACT. (D.E. 546, Page 11). DFPS replied the request was “[n]ot applicable.

DFPS is not making such changes to the IMPACT system.” (D.E. 546, Pages 113-15). DFPS

continues to maintain it is not developing such a plan. (D.E. 546, Page 11, 116-17).

       Given the comprehensive record established at trial and the Special Master’s findings,

Defendants’ Objection that this Section is without basis is OVERRULED.

       C.      Current PMC Child Photograph

   1. Effective immediately, the electronic case record of each child in the PMC class
      must include the child’s photograph that is not more than one year old, except as
      provided in paragraph three, below.




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   2. Effective immediately, when a child enters the PMC class, DFPS shall ensure
      that a photograph is taken of the child within 48 hours and uploaded into the child’s
      electronic case record promptly. DFPS shall ensure the date of the photograph is
      recorded in the child’s case record.

   3. Effective immediately, with respect to all PMC children under the age of three
      years, DFPS shall ensure that photographs are taken and uploaded to the child’s
      IMPACT case record at least semi-annually and the date of the photograph must be
      recorded in the child’s case record.

   4. Effective immediately, DFPS shall ensure adequate training to all caseworkers on
      how to use the appropriate technology to photograph a child and upload the
      photograph to the child’s electronic case record.

               a.      Objection

       Defendants object that there is no basis in the record for finding that existing DFPS

policies or practices regarding child photographs caused class-wide constitutional injury, and that

all of the Items in this section are therefore unjustified. (D.E. 556, Page 23).

               b.      Ruling on Objection

       In its December 2015 Order, the Court found the frequency of runaways necessitated the

availability of a recent photograph. (D.E. 368, Page 249 n. 54). Named plaintiff M.D. had a

history of running away from placements, and engaged in drug use and sex work while she was

outside DFPS custody. (D.E. 368, Pages 64-69). After her final, successful runaway attempt, a

national missing children organization informed DFPS that M.D. may have been arrested. (D.E.

368, Page 68). The organization provided DFPS with a picture of M.D., but M.D.’s caseworker

was unable to positively identify her, because neither her caseworker nor anyone else in the unit

had ever met her. (D.E. 368, Pages 68-69, 249 n. 54). DFPS did not act on the tip until urged by

M.D.’s attorney ad litem, who saw the photo and immediately recognized it as being of M.D.

(D.E. 368, Pages 68-69). However, by then two weeks had passed, and M.D. was gone. (D.E.

368, Pages 68-69). M.D. has not been seen nor heard from since. (D.E. 368, Page 69). The




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remedies in this section are necessary in order to prevent repeats stories like M.D.’s from

recurring.

         Consistent with the Court’s goals in the December 2015 Order, DFPS improved its

electronic case management system, IMPACT, to include a location for a child’s photograph to

be uploaded. (D.E. 546, Page 12). As of the Special Masters’ case record review in May 2017,

DFPS had not ensured that the electronic case record of each child in the PMC class included a

child’s photograph that is not more than one year old. (D.E. 546, Page 12). The Court again

reiterates that policies not practiced are of no value. See Ruiz, 679 F.2d at 1160; see supra at

II.B.1. The Objection is OVERRULED.

         D.       Screening and Investigating Reports of Abuse/Neglect Regarding PMC
                  Children

     1. Effective immediately, DFPS shall ensure that it maintains a statewide, 24-hour
        hotline accessible by PMC children in DFPS custody to report abuse and neglect.
        The hotline shall receive, screen and assign for investigation reports of maltreatment
        of children in the PMC class.

     2. DFPS shall ensure that reported allegations of child abuse and neglect involving
        children in the PMC class are investigated; commenced and completed on time
        consistent with the Court’s Final Order; and conducted taking into account at all
        times the child’s safety needs. The monitor(s) shall periodically review the statewide
        system for appropriately receiving, screening and investigating reports of abuse and
        neglect involving children in the PMC class to ensure the investigations of all reports
        are commenced and completed on time consistent with Items 9-16 of this Section
        of the Court’s Final Order and conducted taking into account at all times the child’s
        safety needs.19

     3. In order to ensure that PMC children have access to the 24-hour hotline to report
        abuse and neglect, within 30 days of the Court’s Final Order, DFPS shall either
        require all foster homes and therapeutic foster homes housing PMC children to
        maintain a landline phone accessible to the child in the home, with the toll-free
        hotline number appended to the landline or, in the alternative, DFPS shall present an
        alternative plan to the Court within 30 days of the Court’s Final Order to ensure PMC
        children have access to the hotline to report abuse and neglect.


19
  Defendants object that the phrase “pursuant to current policy and regulation” in Item 2 is vague. (D.E. 556, Page
14). The Objection is SUSTAINED. The Court has modified the language of this Item.


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                  a.       Objection

       Defendants object that requiring phone lines in every home housing a PMC child would

require additional funding and is unnecessary. (D.E. 556, Pages 24-25).

                  b.       Ruling on Objection

       “[C]onstitutional rights are not, of course, confined to those available at modest cost.”

See Ruiz, 679 F.2d at 1146 (“[I]n considering remedies for unconstitutional deprivation, the cost

of one proposed remedy in comparison with the cost of others and the demonstrable need for the

remedy should both be considered.”).20 The Court finds that Item 3 is necessary to protect PMC

children from an unreasonable risk of harm. See infra at III.D.16. Defendants have not provided

any evidence of cost despite repeated requests for information by the Special Master and

Defendants’ representation to the Court that they would look into the feasibility of requiring

landline phones in each foster home. (D.E. 546, Pages 16-17, 118, 128-29; D.E. 521, Page 2).

Even so, the cost of landline phones seems trivial compared to the $1 billion in additional

funding which DFPS received in the last session of the Texas Legislature. See (D.E. 546, Page

2). Further, at a March 16, 2017 hearing, the Court suggested to Commissioner Whitman that, as

DFPS pays placements a minimum of $1,400 per month, 21 it could make it a requirement that

caregivers have landline phones available to PMC children at the caregivers’ expense. (Status

Conference, Mar. 16, 2017, at 10:45:50). Commissioner Whitman replied he would check into

the possibility but there is no indication he did. Id.; (D.E. 546, Pages 128-29).




20
   Where there is no alternative adequate remedy, “a state cannot avoid the obligation of correcting the constitutional
violations of its institutions simply by pleading fiscal inability.” See New York State Ass’n for Retarded Children,
Inc. v. Carey, 631 F.2d 162, 165 (2d Cir. 1980); see also supra at II.B.8-9.
21
   Effective September 2017, the minimum “combined CPA retainage and foster home payment” is $48.47 per day
for a Basic level child, with higher payments made for children with higher service levels. 40 Tex. Admin. Code
§ 700.1753(s). This comes out to just over $1400 per month for a Basic level child. CPAs account for 90% of
foster placements. (D.E. 368, Page 9; DX 119, Page 72).


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       Despite this Court’s order that Defendants establish policies to protect children from an

unreasonable risk of harm and cooperate with the Special Masters, Defendants responded to the

Special Master’s request for a draft policy on landline phones by stating “[n]ot applicable. DFPS

neither has nor will be developing such a policy or regulation.” (D.E. 546, Pages 16, 118). In

May 2017, almost two months after their representation to the Court that they would look into

the feasibility of a landline phone policy, Defendants informed the Special Master they were still

“considering the feasibility and utility of requiring a landline phone in each foster home.” (D.E.

546, Pages 16, 128-29). No further information was provided to the Special Master before he

filed the Implementation Plan in December 2017. To date, Defendants do not even have a means

of tracking which PMC children have access to a phone to report abuse and neglect. (D.E. 546,

Pages 16-17). Though the record reflects that DFPS policy requires informing children of the

phone number to report abuse, there is no indication that the children can utilize this number.

See (D.E. 325, Pages 168-69; D.E. 324, Page 200).

       The Court is not persuaded that Defendants’ proposed alternative of educating PMC

children about the option of reporting maltreatment to teachers, nurses, or other “trusted

individuals” would be equally effective. (D.E. 556, Page 24). The record indicates that many

PMC class members have no trusted figures in their lives. (D.E. 325, Page 170-71); see also

(D.E. 307, Page 17); supra at III.A.4. Moreover, at least in Residential Treatment Centers

(“RTCs”),22 PMC children may attend school at the facility, and thus may not have access to any

figures who are not co-workers of their abusers. (D.E. 325, Page 168). The Court finds that a

dedicated landline alleviates these issues. This Objection is OVERRULED.



22
  Residential Treatment Centers are a subset of General Residence Operations (“GRO”). GROs are facilities caring
for more than 12 children for 24 hours a day; RTCs are GROs for children with more serious physical and mental
health needs. See (D.E. 368, Pages 256).


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   4. Effective May 2018, DFPS shall ensure that all caseworkers and caregivers are
      trained to recognize and report sexual abuse, including child on child sexual abuse.

   5. Effective immediately, DFPS shall ensure that investigations of abuse and
      neglect of PMC children while they are in licensed placements are conducted by
      staff whose caseload is exclusively focused on child maltreatment investigations.

   6. Effective March 2018, and ongoing thereafter, DFPS shall ensure the central case
      record of every child in the PMC class includes documentation confirming the
      method(s) discussed with the child for notifying DFPS if the child needs to report
      abuse or neglect. For children who are verbal, the documentation must include the
      date the reporting methods were discussed with the child and confirmation of their
      level of understanding. The discussion with the child must occur within 48 hours
      of entering any new placement.

   7. Within 60 days of the Court’s Final Order, all calls to the DFPS 24-hour hotline
      shall be recorded. All recorded calls shall be stored for at least two years using a call
      recording system. Recordings shall be made available to the monitor(s) for
      monitoring and verification purposes.

   8. Effective March 2018, and ongoing thereafter, DFPS shall ensure that a well-
      trained, experienced and qualified supervisor reviews and approves all screening
      decisions at the 24-hour hotline involving children in the PMC class. The monitors
      will conduct routine audits of screened-out reports involving children in the PMC
      class to confirm that DFPS conducted a complete review of the available record
      (including past intake reports involving the child and the placement) and due
      consideration was given to the risks to children when determining whether to assign a
      matter for investigation.

   9. Effective March 2018, DFPS shall ensure that all abuse and neglect referrals to the
      24-hour hotline regarding a foster home where any PMC child is placed, which are
      not referred for a child abuse and neglect investigation, are shared with the PMC
      child’s caseworker and the caseworker’s supervisor within 48 hours of DFPS
      receiving the referral.    Upon receipt of the information, the PMC child’s
      caseworker will review the referral history of the home and assess if there are any
      concerns for the child’s safety or well-being, and document the same in the child’s
      electronic case record.

   10. Effective March 2018 and ongoing thereafter, DFPS shall, in accordance with
       existing DFPS policies and administrative rules, initiate Priority One child abuse and
       neglect investigations involving children in the PMC class within 24 hours of intake.
       (A Priority One is by current policy assigned to an intake in which the children
       appear to face a safety threat of abuse or neglect that could result in death or serious
       harm.)




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   11. Effective March 2018 and ongoing thereafter, DFPS shall, in accordance with
       existing DFPS policies and administrative rules, initiate Priority Two child abuse and
       neglect investigations involving children in the PMC class within 72 hours of intake.
       (A Priority Two is assigned by current policy to any CPS intake in which the
       children appear to face a safety threat that could result in substantial harm.)

   12. Effective March 2018 and ongoing thereafter, DFPS shall, in accordance with
       DFPS policies and administrative rules, complete required initial face-to-face contact
       with the alleged child victim(s) in Priority One child abuse and neglect
       investigations involving PMC children as soon as possible but no later than 24 hours
       after intake.

   13. Effective March 2018 and ongoing thereafter, DFPS shall, in accordance with
       DFPS policies and administrative rules, complete required initial face-to-face contact
       with the alleged child victim(s) in Priority Two child abuse and neglect investigations
       involving PMC children as soon as possible but no later than 72 hours after intake.

   14. Effective March 2018 and ongoing thereafter, DFPS shall track and report all
      child abuse and neglect investigations that are not initiated on time with face-
      to-face contacts with children in the PMC class, factoring in and reporting to the
      monitors quarterly on all authorized and approved extensions to the deadline required
      for initial face-to-face contacts for child abuse and neglect investigations.

   15. Effective March 2018, DFPS shall, in accordance with DFPS policies and
       administrative rules, complete Priority One and Priority Two child abuse and neglect
       investigations that involve children in the PMC class within 30 days of intake, unless
       an extension has been approved for good cause and documented in the
       investigative record. If an investigation has been extended more than once, all
       extensions for good cause must be documented in the investigative record.

   16. Effective March 2018 and ongoing thereafter, DFPS must track and report monthly
       all child abuse and neglect investigations involving children in the PMC class that are
       not completed on time according to this Final Order. Approved extensions to the
       standard closure timeframe, and the reason for the extension, must be documented
       and tracked. If an investigation has been extended more than once, all extensions
       for good cause must be documented in the investigative record.

               a.      Objection

       Defendants object that there is no basis in the record for finding that class-wide

constitutional injury resulted from existing DFPS policies or practices regarding screening and

investigation of reports of abuse or neglect, and that all of the Items in this Section are therefore

unjustified. (D.E. 556, Page 23).



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               b.     Ruling on Objection

       DFPS’s existing systems for reporting abuse and neglect, including its reporting hotline

(Statewide Intake), are plainly inadequate.      The trial record includes multiple pieces of

testimonial evidence describing children’s inability to reach out for help. The former foster

children testified that they were unable to tell a caseworker about abuse because the abuser

(often the caregiver) was present. (D.E. 324, Page 64 Lines 3-16, Page 64 Line 22-Page 65 Line

15; D.E. 325, Page 169 Lines 14-25). PV testified she did not know who to trust, so she stayed

quiet. (D.E. 324, Page 200 Lines 3-17). When PV did try to report abuse to a caseworker,

nothing ever came of it. (D.E. 324, Page 200 Lines 3- 17). KS (“KS”) testified that at one of his

placements he could not make a phone call without getting permission. (D.E. 325, Page 169

Lines 14-24). KS testified he never had the opportunity to report his sexual abuse because

someone was constantly monitoring his access to the outside world. (D.E. 325, Page 169 Lines

14-25). KS also testified that he did not know there was a number he could call and that if there

was such a number, he would not have had access to it. (D.E. 325, Page 176 Lines 8-17).

Additionally, the next friends of named plaintiffs described those children’s frustrations with not

having a way to reach out. See (D.E. 324, Page 224 Line 22-Page 226 Line 21 and D.E. 327,

Page 188 Line 22-Page 189 Line 11). The December 2015 Order found that these problems are

systemic and likely led to an underreporting of abuse. (D.E. 368, Pages 205-06).

       The record indicates that even abuse reported by credible outside sources often goes

unaddressed. For instance, a CASA worker called DFPS’s hotline to report that named plaintiff

M.D. had bruises all over her body due to physical restraints which had been placed on her by

RTC staff, but nothing came of the report. (D.E. 324, Pages 224-25). A school nurse called

Statewide Intake after visiting named plaintiff L.H. at her foster home and finding L.H. and her




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siblings “outside barefoot” “without jackets,” appearing dirty and malnourished. (D.E. 368,

Pages 144-45). Although the intake report also noted that the foster mother’s boyfriend was

“charged with abusing” L.H., CPS ruled out all allegations of abuse and neglect. (D.E. 368,

Page 145). One of the more troubling instances was attorney ad litem Anna Ricker’s (“Ricker”)

testimony about her experience reporting abuse and neglect in a Levelland facility. (D.E. 368,

Page 204). Ricker visited a child who was non-verbal, had fingernails that curled forward to

touch his fingers, an unexplained “goose-egg” on his forehead, and was clothed in a torn shirt

and pants, which he had to hold up with his hand. (D.E. 368, Page 204). Ricker visited this

facility on numerous occasions, each time finding another child with a black-eye. (D.E. 368,

Page 204). Ricker twice reported the abuse and neglect at this facility but RCCL Ruled Out the

allegation based solely on information provided by staff and children. (D.E. 368, Page 204).

RCCL never contacted Ricker. (D.E. 326, Page 212-14).

       The Court’s December 2015 Opinion required that “[f]oster children must be allowed

telephone access to reach out to” the 24-hour, toll-free child abuse and neglect hotline. (D.E.

368, Page 249). The Court’s January 2017 Order concluded that “[a]ll foster homes, [F]oster

[G]roup [H]omes, and therapeutic foster homes housing PMC children should be required to

maintain a landline phone accessible to the child in the home, with the toll-free hotline number

appended to the landline.” (D.E. 500, Page 14). The Court’s goals grew from findings, detailed

in the December 2015 Opinion, that children were subject to serious physical and sexual abuse

that was not reported to the DFPS toll-free, 24-hour child abuse and neglect hotline, known as

Statewide Intake. E.g., (D.E. 368, Pages 205-06).




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        Consistent with the Court’s orders in this matter, the Special Masters requested that

DFPS provide a draft policy and/or regulation to require that Child Placement Agency23 (“CPA”)

residential providers maintain a landline phone that connects directly to the DFPS toll-free, 24-

hour screening hotline. (D.E. 546, Pages 14-15). DFPS originally responded on March 8, 2017

that the request from the Special Masters was “[n]ot applicable. DFPS neither has nor will be

developing such a policy or regulation.” (D.E. 546, Pages 16, 118).

        During a status hearing before the Court in March 2017, DFPS stated and the Court

recorded in its March 17, 2017 Order, “DFPS agreed to examine the possibility of requiring a

landline phone accessible to the children in each foster home.” (D.E. 521, Page 2); see (D.E.

546, Page 16); supra at III.D.3. DFPS subsequently advised the Special Masters in May 2017

that DFPS was still “considering the feasibility and utility of requiring a landline phone in each

foster home.” (D.E. 546, Pages 16, 128). Despite the Court’s orders in this matter, DFPS also

reports “it does not have a means of tracking which PMC children are placed in care with access

to a phone to report abuse and neglect.” (D.E. 546, Pages 16-17, 122-23).

        For the reasons stated above, the policies are necessary to protect PMC children from an

unreasonable risk of harm. The Objection is OVERRULED.

        E.       PMC Youths’ Preparation for Independence

     1. Effective immediately, DFPS shall ensure and document that all youth in the PMC
        class, aged 16 or older, receive copies of their birth certificate a n d social security
        card upon turning 16.24

     2. Effective immediately, DFPS shall ensure and document that all youth in the PMC
        class, prior to aging out of care, receive copies of their birth certificate, social
        security card, most current high school transcript, copies of their last physical health

23
   Child Placing Agencies are private agencies contracted by DFPS to place foster children in homes. (D.E. 368,
Page 256). CPAs account for 90% of foster placements. (D.E. 368, Page 229).
24
   Defendants object that the phrase “all other documents that law or policy entitles them to receive” is
impermissibly vague. (D.E. 556, Page 14). The Objection is SUSTAINED. The Court has deleted the language
from the Order.


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          and dental examinations, copies of their immunization record, and copies of
          identifying information needed for Medicaid.              DFPS    must document an
          acknowledgment of receipt, along with a short description of the youth’s plan for
          safekeeping the documents, signed by the youth and their caseworker in the
          electronic case record prior to the youth aging out of care.25 Prior to the youth aging
          out of care, DFPS shall take all reasonable steps, including the filing of an
          application, to assist the youth in signing up for either Former Foster Care Children’s
          Medicaid26 or Medicaid for Transitioning Foster Care Youth,27 and shall document
          those steps in the child’s electronic record.28 Each of these programs requires an
          affirmative act to change from the under-18 Medicaid to the over-18 previous foster
          care Medicaid.29 See (D.E. 331, Pages 56-57).

     3. Effective within three months of the Court’s Final Order and ongoing thereafter,
        DFPS shall identify all PMC youth aged 14 and older who have not yet received the
        following DFPS independent living preparation services: the life skills assessment, a
        Circles of Support (COS) or Transition Plan Meeting (TPM), and a recently updated
        (within six months for youth 16 and older and one year for youth 14 and older)
        transition plan. DFPS shall ensure that all PMC youth who have been identified
        immediately above, receive these services and that the PMC youth’s transition plan is
        developed.

     4. Effective June 2018, DFPS shall ensure all 14- and 15-year-old youth in the PMC
        class receive DFPS’ Preparation for Adult Living (PAL) services.

     5. Effective June 2018, DFPS shall ensure that if a PMC youth’s disability is a barrier to
        participation in PAL services or supports, appropriate accommodations shall be
        identified that allow the youth to meaningfully participate, and DFPS shall
        document any accommodations in the child’s electronic case record.

     6. Effective June 2018, DFPS shall ensure PMC youth receive a life-skills assessment
        within 45 days of turning 14, and are reassessed annually, and that the results of these
        assessments are documented and available in the child’s electronic case record.

     7.    Effective June 2018, DFPS shall ensure that PMC youth receive DFPS’s Circles of
          Support (COS) or Transition Planning Meeting (TPM) within 45 days of turning 14
          years old, and then receive either COS or TPM in conjunction with the child’s

25
   Defendants object that the phrase “all other documents that law or policy entitles them to receive” is
impermissibly vague. (D.E. 556, Page 14). The Objection is SUSTAINED. The Court has altered the language of
this Item.
26
   Health Care: Medicaid for Former Foster Care Children,
https://yourtexasbenefits.hhsc.texas.gov/programs/health/child/former-foster-care.
27
   Health Care: Medicaid for Transitioning Foster Youth,
https://yourtexasbenefits.hhsc.texas.gov/programs/health/child/transitioning-foster-care.
28
   Commissioner Specia testified at trial that DFPS already has a regular practice of assisting youths with this
process. (D.E. 331, Page 57).
29
   Without these programs, foster youths would typically lose medical coverage as soon as they left foster care. See
(D.E. 331, Page 56).


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         permanency planning meeting every four months, until the youth ages out or attains
         permanency. The purpose of such meetings is to develop a youth’s transition plan
         with an eye toward building skills to support a youth’s specific strengths and
         address needs in preparation for independence.

     8. Effective March 2018, DFPS shall ensure that primary caseworkers assigned to PMC
        children develop a plan, in consultation with the child’s attorney ad litem, to facilitate
        the sealing or expungement of any eligible criminal or juvenile records for offenses
        for which the youth was adjudicated or convicted prior to the youth aging out of care.
        DFPS shall ensure the efforts to do so are documented in the child’s electronic case
        record.

     9. Effective March 2018, DFPS shall ensure that the caseworker puts a plan in place
        prior to a PMC youth turning 18 years of age, documented in the case record,
        detailing how the youth will access benefits the youth is eligible to receive once they
        leave DFPS care, including the DFPS transitional living allowance, Social Security
        Disability Insurance benefits, the DFPS aftercare room and board assistance, and
        DFPS’s Education and Training Vouchers.

     10. Effective June 2018, DFPS shall ensure driver’s education classes are provided to all
         PMC youth who are old enough to receive a learner’s permit and choose to take
         driver’s education. DFPS may create exceptions for PMC youths who are not
         developmentally or medically able to safely participate in driver’s education.30

                  a.       Objection

         Defendants object to the logistical challenges of implementing Item 10 and to Item 10

imposing requirements which the Texas Legislature considered but declined to impose. (D.E.

556, Pages 25-26).

                  b.       Ruling on Objection

         Defendants state that it is “unclear” whether it is possible to procure PMC youths the

insurance necessary to participate in the experiential learning portions of driver’s education

classes, but provided no evidence this is the case. The Court finds this Item necessary to protect

PMC children from an unreasonable risk of harm. See Ruiz, 679 F. 2d at 1146; see also infra at

III.E.12.b. Accordingly, Defendants’ Objection is OVERRULED.

30
  Defendants object to Item 10 on the ground that not all youths old enough to participate in driver’s education are
developmentally capable of doing so. (D.E. 556, Page 26). This Objection is SUSTAINED. The Court has
modified Item 10 accordingly.


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   11. Effective immediately, DFPS shall ensure that a plan is in place, and documented in
       the case record, to provide all PMC youth age 16 and older with safe, stable housing
       upon exit from care.

               a.      Objection

       Defendants object to Item 11 if read to require DFPS to arrange and pay for housing,

which would require legislative direction and appropriations. (D.E. 556, Page 26). Defendants

also state youths may determine where they live upon aging out of care. (D.E. 556, Page 26).

               b.      Ruling on Objection

       The Court clarifies that Item 11 does not require the State to arrange and pay for housing

of PMC youths who age out. Once youths turn 18, they cease to be members of the PMC class.

Rather, Item 11 requires DFPS to develop and document a plan for each PMC youth to have

housing upon aging out—whether this be through DFPS’s existing extended foster care program,

referral to a shelter, or some other means. To the extent this clarification does not fully address

Defendants’ Objection to Item 11, it is OVERRULED.

   12. Effective immediately, DFPS shall ensure that prior to exiting care, each PMC youth
       age 14 and older is assisted in creating e-mail accounts so that they may receive
       encrypted copies of personal documents and records, in addition to receiving copies
       of originals.

               a. Objection

       Defendants object that there is no basis in the record for finding that existing DFPS

policies or practices regarding preparation of PMC youth for independence cause class-wide

constitutional injury, and that all of the Items in this Section are therefore unjustified. (D.E. 556,

Page 25).

               b. Ruling on Objection

       In the December 2015 Opinion, the Court found:




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        Specia also acknowledged that the “longer children stay in the custody of the state
        the harder it is for them to achieve a permanent home.” (D.E. 299 at 63, 83; see
        also PX 1988 at 9). Thus, another consequence of rotating overburdened
        caseworkers, which disrupts permanency planning, is that 1[2]00-140031 foster
        children age out of the system each year. It is widely recognized that foster
        youths who age out generally experience poorer life outcomes. These youths
        leave the system with few life skills and little, if any, support. As Burstain wrote
        before joining DFPS, aging out of care is an outcome DFPS tries to avoid as aged
        out youths “have no permanent place to call home and often have a difficult
        time.” (PX 1877 at 36). Burstain reaffirmed this sentiment at trial, saying that
        children for whom DFPS has failed to find a permanent home and who age out
        are “likely . . . to be harmed.” (D.E. 310 at 55). This is especially true for
        children who age out while living far from their home communities and support
        networks, often lacking the resources or ability to return. As of August 2014,
        approximately 60% of all foster children were placed outside their home county.
        (DX 183 at 4). Thus, aging out in a foreign community is commonplace. As a
        result, these children frequently end up homeless, participating in “criminal
        activities in order to survive, trespassing in vacant homes or stealing or human
        trafficking, prostitution, those kind of things in order to have a place to stay.”
        (D.E. 307 at 15; see also PX 1872 at 4).

        Aged out foster youths often experience “serious, and in some cases disabling,
        physical and mental health care issues” and are likely to suffer from post-
        traumatic stress disorder (“PTSD”) due to “the traumas and frequent moves and
        transitions experienced in foster care.” (PX 1988 at 10). According to Casey
        Family Programs, former foster youths suffer from PTSD at nearly five times the
        rate of the general population and nearly twice the rate of United States combat
        veterans. Id. at 57, 71. In addition, aged out foster youths often have
        significantly lower educational attainment than their peers. Id. at 53-55, 58-59.
        Foster youth in general are “much more likely to be held back than their peers.”
        Id. at 54. This is due in part to the frequent school changes, which means they are
        “often absent for large parts of the school year, lose academic credits due to mid-
        semester moves, and often have incomplete school records due to missing
        transcripts.” Id. at 53-54. Foster children are also significantly overrepresented
        in special education classes—at a rate of over four times that of the general
        population—which may be an underestimate. See id. at 55. Many do not finish
        high school. Id. at 58. Fewer than 2% of former foster children complete college.
        Id. at 56.32

        Talley, who previously worked at DFPS as a Preparation for Adult Living
        coordinator, testified that the 800 former foster youths for whom she provided

31
   (D.E. 546, Page 20); see infra p. 52.
32
  The Court has continuing concern over foster care children who enter care at a Basic needs level and age out from
a residential treatment center on multiple psychotropic drugs, indicative of warehousing children. See, e.g., (D.E.
368, Pages 56, 82, 95-103, 106-28, 146, 150, 225-27; D.E. 325, Pages 21-22, D.E. 323, Pages 97-98; PX 50, Pages
29-30); see also (DX 120 at DFPS009030795-96, DFPS009048706, 1 RFP CPS 123302) (filed under seal).


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         services, the majority of which were in PMC, were simply being “maintain[ed] in
         foster care until they aged out.” (D.E. 323 at 84-85). [Sandra] Carpenter [of the
         non-profit organization “Angel Reach”] testified that aged-out children lack
         independent living skills. (See D.E. 307 at 8, 13, 29- 30). They do not know how
         to answer a phone, take or leave a message, cook a meal for themselves, or load a
         dishwasher. Id. They do not know how to fill out a job application, let alone drive
         a car to get to work. Id. at 29-30. According to [Dr. William] Carter, none of the
         Named Plaintiffs who are on the cusp of aging out, or have by now aged out,
         “have sufficient adaptive living skills that are necessary for even a minimally
         reasonable chance at a decent” life. (D.E. 326 at 129). None of them were
         involved in any extracurricular activities at school or had any vocational training
         or employment experience. Id.

(D.E. 368, Pages 184-85).

         After trial, DFPS Commissioner Whitman, a Defendant in this case, said in a hearing

before the Texas Senate Finance Committee that 27% of youths who age out “end up in the

criminal justice system” and “a majority of them will fall into sex trafficking.” (D.E. 500, Page

15). For example, former foster child Kristopher Sharp (“Sharp”) testified that after aging out,

he lived on the roof of a strip mall in Houston for six months, engaging in sex work to survive.

(D.E. 325, Page 179). Moreover, this cycle repeats itself: 49% of women who age out of the

foster care system are pregnant by age 19 and 70% of those children end up in foster care. (D.E.

307, Pages 13-14). Sharp’s testimony highlighted a continuing concern of overmedication in

residential treatment centers.            E.g., (D.E. 368, Page 56).33            For instance, he testified he

continued taking psychotropic drugs for Bipolar Disorder, Schizophrenia, and Oppositional

Defiant Disorder after aging out, until he visited a psychiatrist, “who told him to stop taking his

medications because he did not have those disorders.” See (D.E. 368, Page 226). The Court

reiterates its concern that children enter residential treatment centers with basic needs and age


33
  “[C]hildren often enter foster care at the Basic service level, are assigned a carousel of overburdened caseworkers,
suffer abuse and neglect that is rarely confirmed or treated, are shuttled between placements— often inappropriate
for their needs—throughout the State, are migrated through schools at a rate that makes academic achievement
impossible, are medicated with psychotropic drugs, and then age out of foster care at the Intense service level,
damaged, institutionalized, and unable to succeed as adults.” (D.E. 368, Page 56).


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out from residential treatment centers, where they have been given multiple psychotropic drugs.

See (D.E. 368, Pages 225-27).

           DFPS reported that 1,180 youth aged out of care in 2015 and 1,250 youth aged out of

care in 2016. (D.E. 546, Page 20). Earlier in the Opinion, the Court summarized the testimony

of the State expert who oversaw extended foster care for children who age out:

           Jenny Hinson (“Hinson”) is the Division Administrator for Permanency at CPS.
           (D.E. 314 at 4). She supervises a team of seven subject matter experts and with
           them is responsible for developing and administering policies and programs for
           children in DFPS conservatorship. (See id. at 221; DX 259 at 1). She has been in
           her current position since 2010, but has been at DFPS since 1998. Hinson has
           worked as a statewide intake specialist, caseworker, supervisor, program director,
           program administrator, and program specialist. (D.E. 327 at 222-23; DX 259 at 1-
           2). While Hinson focuses on CPS policies that relate to permanence, she seems to
           know little about how her policies actually affect permanency. Id. at 6-9. For
           example, she oversees extended foster care for children who age out, but does not
           know how many children benefit from that program, or the effectiveness of that
           program. Id. at 8-9. Similarly, while she said that independent living classes are
           offered to all foster children age 16 and up, Hinson does not know how many
           children attend those classes. She believes that number is fewer than 50 out of the
           1[2]00-140034 children who age out annually. (Id. at 21-22; see also DX 24 at 14
           (showing that 1410 youths aged out in 2011); DX 119 at 221 (showing that 1328
           youths aged out in 2013)).

(D.E. 368, Pages 35-36).

           Texas law and DFPS’s own policies require DFPS to prepare foster youths for

adulthood. See, e.g., Tex. Fam. Code Ann. § 264.121 (West); CPS Handbook Section 10111

(requiring foster care providers to provide experiential life skill training through practical

activities); CPS Handbook Section 10222 (life skills training).         The record summarized

above shows DFPS fails to satisfy those requirements. The Court reiterates that policies not

practiced are of no value. See Ruiz, 679 F.2d at 1160; see supra at II.B.9. The Objection as

to basis is OVERRULED.



34
     (D.E. 546, Page 20); see supra p. 52.


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       F.      Attorneys ad Litem for PMC Children

   1. Effective immediately, DFPS shall request the appointment of an Attorney ad litem
      for all PMC children from each court in which a suit is pending in which a PMC
      child does not have Attorney ad litem representation, citing the Court’s Final Order.

               a.      Objection

       Defendants object that the issue of PMC children’s entitlement to attorneys ad litem was

not tried, that the Special Master’s recommendation on this issue is erroneous as a matter of law,

and that the Special Master has no demonstrated expertise on the issue. (D.E. 556, Page 27).

               b.      Ruling on Objection

       The Court’s January 2017 Order refers to the “loss of liberty” each PMC child

experiences by virtue of their removal from home and their assignment to placements. (D.E.

500, Pages 16-19). In the Court’s original December 2015 Opinion, the Court observed that

“when a child enters PMC, courts often dismiss the child’s Attorney ad litem and CASA, leaving

the child with fewer stable relationships and advocates. (PX 1988 at 15; see also supra pp. 7-

8).” (D.E. 368, Page 170); see also (D.E. 368, Pages 7-8; PX 1988 at 15). Attorneys ad litem set

hearings, file pleadings, and, more generally, notify the court when a child needs assistance.

(D.E. 323, Page 68). Noting in the January 2017 Order that “[m]ost PMC children also do not

have an attorney ad litem,” the Court analyzed the vulnerability of children in the PMC class, the

liberty interests at stake, and concluded:

       PMC children are entitled to counsel at every step of their legal journey through
       the Texas foster care system . . . . The Court can order, at a minimum, that DFPS
       request ad litem appointment from each court in which a suit is pending, citing
       this Order. Additionally, the Court will consider ordering DFPS to reimburse the
       ad litem attorney’s fees to the appointing court. The Special Masters are ordered
       to work with DFPS to evaluate the efficacy of these options and propose a
       procedure for the appointment of an attorney ad litem for each PMC child within
       3 months from the date of this order.




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(D.E. 500, Pages 18-19). When the Special Masters asked DFPS about these options, the agency

replied, “Not applicable. DFPS declines to speculate on a process that is and should be governed

by counties and individual judges.” See (D.E. 546, Page 119).

       The Special Masters asked DFPS to identify how many PMC children did not have an

attorney as of September 2017. (D.E. 546, Page 22). DFPS responded that it “does not track this

information.” See (D.E. 546, Page 124).

       The Court’s finding that PMC children are entitled to an attorney ad litem is consistent

with Supreme Court precedent regarding the rights of foster children. In Parham v. J.R., the

Supreme Court held that foster children in Georgia were not entitled to adversarial process when

the State, acting as their legal guardian, desired to have them committed to a mental hospital.

442 U.S. 584, 617-20 (1979). The Parham Court’s holding acknowledged that the lack of

natural affinity between the State and its foster wards may cause some foster children who were

committed to mental hospitals to become “lost in the shuffle,” and that a different process may

therefore be required for reviewing the continuing need for institutionalization, as opposed to

Georgia’s initial decision that institutionalization was necessary. Id. at 619-20. As this Court

stated in its January 2017 Order, PMC children in RTCs “are effectively institutionalized and

subject to indefinite confinement without the opportunity for review.” (D.E. 500, Page 17). This

is precisely the sort of situation in which foster children may be “lost in the shuffle,” and the

Court finds that an attorney ad litem is necessary to protect PMC children’s liberties.

       Additionally, the Parham Court held that the record before it did not allow a challenge to

the state-law presumption that Georgia acted in the best interest of its foster children. Parham,

442 U.S. at 618. Here, there is copious evidence in the record of DFPS failing to act in the best

interests of PMC children—whether through over-medication (D.E. 368, Pages 72, 107, 112-14,




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129-30, 226); prioritizing TMC children over PMC children on the ground that PMC children are

“stable” (D.E. 323, Pages 37-38, 67-69); or putting DFPS’s litigating position in this suit over

the welfare of named plaintiff H.V. (D.E. 326, Pages 221-24). More fundamentally, the Court

has already found the State of Texas exposes PMC children to an unreasonable risk of harm; this

fact is inconsistent with a presumption that Texas acts in the best interests of PMC children. See

(D.E. 368, Page 160). Many foster children lose their attorney ad litem and CASA volunteer

when they enter PMC, but the record shows that PMC children have no lesser need for an

advocate. (D.E. 368, Page 170).

       For all these reasons, and because the Objection relitigates an issue addressed in the

Court’s December 2015 Order and its January 2017 Order, the Objection is OVERRULED.

   2. Within 30 days of the Court’s Final Order, DFPS shall present a plan to the
      Court to ensure reimbursement to Attorneys ad litem in those courts that do
      not currently provide Attorneys ad litem for PMC children. If DFPS fails to present
      a plan, DFPS shall reimburse those fees necessary to provide Attorneys ad litem in
      those courts that do not currently provide Attorneys ad litem for PMC children.

                a.    Objection

       Defendants object that requiring DFPS to pay ad litem attorneys’ fees violates Texas

Family Code § 107.015 and would pose ethical issues and conflicts of interest. (D.E. 556, Page

27).

                b.    Ruling on Objection

           Defendants argue that the attorney ad litem order violates Texas Family Code

§ 107.015. However, by its own terms, § 107.015 is inapplicable, because this Court is not “the

court” referenced in § 107.015 and because reimbursement to the attorneys ad litem is not being

made “under this chapter [Chapter 107 of the Texas Family Code]”, but pursuant to this Court’s

order and the Fourteenth Amendment. See Tex. Fam. Code Ann. § 107.015(c). DFPS already




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had an opportunity (and obligation) to propose its own draft plan, but responded to the Special

Master’s request for information by saying it “declines to speculate on a process that is and

should be governed by counties and individual judges.” (D.E. 546, Pages 21-22, 119); see supra

at III.F.1. Nor does DFPS track how many PMC children have an attorney ad litem. (D.E. 546,

Pages 22, 124).

       Defendants also object on the ground that this Item creates conflicts of interest.

However, it is common for appointed counsel to be funded by the governmental entity it faces in

litigation. No conflict of interest arises from a state’s constitutional duty to effectuate an

individual’s right to counsel. Cf. Sanford v. United States, 2009 WL 2524891, at *3 (E.D.N.Y.

Aug. 14, 2009) (rejecting as frivolous criminal defendant’s argument that court-appointed

attorney had conflict of interest because appointed counsel was paid by the United States). The

situation here is akin to federally funded and appointed defense attorneys appearing against the

U.S. Attorney’s Office or to a county prosecutor appearing in court opposite a public defender or

other court-appointed counsel paid through county funds. Accordingly, Defendants’ Objection is

OVERRULED.

       G.     PMC Children’s Health

   1. Within 30 days of the Court’s Final Order, DFPS shall present the Court with a plan
      to address and remediate missing and nonexistent medical and mental health care
      records, consistent with the American Academy of Pediatrics “Fostering Health:
      Healthcare for Children and Adolescent in Foster Care.” (D.E. 488).

   2. DFPS shall institute and incorporate caseworker training (minimally into the
      Conservatorship Specialty Track) about child health that describes:
         a. The health vulnerabilities of foster youth (pages 1 and 2 of the American
            Academy of Pediatrics “Fostering Health: Healthcare for Children and
            Adolescent in Foster Care”);
         b. Specifically, how to use child and family visits to obtain and update
            healthcare information;
         c. The utility of children’s electronic case record, for improving the health of
            foster youth.



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     3. Effective immediately, DFPS shall make every effort to obtain and make
        available a child’s medical records within 24 hours of the child entering the custody
        of DFPS. Caseworkers shall document their efforts to obtain and make available
        children’s medical records within 48 hours of children entering DFPS custody;

     4. Effective June 2018, DFPS will ensure that every PMC child has a medical home.
        The medical home is a health care delivery model led by a health care provider to
        provide comprehensive and continuous medical care and care management to
        patients with a goal to obtain positive health outcomes. The medical home shall be
        obliged (by policy and contract):
            a. To maintain and update all medical fields of the child’s central electronic
                record;
            b. To coordinate care for routine and emergency healthcare needs;
            c. To ensure timely evaluations and assessments for all health needs, including
                behavioral health (including psychotropic oversight), dental care, and chronic
                health conditions.

     5. Effective June 2018, DFPS shall ensure children in the PMC class receive a
        specific developmental assessment of at least one of the following screenings within
        90 days of each child’s birthday:
            a. Birth to 10 years: Ages and Stages Questionnaire, Ages and Stages
                Questionnaire: Second Edition, or the PEDS developmental screening and
                assessment;35
            b. 11 years to 21 years: the Pediatric Symptom Checklist (PSC)-35, the Youth
                Pediatric Symptom Checklist (Y-PSC), the Patient Health Questionnaire-9
                (PHQ-9), or the CRAFFT screening test).36
            c. If DFPS does not believe any of these tests to be reliable, it may propose its
                own developmental assessments to the Court within 30 days of the date of this
                Order.

        Screening results from the developmental assessment, including follow-up/red flag
        items, shall be inputted into the child’s electronic case record within 72 hours;

     6. Effective June 2018, DFPS shall ensure the child’s central electronic case record
        has functional internal (red flag) alerts notifying caseworkers of:
            a. Follow up needed;
            b. Assessments/screening required or indicated;
            c. Evaluations required or indicated;
            d. Immunizations required or indicated; and

35
   The assessments listed in Item 5(a) are listed among the screenings which have been “validated” by the American
Academy of Pediatrics. See American Academy of Pediatrics, Star Center, https://www.aap.org/en-us/advocacy-
and-policy/aap-health-initiatives/Screening/Pages/Screening-Tools.aspx (last visited Jan. 12, 2018).
36
   The assessments listed in Item 5(b) are included in the American Academy of Pediatrics’ Bright Futures Tool and
Resource Kit because of “their accessibility and reliability based on current research.” See American Academy of
Pediatrics, Bright Futures Tool and Resource Kit: Developmental, Behavioral, Psychosocial, Screening, and
Assessment Forms, https://brightfutures.aap.org/materials-and-tools/tool-and-resource-kit/Pages/Developmental-
Behavioral-Psychosocial-Screening-and-Assessment-Forms.aspx (last visited Jan. 12, 2018).


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                e. Appointments missed or cancelled.

       7. Effective May 2018, DFPS shall institute a policy that uses the caseworker visits to
          verify and report on health status by answering and documenting in the PMC child’s
          electronic case record these questions:
              a. Are there outstanding red flag37 items for this child?
                       i. Greater than 20 days?
                      ii. Greater than 90 days?
              b. Has this child visited a healthcare practitioner in the last 90 days?
              c. Can this child (over 11) name his/her health care needs?

                    a.       Objection

           Defendants object that there is no basis in the record for finding that existing DFPS

policies or practices regarding PMC children’s health cause class-wide constitutional injury, and

that all of the Items in this Section are therefore unjustified. (D.E. 556, Page 27).

                    b.       Ruling on Objection

           The Court observed in its December 2015 Opinion that “rape, abuse, psychotropic

medication and instability are the norm” for PMC children, and many children’s records,

included as exhibits to the trial, were missing important health information. (D.E. 368, Page

255). The children’s records include serious concerns of sexual and physical abuse but the

records indicate the children were not timely (or ever) examined by doctors to determine if they

had been assaulted. (D.E. 546, Page 24). Injuries went untreated. (D.E. 546, Page 24; D.E. 368,

Pages 109, 133, 135). Necessary medical follow-up did not occur. (D.E. 546, Page 24; D.E.

368, Page 152). Incomplete and missing healthcare information was a common feature of the

records. (D.E. 546, Page 24). In its January 2017 Order, the Court directed “the Special Masters

to work with DFPS to develop a healthcare plan to address missing or nonexistent healthcare

records. The recommended guideline shall be the American Academy of Pediatrics’ ‘Fostering

Health: Healthcare for Children and Adolescents in Foster Care.’” (D.E. 500, Page 19).


37
     The term “red flag” in Section G, Item 7 is defined by Section G, Item 6(a)-(e)


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        The Court supra in III.B has discussed the lack of medical, mental, and dental records

available in DFPS records. Even when there are notations of appointments, there are no records

of what occurred such as testing, examinations, medications or reasons therefore. Further, this

means that the caseworkers, who serve as medical consenters, do not have information available

to evaluate consent. See (D.E. 546, Page 109). The Objection is OVERRULED.

        H.       Caseworker Workload

     1. Effective June 2018, DFPS shall ensure that the full-time staff, including
        supervisors,38 who provide case management services to children in the PMC class,
        whether employed by a public or private entity, have a caseload within or below
        the range of 14 to 17 children. Caseloads for staff must be pro-rated for those who
        are less than full-time. Caseloads for staff who spend part-time in caseload
        carrying work and part-time in other functions must be pro-rated accordingly. The
        caseload range for staff with mixed caseloads, for example caseworkers serving both
        PMC and TMC children, will also be 14 to 17 children’s cases, and each TMC
        child’s case will be afforded the same weight in the caseload calculation as a PMC
        child.

     2. Effective immediately, DFPS shall track caseloads on a child-only basis, as ordered by
        the Court in December 2015. Effective immediately, DFPS shall report to the
        monitor(s), on a quarterly basis, caseloads for all staff, including supervisors, who
        provide primary case management services to children in the PMC class, whether
        employed by a public or private entity, and whether full-time or part-time. Data
        reports shall show all staff who provide case management services to children in the
        PMC class and their caseloads. In addition, DFPS’s quarterly reporting shall include
        the number and percent of staff with caseloads within, below and over the range of
        14 to 17 children, by office, by county, by agency (if private) and statewide. Reports
        will include the identification number and location of individual staff and the number
        of PMC children and, if any, TMC children to whom they provide case management.
        Caseloads for staff, as defined above, who spend part-time in caseload carrying
        functions and part-time in other functions must be pro-rated accordingly. The
        caseload range for staff with mixed caseloads, for example caseworkers serving both
        PMC and TMC children, shall be 14 to 17 children’s cases, and each TMC child is to
        be afforded the same weight as a PMC child. Reporting will be by office, by county,
        by agency (if private) and statewide.

     3. Effective immediately, DFPS shall commence recruiting, hiring and training staff,
        and ensuring any private entities that are charged by DFPS to provide case
        management services to children in the PMC class do the same, to ensure that staff

38
  As stated below in the Section on Supervisors, supervisors who oversee caseworkers serving PMC children shall
not directly carry a caseload unless there is a documented emergency requiring the supervisor to do so.


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       who provide case management services to children in the PMC class, whether
       employed by a public or private entity, have a caseload within or below the range of
       14 to 17 children.

               a.      Objections

       Defendants object that there is no basis in the record for finding that existing DFPS

policies or practices regarding caseworker workload cause class-wide constitutional injury, and

that both of the Items in this Section are therefore unjustified. (D.E. 556, Page 28).

       Defendants object that compliance with this section is impossible because additional

funding and hiring authority must be requested from the Legislature. (D.E. 556, Page 29).

Defendants argue it is impossible for DFPS to begin recruiting and hiring immediately because it

hires to its cap and would need additional appropriations to hire above the cap. (D.E. 556, Page

29).

               b.      Ruling on Objections

       The Court’s December 2015 Opinion discussed at length the harm PMC children faced

because of overburdened and frequently replaced caseworkers. E.g., (D.E. 368, Pages 176-79).

A multitude of evidence, including DFPS personnel’s own admissions, showed children are

harmed when caseworkers are overburdened. (PX 1966, Page 11; D.E. 311, Page 21; D.E. 299,

Page 55-56; D.E. 305, Pages 12-13). Manageable caseloads allow caseworkers to visit with

children and families more often, ensure children are safe, ensure families are getting needed

services, and reduce the paperwork load. (D.E. 368, Page 163; PX1877, Page 10). When

caseloads are unmanageable, PMC children are affected the most and are the first ones to be

“pushed to the side.” (D.E. 368, Page 165-66; D.E. 323, Page 37). The record contains

numerous instances of PMC children not having contact with their caseworker for months. (D.E.

324, 368, Page 166); see supra at III.B.




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        As but one example of the effect overworked caseworkers have, attorney ad litem Ricker

described how she would call the caseworker, the supervisor, the supervisor’s supervisor, and

then simply instruct someone in her office to call every hour on the hour until they reached the

caseworker. (D.E. 326, Pages 199-200). Estella Vasquez (“Vasquez”), another attorney ad

litem, offered similar testimony about how inaccessible caseworkers are. (D.E. 327, Pages 189-

93). Vasquez added that caseworkers are supposed to give attorneys ad litem case reports ten

days in advance of court hearings, but in “the vast majority” of cases, they do not; “[v]ery often”

they get the reports on the day of the hearing, making it impossible to review the reports and

sometime requiring courts to reset hearings.      (D.E. 327, Pages 191-92).       This delays the

provision of important services like counseling to foster children. (D.E. 327, Pages 192-93).

        Despite these facts, DFPS “puts no limits on the caseload size that a conservatorship

worker can carry.” (D.E. 305, Pages 25, 27-28). The Court found regardless of the exact point

at which caseloads become so excessive they cause an unreasonable risk of harm, DFPS has

crossed it. (D.E. 368, Page 164). The record shows that as of July 2014, 31% of CVS

caseworkers with at least one PMC child had caseloads of 1-15 children; 26% had caseloads of

16-20 children; 21% had caseloads of 21-25 children; 13% had caseloads of 26-30 children; 6%

had caseloads of 31-35 children; and 3% had caseloads of 36 or more children. (PX 2129). As a

point of reference, 43% of DFPS’s caseworkers had caseloads above the most lenient

professional standard before the Court. (D.E. 368, Page 164). The Court also found the situation

is likely worse because DFPS’s calculations included workers who were on leave, secondary

workers, part-time workers, and fictional workers created out of overtime hours. (D.E. 368, Page

164).




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          Even DFPS’s own caseworkers agree that they are overworked. (D.E. 368, Page 165).

Over 55% of DFPS caseworkers agree “they do not have adequate time during the workday to

successfully do their job.” (D.E. 368, Page 165; DX 119, Page 21). Additionally, over half

believe DFPS’s expectations for their job performance are unreasonable. (D.E. 368, Page 165;

DX 119, Page 21). Testimony from caseworkers at trial indicated caseloads of between forty

and sixty “stages” were typical. (D.E. 323, Page 34). Weekly overtime was the rule for

caseworkers, not the exception. (D.E. 368, Page 165; D.E. 323, Pages 34-35). These caseloads

caused caseworkers to experience “[e]xtreme stress, burnout, wearing down [and] anxiety.”

(D.E. 368, Page 165; D.E. 323, Page 39). DFPS caseworkers spend most of their time doing

triage and “putting out fires” due to the sizeable caseloads. (D.E. 368, Page 165; D.E. 323, Page

35-36).

          The Stephen Group found that CPS had a “culture of fear where caseworkers are focused

more on meeting numbers and checking off boxes than on the quality of service for the children

in families under their care.” (D.E. 368, Page 170 (quoting PX 1993, Page 19)). Texas’s Sunset

Commission and State Auditor’s Office each described CPS’s work environment as fear-driven

and punitive. (D.E. 368, Page 170). As the Court noted in its December 2015 Order, “[i]n such

an environment, it is only natural that overextended caseworkers prioritize TMC children who

have more deadlines and concretely tracked benchmarks.” (D.E. 368, Page 170).

          There was also evidence presented in the case of supervisors carrying a caseload, which

detracts from their ability to oversee the caseworkers they supervise. (D.E. 546, Page 25). Judy

Bowman Pitts, Regional Director of Regions 4 and 5, testified that supervisors occasionally have

their own caseload and a supervisor will help when a caseworker leaves. (D.E. 327, Page 14 Line

23-Page 16 Line 17). A CPS Field Operations Division Briefing also noted that newly promoted




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supervisors are managing their own remaining cases as well as their new supervisor

responsibilities. (DX 25, Page 2). The same briefing stated in Lubbock County, when a

caseworker leaves and a case only requires documentation to close, the supervisor will be

responsible. (DX 25, Page 3). Further, DFPS supplied data to the Special Masters indicating that

on July 31, 2016, 89 supervisors served as the primary caseworker for PMC and TMC children.

Of those 89 supervisors, 83 carried fewer than 14 cases with the highest caseload being between

24 and 27 cases. (D.E. 496, Page 2).

       As the Special Masters reported in November 2016, DFPS produced to the Special

Masters an Executive Summary of a Work Measurement Study, as ordered by the Court in

December 2015, conducted from August 1, 2015, through March 31, 2016. (D.E. 471, Page 5;

D.E. 368, Page 250). This Court-ordered study concluded that CVS caseworkers (including

primary caseworkers, I See You workers, and various specialists) expended an average of 9.7

hours per month on case profiles most often associated with PMC children, and that these

workers had an average of 137.9 hours per month to spend on their casework, including

overtime. (D.E. 485; D.E. 471, Page 5). The study’s author reported that the study’s findings

mean that each caseworker (as defined above) has time to serve an average of 14 PMC children

each, to the exclusion of TMC children. (D.E. 493, Page 1; D.E. 471, Page 5).

       The study provides that since cases involving TMC children require more time, for each

addition to a caseload of a TMC child, PMC caseload is reduced by more than one child. (D.E.

500, Page 21). Therefore, if you add one TMC child to a caseworker’s load of fourteen PMC

children, the caseload must be reduced by more than one child, according to DFPS’s own study.

As the Court observed in its January 2017 Order:

       Removing “I See You Workers” from the calculation decreases the number of
       PMC cases a CVS caseworker can physically handle. (D.E. 471 at 11.1)



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         Nevertheless, the Court accepts the Work Study as providing the definitive
         number of PMC children that a CVS caseworker can physically handle.

(D.E. 500, Page 21). It is axiomatic that adding more than 14 children to a caseworker can cause

an unreasonable risk of harm to those children. Nevertheless, the Court allows a total caseload

maximum of 14-17 children.                The Court relies on DFPS’s own study to determine, with

overtime, how many children a caseworker can safely handle.

         After reviewing the study and discussing its conclusions with the DFPS author, the

Special Masters asked DFPS to determine how many additional CVS workers would be required

to achieve CVS workloads of no more than 14 children per worker. (D.E. 546, Page 25). DFPS

declined to do so, replying it was “not feasible” to provide the information.39 (D.E. 546, Page

129).

         Further, the Court takes judicial notice that the legislature approved DFPS’s request for

additional caseworkers and salary increases that the administration hoped would bring the

caseload down to 26 children per caseworker.40 Hearing Before the Tex. Senate Committee on

Finance     Part     I,   85th     Leg.     Session,     Jan.    30,    2017,     at    1:38:59,     available     at

http://tlcsenate.granicus.com/MediaPlayer.php?view_id=42&clip_id=11611; (D.E. 500, Page 7).

However, the Court also takes judicial notice that Commissioner Whitman testified before the

Senate Finance Committee on January 30, 2017 that a $12,000 pay raise had not affected

attrition rates. Id. at 1:42:05. For all of these reasons, and for the reasons stated in the Court’s

January 2017 Order and December 2015 Order, the Objection as to basis is OVERRULED.




39
   DFPS responded, “DFPS has reviewed, and it is not feasible to provide this information. In addition, DFPS
reiterates that there is no evidentiary basis for the caseload limit utilized in this question.” (D.E. 546, Page 129).
40
   The Court took judicial notice of similar statements made to the Texas legislature in its January 2017 Order and
the Court’s findings concerning the Court’s ability to take judicial notice is hereby incorporated by reference. See
(D.E. 500, Page 4 n. 3).


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        Defendants also object that complying with this section during the prescribed timeframe

is “impossible.” As discussed above, in February 2017, the Special Master asked DFPS how

many additional CVS caseworkers would have to be hired to achieve a maximum caseload of 14.

(D.E. 546, Pages 25, 129). When DFPS finally responded to this inquiry the following May, it

was only to state that it was “not feasible” to provide this information. Id. DFPS never updated

its response to this query before the Special Master filed the Plan in December 2017. Yet

somehow DFPS was able to determine within 15 days of the Plan’s filing that achieving a

caseload range of 14-17 children by June 2018 was impossible. (D.E. 556, Page 29).

        The Court’s December 2015 Order ordered the Defendants to “establish and implement

policies and procedures to ensure that Texas’s PMC foster children are free from an

unreasonable risk of harm.” (D.E. 368, Page 245).41 Despite the fact that the December 2015

Order identified DFPS’s excessively high caseloads as a major source of unreasonable risk of

harm, Defendants have apparently still not taken appropriate steps to prepare to reduce

caseloads.42 See (D.E. 368, Pages 250-51). Additionally, this Court’s Appointment Order

ordered Defendants “to cooperate completely and in good faith with the Special Master[].” (D.E.

379, Page 8). Defendants, having ignored these orders for twenty-five months, are not in a

particularly strong position to object to the Master’s proposal. The Objection as to impossibility

is OVERRULED.

        I.       Supervisors

     1. DFPS shall ensure that supervisors who oversee caseworkers managing the cases of
        children in the PMC class have no more than seven workers assigned to them.
        Supervisory workloads must be pro-rated for supervisors who are less than full-time.


41
  See supra p. 4 n. 7.
42
  As the Court observed in its January 2017 Order, DFPS took the inadequate step of requesting additional hiring
authority that would allow it to reduce caseloads to 25.47. (D.E. 500, Page 7). The inadequacy of this step is
reinforced by DFPS’s stonewalling of the Special Master on the caseload issue.


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       Workloads for supervisors who spend part-time in supervisory work and part-time in
       other functions, which includes carrying a case, must be pro-rated accordingly.

   2. Supervisors who oversee caseworkers serving PMC children shall not directly carry a
      caseload unless there is a documented emergency requiring the supervisor to do so.

               a.      Objection

       Defendants object that there is no basis in the record for finding that existing DFPS

policies or practices regarding caseworker supervisors cause class-wide constitutional harm, and

that all of the Items in this Section are therefore unjustified. (D.E. 556, Page 29).

               b.      Ruling on Objection

       The Special Master relied on extensive evidence from the trial record in crafting this

recommendation. (D.E. 546, Pages 27-29). Generally, it appears DFPS supervisors play an

important role managing caseworkers, assigning cases, and approving actions in cases. (D.E.

327, Page 14 Lines 8-14).         Supervisors participate in permanency roundtables and are

responsible for follow-up. (D.E. 328, Page 41 Lines 6-25 and D.E. 328, Page 52 Lines 15-25).

Supervisors, along with the caseworker, make the decision of selecting or rejecting placements

based on how they determine the placement can meet the needs of the child. (D.E. 328, Page

140 Lines 5-18). According to the CPS Handbook, supervisors have various oversight or

monitoring functions, including but not limited to approving billing for a service level lower than

the authorized service level, determining a permanency plan in the best interest of the child,

approving the initial plan of service and subsequent review, approving less than monthly face to

face sibling contact, approving travel, and reviewing home studies for potential adoptive

families. (PX 50, Pages 86, 99, 130; PX 52, Pages 49, 59, 88, 95, 162). CPS also relies on

supervisors to mentor new caseworkers and ensure their continued training. (PX 1861, Page 37).

The CPS Handbook also outlines when caseworkers must turn to their supervisors to make




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decisions in various situations such as when problems need to be resolved with a placement,

when the caseworker does not agree with the placement choice made by the Centralized

Placement Team, when a child in an open conservatorship case is pregnant, and when

information is received regarding the possible location of a missing child. (DX 108, Pages 1486,

1492, 1854, 1946).

           DFPS also relies on supervisors to report up the chain of command when their

caseworkers have unmanageable caseloads. See (D.E. 368, Page 197). However, it is clear from

the record that supervisors are unable to make this reactive, “squeaky wheel” approach to

caseload management work, perhaps due to DFPS’s “punitive and unsupportive” work

environment. (D.E. 368, Page 197 (quoting DX 119, Page 30)); see supra at III.H.3.b.

           The trial included testimony regarding the ratio of supervisors to caseworkers.43 Colleen

McCall (“McCall”), Director of Field Operations, testified that typically a supervisor has six or

seven caseworkers. (D.E. 322, Page 59 Lines 24-25 and Page 60 Lines 16-18). Judy Bowman

Pitts Regional Director of Regions 4 and 5, testified that a unit is one to seven caseworkers but

generally in conservatorship there are about seven caseworkers in a unit. (D.E. 327, Page 14

Lines 16-17). Camille Gilliam, Regional Director of Regions One and Nine, testified she

oversees 18 supervisors in Region 1 who were responsible for 114 conservatorship workers,

which is a ratio of one supervisor to six and a third (6.333) workers. (D.E. 327, Page 63 Lines 3-

10). Mrs. Gilliam also testified in Region Nine there were 12 supervisors who were responsible

for 75 conservatorship workers, which is a ratio of one supervisor to six and a quarter (6.25)

workers. (D.E. 327, Page 63 Lines 3-10).

           Some exhibits also contained evidence relating to the ratio of supervisors to caseworkers.

DFPS’s presentations and requests to the Texas Legislature discussed the supervisor to
43
     Notably, DFPS did not include supervisors in its caseworker workload study. (D.E. 485, Page 2).


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caseworker ratio. DFPS’s legislative appropriation requests contained requests to reduce the

supervisor span of control. The legislative appropriations request for fiscal years 2014 and 2015

indicated the supervisor span of control in conservatorship was seven workers and the requested

funding would reduce it to six workers. (PX 885, Page 20; DX 32, Page 20 and DX 33, Page

192). This same ratio is repeated in the exceptional item requests for the same fiscal years. (PX

889, Page 6 and PX 894, Pages 11-12). DFPS’s various presentations also contained indications

of the ratio of conservatorship supervisors to caseworkers. DFPS’s July 1, 2014 presentation to

the House Select Committee on Child Protection indicated there were seven caseworkers per

supervisor. (DX 200, Page 31). DFPS’s January 30, 2013 presentation to the Senate Finance

Committee also indicated the current ratio of supervisors to workers for conservatorship was one

to seven. (DX 215, Page 24).

       Various reports contained documentation of the average supervisor ratio. The Title IV-B

2015- 2019 Child and Family Services Plan reported the average supervisor to worker ratio at

any point in time is one to six. (DX 77, Page 207). A memorandum from Ms. McCall to

Commissioner Specia described units in Region Nine that had between eight and ten

caseworkers. (PX 1837, Pages 3-4). Ms. McCall’s memorandum also contained a request to

bring the supervisor span of control down to six or seven caseworkers per supervisor. (PX 1837,

Pages 3-4). The Stephen Group’s operational review of CPS found that as of January 2014, there

were 2,015 conservatorship workers and 279 conservatorship supervisors, which is a ratio of just

over seven workers per supervisor. (PX 1993, Page 47).

       The information DFPS provided in response to a request by Representative Dukes and

the House Select Committee on Child Protection contained direct counts of caseworkers assigned

to conservatorship supervisors in each region. According to this information, conservatorship




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supervisors in Region One had between five and nine caseworkers assigned to them. (DX 110,

Page 87). Region Two had a range of seven to nine caseworkers per supervisor. (DX 110, Page

89). Region Three had a range of five to ten caseworkers per supervisor. (DX 110, Pages 95-

97). Regions Four and Five had a range of five to nine caseworkers per supervisor. (DX 110,

Page 101). Region Six had a range of six to eight caseworkers per supervisor with the majority

having seven caseworkers assigned to them. (DX 110, Page 106). In the outlying areas of

Region 6, the supervisors also had a range of six to eight caseworkers assigned to them with the

majority having seven. (DX 110, Page 111). In Region Seven, conservatorship supervisors had

eight caseworkers assigned to them except one supervisor who only had five caseworkers. (DX

110, Page 113).     Region Eight supervisors had a range of six to eight conservatorship

caseworkers assigned to them. (DX 110, Pages 122-123). In Region Nine, conservatorship

supervisors were in charge of a range of six to eight caseworkers. (DX 110, Page 125). Region

Ten conservatorship supervisors had a range of five to seven caseworkers. (DX 110, Page 127).

In Region 11, conservatorship supervisors were in charge of a range of six to eight caseworkers.

(DX 110, Page 131).

       In summary, the typical supervisor to caseworker ratio in conservatorship appears to be

one to seven. Based on the statistics provided to Representative Dukes, supervisors oversaw

between five and ten caseworkers. For comparison purposes, the Child Welfare League of

America’s standards state one full-time supervisor should supervise no more than five social

workers. (PX 18, Page 28; PX 2114, Page 152 and DX 235, Page 131). All of the testimony at

trial as to DFPS’s supervisor-to-caseworker ratio included supervisors sometimes having a very

significant caseload. (D.E. 546, Page 25; D.E. 496; D.E. 327, Page 14 Line 23-Page 16 Line 17);

see supra at III.H.3.b. Despite this, DFPS conducted its caseworker workload study under the




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assumption that supervisors would not carry caseloads, because the caseworker workload study

did not include supervisors. (D.E. 485, Page 2). Pursuant to DFPS’s own caseworker study,

then, supervisors should not be carrying a caseload in addition to their other significant duties.

See (D.E. 485, Page 2); (D.E. 546, Page 25). Accordingly, the record justifies the provisions in

this section. The Objection is OVERRULED.

       J.       Worker Retention

   1. Effective May 2018, DFPS shall ensure statewide implementation of the CPS
      Professional Development (CPD) training model, which DFPS began to implement in
      November 2015.

   2. Effective May 2018, DFPS shall ensure statewide implementation of graduated
      caseloads for newly hired CVS caseworkers, and all other newly hired staff with the
      responsibility for primary case management services to children in the PMC class,
      whether employed by a public or private entity.

   3. Effective May 2018, DFPS shall ensure that before any new CVS (or private agency)
      caseworker assumes primary case management responsibility for a full caseload
      range of 14 to 17 children, they successfully complete a comprehensive training
      program for new workers and pass a competency examination.

                a.     Objection

       Defendants object that there is no basis in the record for finding that existing DFPS

policies or practices regarding worker retention cause class-wide constitutional injury, and that

all of the Items in this Section are therefore unjustified. (D.E. 556, Page 30).

                b.     Ruling on Objection

       The Court noted in its December 2015 Order that DFPS suffered from a dangerously high

turnover rate for caseworkers. (D.E. 368, Page 176-86). The Court determined in its December

2015 Opinion:

       Besides harming foster children in and of itself, DFPS admits, “High caseloads
       lead to high worker turnover, further exacerbating high caseloads.” (PX 877 at 8;
       see also D.E. 300 at 34, 42; D.E. 305 at 36-37, 56; PX 2037 at 12). Dr. Miller
       calls this the “cycle of crisis.” (D.E. 303 at 22-23). Specia admits that the



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       “appropriate workload spread out among the workers . . . will help me keep
       workers.” (D.E. 299 at 82). It is no surprise then that “DFPS has an extraordinary
       amount of turnover.” (D.E. 305 at 55).

       The Stephen Group reported that yearly CVS caseworker turnover is 26.7%, and
       “a major organizational burden.” (PX 1993 at 16-17, 76). To compare, turnover
       for workers comparable to Texas’s CVS caseworkers was 14% to 15% in
       Kentucky and 10% to 12% in Tennessee. (D.E. 303 at 28-29). The Stephen
       Group also noted that turnover is especially high for new CPS workers, with
       approximately 28% leaving within the first year, and approximately 43% within
       the first two years. (PX 1993 at 17-18). Likewise, Black testified that turnover is
       approximately 38% for first-year caseworkers. (D.E. 300 at 38-39). The Sunset
       Commission reported, “One out of every six new caseworkers leaves CPS within
       six months.” (DX 119 at 20).

       Unmanageable caseloads are the main reason that CVS caseworkers leave. In a
       survey, 70% of the caseworkers that left listed “Workload” as the first or second
       reason. (PX 1993 at 306). In a 2009 article, Burstain wrote, “With respect to
       CVS, historically, a fairly direct relationship exists between caseloads and
       voluntary turnover.” (PX 1871 at 11). In support of that statement, Burstain cited
       data showing that when “caseloads declined 16 percent from 2006 to 2008 . . .
       CVS voluntary turnover declined 10 percent.” Id. Another report found that
       heavy caseloads “contribute[] to high turnover rates.” (PX 1964 at 9). This
       finding has “remained consistent from year to year.” (PX 844 at 5).

       This high turnover rate means that one out of every 11 CVS caseworker positions
       is vacant. (DX 119 at 19). Even when those vacancies are filled, it takes “two
       years” for a caseworker “to fully be up to speed.” (PX 1995 at 159). During their
       first three months, caseworkers are in training and do not have any cases. (DX
       119 at 19). Consequently, while CPS has 1980 primary caseworkers, it needs to
       hire more than 500 primary caseworkers per year to retain an experienced
       workforce of only about 1000 who actually close most of the cases. (See D.E.
       305 at 41; PX 1993 at 16-17). This puts a tremendous strain on the 1000 veteran
       CVS caseworkers, who are the front line workers for over 29,000 foster children
       captured in DFPS’s figures.

       Caseworker turnover has many negative impacts beyond higher caseloads. Black
       admitted that turnover causes delayed investigations, a lack of continuity in
       providing services to families and children, a lack of consistent timely visits by
       caseworkers to children in State custody, and significant costs to the State in
       terms of recruiting, training, and lost productivity. (D.E. 300 at 34, 42; see also
       DX 119 at 17; PX 1995 at 159). Caseworker turnover also “delays or disrupts
       services and the case plan” of foster children, (PX 1871 at 2), and hinders
       permanency planning. (D.E. 312 at 20). Moreover, as the Stephen Group
       explained, “workplace turnover is endemic and institutional knowledge is stripped
       from across the agency.” (PX 1993 at 17). The high level of turnover at CPS



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       “represents an extraordinary organizational challenge to replace these workers
       and maintain a consistent level of performance.” (PX 1993 at 16). As one audit
       of DFPS explained, “Numerous transitions in caseworker assignments disrupt
       momentum toward permanency by forcing children/youth and their families to
       ‘start over’ repeatedly with new caseworkers.” (PX 1880 at 5).

(D.E. 368, Pages 176-78).      DFPS itself stated in its Fiscal Year 2014-15 requests to the

Legislature that “[c]aseworker turnover in all programs threatens the well-being and safety of

clients.” (D.E. 368, Pages 190-91 (quoting PX 894, Pages 6-7)).

       The December 2015 Order described how the revolving door of overburdened

caseworkers causes despair, isolation, and helplessness among the foster children themselves.

(D.E. 368, Page 178). Specifically, when a child’s caseworker “changes constantly or fails to

make regular contact with the child, the child’s feelings of rejection are compounded and lead to

feelings of distrust between the child and the “system,’” making “it all the more difficult to elicit

critical information needed to ensure appropriate care.” (PX 1988, Page 100). As a result of this

high level of turnover, a child exiting foster care in 2008 had an average of 3.87 caseworkers and

a child who spent at least three years in the State’s PMC had an average of 6.39 caseworkers.

(PX 1988, Pages 99-100).

       Additionally, the Court found the turnover rate was understated because DFPS only

counts how many employees left the agency. (D.E. 368, Pages 191-92; PX 1871, Page 2).

DFPS does not take into account the number of employees who leave their positions for different

positions within the agency. (D.E. 368, Page 191; PX 1871, Page 2). Despite having over two

years to lower dangerously high turnover rates, DFPS’s request for salary increases have not

lowered attrition rates. See Hearing Before the Tex. Senate Committee on Finance Part I, 85th

Leg.       Session,    Jan.     30,     2017,     at     1:38:59,      1:42:05,     available      at

http://tlcsenate.granicus.com/MediaPlayer.php?view_id=42&clip_id=11611; (D.E. 500, Page 7).




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After the January 2017 Order, DFPS received funding to hire additional caseworkers in

anticipation of bringing the average caseload down to approximately twenty-six.44 See (D.E.

500, Pages 6-7); Hearing Before the Tex. Senate Committee on Finance Part I, 85th Leg.

Session,            Jan.          30,           2017,            at          1:54:32,            available              at

http://tlcsenate.granicus.com/MediaPlayer.php?view_id=42&clip_id=11611.                            However, DFPS

provided and the Special Masters reviewed the “CFRP Evaluation, Final Report” from December

2016, an evaluation of DFPS training and turnover from the University of Texas. (D.E. 546,

Page 31). The report found that DFPS’s CPS Professional Development (CPD) training model

was having an early, positive impact on new CVS worker attrition. (D.E. 546, Page 31). The

Objection is OVERRULED.

         K.       Secondary Workers

     1. Within 30 days of the Court’s Final Order date, DFPS shall eliminate the use of I See
        You secondary workers and designate all secondary workers as primary caseworkers.

                  a.       Objections

         Defendants object to Item 1 to the extent it is based on Plan Appendix B, Key Findings:

Texas Child Protective Services, I See You Workload Study, because that report is inadmissible,

irrelevant, and outside the scope of the Appointment Order. (D.E. 556, Page 30-31).

         Defendants object that there is no basis in the record for finding that existing DFPS

policies or practices regarding I See You workers cause class-wide constitutional harm, and that

this Item is therefore unjustified. (D.E. 556, Page 30).




44
  Defendants in their Objections indicated turnover rates declined but the data was not detailed or verified
sufficiently to use as authority here. See (D.E. 557, Page 13). Even if the figures are reliable, post-trial remedial
measures do not deprive the Court of the power to order relief. Cf. Friends of the Earth, 528 U.S. at 189.


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               b.     Ruling on Objections

        The January 2017 Order explicitly authorized the Special Master to retain experts to

conduct an I See You worker workload study in order to develop their implementation plan.

(D.E. 500, Page 22); see Alberti v. Klevenhagen, 660 F. Supp. 605, 610 (S.D. Tex. 1987). The

study was not admitted into evidence or relied on by the Court to establish institutional remedies;

it was simply a tool used by the Special Master to craft their implementation plan. Even if the

challenge to the study’s reliability were appropriate, Defendants failed to provide any facts that

would undermine the study’s reliability. Notably, the authors of the I See You worker study

collected data on a total of 98 I See You workers for the time study and interviewed 22 of them

for the knowledge study (D.E. 546, Page 104, 106-07). Finally, information provided by DFPS

itself establishes that I See You workers have an average workload of 44 children, and the Court

finds this information is sufficient to justify the remedy independent of the study commissioned

by the Special Master. See (D.E. 471, Page 6). Accordingly, the Objection is OVERRULED.

       The Court found in its December 2015 Order that I See You Workers generally had only

superficial contact with foster children, rarely conducted their visits in private, and did not

develop meaningful relationships with foster children. (D.E. 368, Pages 172-73). The Court’s

December 2015 Opinion found:

       McCall acknowledged that I See You workers’ main responsibility, as indicated
       in the position title, is “seeing the child” in her placement every month to confirm
       that she “is still there.” (D.E. 305 at 61-63). Although I See You workers are
       supposed to have “meaningful discussions” with the children they visit, they often
       just show up at the child’s placement, ask “five questions and leave.” (D.E. 305
       at 65; D.E. 324 at 186). For example, A.M.’s I See You worker, who visited her
       regularly for more than two years, asked the same 10-12 questions at every visit,
       and A.M. answered the same way. (See DX 120 at DFPS #828-997 (filed under
       seal)). According to the I See You worker’s notes, A.M. was almost always
       “fine” and “stable in her current placement” and the worker often noted that
       “things are going well for [A.M.] at this time.” Id. In reality, during much of this




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       time, A.M’s level of care was Intense and she was repeatedly restrained by RTC
       staff.

       Secondary workers are also “not required to follow up on any needs identified
       during the visit beyond communicating those needs to the primary caseworker.”
       (PX 2037 at 57). Nor are they responsible for children’s case planning or
       permanency planning. (D.E. 322 at 127). A foster child’s relationship with their
       secondary worker “is never quality.” (D.E. 326 at 88). Their existence—intended
       as a stopgap—is itself evidence of an understaffed CVS caseworker workforce, as
       well as DFPS’s inadequate placement array. See infra p. 222-23.

       Moreover, replacing contact from primary caseworkers with contact from
       secondary workers inhibits primary caseworkers’ ability to form relationships
       with their foster children. As Burstain explained, a CVS caseworker is often a
       foster child’s “only continuous and stable relationship.” (PX 1871 at 1). Given
       that PMC children have been removed from their home and likely shuttled
       between placements, CVS caseworkers are one of the few people that foster
       children look to for support and guidance. (D.E. 326 at 85). Trust is “highly
       important” between a foster child and their primary caseworker because children
       need to feel comfortable telling them their problems. Id. As McCall testified,
       “especially with emotional harm[,] you need to know . . . the child before you can
       tell something is wrong.” (D.E. 305 at 62). Using secondary workers to shoulder
       excessive workloads thus hinders primary caseworkers’ ability to protect their
       children. Further, foster children often do not share their problems with
       secondary workers who they view as “not the real thing,” akin to substitute
       teachers. (D.E. 326 at 88). Dr. Miller explained that workers who have no
       permanent relationship with a child, such as I See You workers, cannot “win a
       child’s trust in a sufficient way to have the child actually reveal what is happening
       in the child’s life, particularly if the child is being subjected to maltreatment.”
       (PX 2037 at 58). Carter testified that foster children “very rarely” see I See You
       workers “as somebody that is there to support them” because children “intuitively
       know that this person is just fulfilling a service or a requirement by looking in on
       them.” Id.

(D.E. 368, Pages 171-73). And the Court further observed:

       Cross-state moves also impede primary caseworkers’ ability to visit their foster
       children. As discussed supra, primary caseworkers are foster children’s lifelines.
       See Section IV.A. Yet, due to a lack of funding and a lack of time, primary
       caseworkers ‘can’t go and meet with [children] face to face’ when they are placed
       out of county or out of region. (D.E. 324 at 22). Thus, foster children are forced
       to rely on secondary I See You workers. McCall acknowledged at trial that I See
       You workers were created by DFPS ten years ago at least in part because children
       were too often being sent far from their home communities and primary
       caseworkers. (See D.E. 305 at 62). Although secondary workers do not protect
       foster children from an unreasonable risk of harm, they undoubtedly help Texas



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       represent to the federal government that caseworkers visit children in foster care
       at least once per month.

(D.E. 368, Page 222).

       The Court also found that I See You workers are insufficient substitutes for primary

caseworkers. (D.E. 368, Page 172). Attorney ad litem Ricker testified that “[she] end[s] up

being the I See You Worker” because every time she would check in on a PMC child

unannounced, there was something seriously wrong. (D.E. 326, Page 205). Dr. Viola Miller,

who previously headed child welfare agencies in Kentucky and Tennessee, testified at trial that

she was unaware of any other state in the country employing an equivalent of Texas’s I See You

worker. (D.E. 303, Page 15). Texas would lose millions of dollars in federal aid under Title IV-

B of the Social Security Act if fewer than 95% of its foster children were visited by a caseworker

each month. See 42 U.S.C.A. § 624(f)(1); (D.E. 368, Page 223). However, gamesmanship of

the requirements for receiving federal funding is not a sufficient reason to maintain a system of

secondary workers which this Court has found to contribute to the unconstitutional conditions in

Texas’s foster care system.

       The Court ordered the Special Masters in its January 2017 Order “to retain an expert as

part of their team to create a workload study of “I See You Workers” to aid the Court in

determining whether the “I See You Worker” program should be continued and, if so, in what

capacity.”   (D.E. 500, Page 22).     The Special Masters retained the Child and Research

Partnership at the University of Texas-Austin, the LBJ School of Public Affairs, in part because

of their existing consultancy, familiarity and collaboration with DFPS in assessing the agency’s

training programs. (D.E. 546, Pages 33-34).

       In its CPS Handbook, DFPS identifies the responsibilities of I See You Workers

primarily as visitation with the child; assessment of the child’s needs and well-being; discussion



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of the child’s permanency plan; communication of the child’s service needs with the primary

caseworker; collaboration with the primary caseworker on the child’s permanency plan; and,

where necessary, serving as the child’s medical consenter. (D.E. 546, Pages 34, 109). Although

DFPS has charged I See You Workers with assessing PMC children’s needs (CPS Handbook,

Section 6414) and indicated to the Special Masters that “many of a child’s dental records,”

“mental health records,” and “medical records,” “are already included, and available to

caseworkers, in the Health Passport,” DFPS reported to the Special Masters, “I See You workers

are not specifically required to access/review a child’s Health Passport, and such a review is not

necessary for every child,” even for the PMC children they are assigned to serve. (D.E. 546,

Page 132). Most I See You Workers told the University of Texas workload study team they did

not think it was essential to read a child’s psychological assessments, or other assessments, to

come up to speed on a child’s case. (D.E. 546, Pages 106-08). The workload study, attached as

Appendix B to the Implementation Plan (D.E. 546), contains a number of findings:

       • The typical I See You caseworker had a caseload of nearly 44 children each day
       of the month. (D.E. 546, Page 110).

       • In June 2017, 98 I See You caseworkers were required to complete, at the
       median, 21.5 visits with PMC children. (D.E. 546, Page 110). The median
       number of visits completed was actually 16. (D.E. 546, Page 110). This reflects a
       completion rate of 74.4 percent of the monthly face-to-face visits for I See You
       workers’ cases. (D.E. 546, Page 110). I See You caseworkers missed visits
       altogether with slightly more than one quarter of the PMC children they were
       responsible to visit. (D.E. 546, Page 110). The caseworker with the lowest visit
       rate completed 23.1 percent of her required visits and the caseworker with the
       highest visit rate completed 100 percent of her required visits. (D.E. 546, Page
       110).

       • The typical I See You caseworker completed 50 percent of initial face-to-face
       visits with new children in June. (D.E. 546, Page 110). Overall, I See You
       caseworkers completed between zero and 100 percent of their initial face-to-face
       visits. (D.E. 546, Page 110). Of the 46 I See You caseworkers who had at least
       15 days with a new PMC case in June 2017, 41 percent met with 100 percent of
       the children on their new cases within 15 days. (D.E. 546, Page 110). However,



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          35 percent of I See You caseworkers with a new case did not complete a single
          initial face-to-face with those children in June. (D.E. 546, Page 110).

          • I See You caseworkers’ familiarity with the children they were assigned, with
          their service needs, including medical care, was often lacking. (D.E. 546, Pages
          34, 110-11).

          • Over 82 percent of I See You caseworkers reported that primary caseworkers do
          not set a regular schedule for communication. (D.E. 546, Page 111). I See You
          caseworkers also report that CVS caseworkers often do not communicate
          regularly with the child or the child’s caregiver. (D.E. 546, Page 111).

          The I See You Worker study also concluded that 42% of I See You workers reported that

primary caseworkers did not respond to emails or phone calls in a timely manner. (D.E. 546,

Page 109). These are unsurprising statistics, given that the study found that the typical I See You

worker has an average caseload of 44 children per day. (D.E. 546, Pages 34, 110). Testimony at

trial also revealed that attorneys ad litem are not informed when I See You workers are appointed

or make visits and never receive communications from I See You workers. (D.E. 326, Page

259). It is apparent from the study that DFPS’s policies concerning I See You worker visits are

not practiced, and policies not practiced have no value. See Ruiz, 679 F.2d at 1160; supra at

II.B.1.

          I See You workers’ lack of knowledge is particularly troubling given that they commonly

act as medical consenters for PMC children. (D.E. 546, Page 34). Even if this Court were to

disregard the Special Master’s I See You worker study completely, DFPS included I See You

workers in their own caseload study. (D.E. 485). The DFPS study demonstrates that all

caseworkers, including I See You workers, could only handle 14 PMC cases. (D.E. 496). This

is particularly disturbing considering each I See You worker has an average caseload of 44

children.45 (D.E. 471, Page 6). Accordingly, the Objection is OVERRULED.


45
  Although the December 2015 Order required Defendants to track CVS caseworker caseloads without including
secondary workers in their calculations (D.E. 368, page 250 ¶ 1), Defendants decided it would be appropriate to


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         L.       Residential Child Care Licensing (“RCCL”)46

    1.     Effective May 2018, the State of Texas47 shall ensure the staff who investigate
         allegations of abuse and neglect of children in the PMC class have caseloads of no
         more than 14 investigations, consistent with the median caseload of investigations
         found in the Workload Study. Although this is twice the number of investigations the
         Workload Study concluded was reasonable for child abuse and neglect investigators
         in light of the amount of time they expend on their cases, 14 investigations shall serve
         as the top of their workload range.

    2.     Effective May 2018, the State of Texas shall ensure that the staff who conduct
         licensing standards investigations48 for alleged violations involving children in
         the PMC class have caseloads of no more than 14 standards investigations,
         consistent with the maximum caseload of standards investigations found in the
         Workload Study. Although this is nearly three times the number of standards
         investigations the Workload Study concluded was reasonable for inspectors in light of
         the amount of time they expend on their cases, 14 standards investigations shall serve
         as the top of their workload range. Caseloads for staff shall be pro-rated for those
         who are less than full-time. Caseloads for staff who spend part-time in investigative
         work and part-time in other functions must be pro-rated accordingly.

    4. Effective immediately, the State of Texas shall ensure RCCL investigators,49 and any
       successor staff, observe or interview the alleged child victims in Priority One child
       abuse or neglect investigations within 24 hours of intake.

    5. Effective immediately, the State of Texas shall ensure RCCL investigators, and any
       successor staff, observe or interview the alleged child victims in Priority Two child
       abuse or neglect investigations within 72 hours of intake.



include secondary workers in the workload study ordered by the Court. (D.E. 368, Page 250 ¶ 2). Since the State
thought it was appropriate for the study to blend primary and secondary workers together, the Court likewise
concludes that primary and secondary workers can handle similar caseloads. Furthermore, though the study did not
differentiate between TMC and PMC children, the DFPS caseworker study demonstrates that caseworkers spend
less time with PMC children than TMC children. (D.E. 485). Whatever the mix of the I See You caseload, it is
clearly excessive.
46
   Defendants object that Item 3 of the Plan prohibited DFPS from employing staff with a “negative child welfare
history.” (D.E. 556, Pages 33-34). Defendants’ Objection is SUSTAINED, and the Item is therefore deleted. The
Plan’s numbering of subsequent Items is retained for ease of reference.
47
   Subsequent to the Court’s December 2015 Order, RCCL underwent restructuring and the licensing division was
reassigned to the HHSC. The investigators who conduct investigations of alleged abuse and neglect in childcare
operations remain under DFPS’s control. Accordingly, the Court enters relief against the State of Texas to ensure
the necessary steps are taken to keep PMC children free from an unreasonable risk of harm. See supra p. 3 n. 4.
48
   Standards investigations are investigations into compliance with licensing requirements, rather than into
allegations of abuse or negligence resulting in harm to a child. See 40 Tex. Admin. Code § 745.21(28) (listing
regulations that establish minimum standards); (D.E. 299, Pages 10, 14).
49
   RCCL investigators are “[s]taff responsible for conducting child abuse and neglect investigations of children who
live in residential child care facilities and child-placing agencies licensed by RCCL and conducting investigations to
determine if a facility complies with minimum standards.” (D.E. 546-1, Page 116).


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   6. Effective immediately, the State of Texas shall ensure RCCL investigators, and any
      successor staff, complete Priority One and Priority Two child abuse and neglect
      investigations within 30 days of intake, consistent with DFPS policy.

   7. Effective immediately, the State of Texas shall ensure RCCL investigators, and any
      successor staff, complete Priority Three, Priority Four and Priority Five
      investigations within 60 days of intake, consistent with DFPS policy.

   8. Effective immediately, the State of Texas shall ensure RCCL investigators, and any
      successor staff, complete and submit documentation in Priority One and Priority Two
      investigations on the same day the investigation is completed.

   9. Effective immediately, the State of Texas shall ensure RCCL investigators, and any
      successor staff, complete and submit documentation in Priority Three, Priority Four
      and Priority Five investigations within 60 days of intake.

   10. Effective immediately, the State of Texas shall ensure RCCL investigators, and any
       successor staff, finalize and mail notification letters to the referent and provider(s)
       in Priority One and Priority Two investigations within five days of closing a child
       abuse and neglect investigation or completing a standards investigation.

   11. Effective immediately, the State of Texas shall ensure RCCL investigators, and any
       successor staff, finalize and mail notification letters to the referent(s) and
       provider(s) in Priority Three, Priority Four and Priority Five investigations within 60
       days of intake.

   12. Effective March 2018 and ongoing thereafter, the State of Texas shall publicly post
       on its website all licensing inspections by RCCL, and/or its successor entity,
       redacting child identifying information and other information deemed confidential
       under state and federal law and regulation. The posted information shall include
       the full narrative inspection report, the outcome of the inspection, inspection
       violations and whether RCCL, and/or its successor entity, implemented corrective or
       adverse action as a result of the violations. The posted information shall also
       include all corrective action plans required by RCCL and/or other successive entities
       and the dates RCCL and/or other successive entities accepted corrective action plans
       submitted by violating agencies and the status of those corrective action plans.

              a.      Objection

       Defendants object that the phrase “under state and federal law and regulation” in Item 12

is vague. (D.E. 556, Page 16).




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                 b.       Ruling on Objection

        Item 12 instructs the Defendants to redact information as required “under state and

federal law and regulation” only to remind Defendants of their other legal obligations. Item 12 is

not to be read as imposing on Defendants an additional duty to obey confidentiality laws at risk

of being held in contempt. To the extent this clarification does not fully address Defendants’

Objection to Item 12, it is OVERRULED.

     13. By July 2018, RCCL, and/or any successor entity50 charged with inspections of
         child care placements, will identify, track and address concerns at facilities that
         show a pattern of contract or policy violations. Such facilities must be subject to
         heightened monitoring by DFPS and any successor entity charged with inspections of
         child care placements and subject to more frequent inspections, corrective actions
         and, as appropriate, other remedial actions under DFPS’ enforcement framework.

     14. Effective immediately, RCCL and/or its successor entity,51 shall have the right
         to directly suspend or revoke the license of a placement in order to protect children
         in the PMC class.

                 a.       Objection

        Defendants object to Item 14 on the basis that RCCL already has the authority to revoke

or suspend a license, and that any change to the procedure for doing so would violate licensees’

state-law rights to due process. (D.E. 556, Page 36-37).

                 b.       Ruling on Objection

        In an Advisory, Defendants informed the Court that CPAs have the responsibility for

closing homes that they run when it is necessary to do so, and that RCCL (or its successor entity)

does not have the authority to do so itself. (D.E. 492, Page 1). Item 14 gives RCCL (or its

successor entity) the authority to directly revoke or suspend the licenses of all foster homes,


50
   Subsequent to the Court’s December 2015 Order, RCCL underwent restructuring and the licensing division was
removed from DFPS control and reassigned to the HHSC. In order to ensure the necessary steps are taken to keep
PMC children free from an unreasonable risk of harm, the Court orders relief against RCCL or the State entities who
assume responsibility for licensing child care facilities.
51
   See supra p. 81 n. 50.


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including those licensed by a CPA. See (D.E. 311, Page 31). Given the record established at

trial, the Court is not convinced by Defendants’ argument that RCCL is exercising its existing

authority to suspend licenses as “vigorously” as possible. See, e.g., (D.E. 329, Page 50) (noting

that the only license revoked during RCCL Director Darla Shaw’s tenure was that of a placement

where multiple children died); (D.E. 368, Page 208) (“During fiscal year 2013, . . . CCL52 cited

providers for 6050 violations, but only issued 12 corrective actions and 1 adverse action.”); id.

(“Over the past five years, CCL issued only four adverse actions against residential

operations.”).53 Even though DFPS has a policy for suspending or revoking the license of a

placement, the evidence shows the policy is not being practiced. See Ruiz, 679 F.2d at 1160;

supra at II.B.1. Further, Item 14 does not displace whatever procedural requirements Texas

imposes on RCCL’s decision to suspend or revoke a license, provided that RCCL (or its

successor entity) has authority to directly suspend or revoke the license of any placement. The

Objection to Item 14 is OVERRULED.

     15. Effective immediately, RCCL, and any successor entity54 charged with inspections
         of child care placements, must consider during the placement inspection all
         referrals of, and in addition all confirmed findings of, child abuse/neglect and all
         confirmed findings of corporal punishment occurring in the placements. During
         inspections, RCCL, and any successor entity charged with inspections of child care
         placements, must monitor placement agencies’ adherence to obligations to report
         suspected child abuse/neglect. When RCCL, and any successor entity charged with
         inspections of child care placements, discovers a lapse in reporting, it shall refer the
         matter to DFPS, which shall immediately investigate to determine appropriate
         corrective action, up to and including termination or modification of a contract.55


52
   At the time of trial, Childcare Licensing (“CCL”) was the division of DFPS that contained RCCL. (D.E. 368,
Pages 5-6).
53
   In an email to a coworker, one DFPS employee stated that the “threshold in RCCL” investigations is “no autopsy,
no RTB.” (PX 1706, Page 1; D.E. 368, Page 204). RTB stands for “Reason to Believe,” and is the term used by
RCCL when it determines that an allegation of neglect or abuse is supported by a preponderance of the evidence.
(D.E. 368, Page 256). For further discussion, of RCCL’s lax enforcement strategy, see (D.E. 368, Pages 208, 214).
54
   See supra p. 81 n. 50.
55
   Defendants object that Item 15 disrupts the State’s allocation of authority between RCCL and DFPS. (D.E. 556,
Page 37). The Court’s Order alters Item 15, as reflected above. To the extent these changes do not satisfy
Defendants’ Objection, it is OVERRULED.


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                     a.     Objections

            Defendants object to this section to the extent that is based on Appendix C, Key Findings:

Texas Child Protective Services Workload Studies, RCCL Workload Study. (D.E. 556, Pages

32-33). Defendants argue the workload study is inadmissible hearsay and not relevant.

            Defendants object that there is no basis in the record for finding that existing DFPS

policies or practices regarding licensing, inspection, and investigation of foster care facilities

cause class-wide constitutional injury, and that all of the Items in this Section are therefore

unjustified. (D.E. 556, Page 31-32).

                     b.     Ruling on Objections

            Defendants’ Objection to this Section based on the RCCL workload study is

OVERRULED for the same reasons the Court overruled Defendants’ similar objection to Item 1

of Section K. Ninety-six percent of eligible RCCL workers responded to at least one week of the

RCCL study. (D.E. 546-1, Page 49). Furthermore, it was only necessary for the Special Master

to retain an outside expert to conduct this study because DFPS ignored this Court’s order to

conduct the RCCL workload study. (D.E. 500, Page 23 & n. 19).56 This objection applies to

each provision of this section and for the reasons stated is OVERRULED as applied to the entire

section.

            The Court’s December 2015 Order identified serious problems with RCCL, including a

staggeringly high rate of erroneous investigation dispositions and a failure to react appropriately

to the discovery of those errors. (D.E. 368, Pages 200-04). The Performance Management Unit

(“PMU”) performed internal quality control for RCCL. (D.E. 368, Page 201). PMU reviewed

85 physical abuse investigations occurring between August 1, 2012 and July 31, 2013 which

resulted in an “Unable to Determine” or “Reason to Believe” disposition. (D.E. 368, Page 201).
56
     See supra p. 4 n. 7.


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The number of incorrect dispositions was staggering.            Of the “Unable to Determine”

dispositions, PMU found 64.6% (31 of 48) were incorrect. (PX 1129, Page 3). PMU stated the

reasons for incorrect dispositions included that not all parties were interviewed, not all evidence

was reached, determination did not meet the definition, and risks were not thoroughly addressed.

(D.E. 368, Pages 201-202). All but one of the incorrect dispositions was signed by a supervisor.

(D.E. 368, Page 202). The failure of these investigations is systemic. (D.E. 368, Page 202).

PMU conducted a second review of all “Unable to Determine” dispositions for cases involving

physical abuse, sexual abuse, and negligent supervision over the same period. (D.E. 368, Page

202). The director of RCCL also separately reviewed the cases and found that seventy-five

percent (75%) of the “Unable to Determine” dispositions were incorrect. (D.E. 368, Page 202).

A typical error rate for a child welfare system is two or three percent. (D.E. 303, Pages 49-50).

Despite these horrendous findings, nothing changed. DFPS did not suspend or revoke licenses,

no penalties were levied, and the State did not move any children. (D.E. 368, Page 202). The

Court found that RCCL “simply doesn’t work.” (D.E. 368, Page 202; D.E. 303, Page 51).

       The December 2015 Order also discussed RCCL’s failure to achieve high levels of

compliance in facilities and the high incidence of repeat violations in some of the highest-risk

standards. (D.E. 369, Pages 208-09). DFPS rarely takes an enforcement action and generally

takes collaborative approaches with its licensed facilities. (D.E. 368, Page 208). However, these

collaborative approaches can take longer for facilities to become compliant while children

remain and continue to be placed in the facilities. (D.E. 368, Page 208). Further, these efforts

have not gained compliance and breed a high incidence of repeat violations in some of the

highest-risk standards. (D.E. 368, Page 209). DFPS also fails to consistently apply safety




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standards leading to children across the state receiving different protections in their placements.

(D.E. 368, Page 209).

         In December 2015, the Court ordered “DFPS must complete a Workload Study to

determine the time required for investigators and inspectors to adequately perform their tasks.”

(D.E. 368, Page 251). In January 2017, the Court found “that DFPS has not commenced, as

previously ordered, a workload study of RCCL investigators57 and inspectors.58 Therefore, the

Court orders the Special Masters to formulate and institute such a study . . .” which the Special

Masters did by retaining the University of Texas-Austin to undertake an analysis of Residential

Child Care Licensing (“RCCL”) workloads. (D.E. 500, Page 23; D.E. 546, Page 35).

         The workload study performed for the Special Masters shed more light on the issues

involving RCCL. The University of Texas-Austin researchers determined the extent to which

RCCL workers met five investigative casework practice standards during a six-month period

from January to June 2017, including: initiating the investigation on time, observing or

interviewing the alleged victim(s) on time, completing the investigation on time, completing

documentation on time, and notifying relevant parties within the required timeframes. (D.E. 546,

Page 35). For each casework practice standard, an RCCL worker is expected to complete the

relevant activity within the timeframes determined by each investigation’s priority level and

type, as described by DFPS policy. (D.E. 546, Pages 35-36). For example, RCCL investigators

were, at the time of the study, expected to observe or interview the alleged child victim in

Priority One59 child abuse or neglect investigations within five days of intake, and within seven



57
   See supra p. 79 n. 49.
58
   RCCL inspectors are “[s]taff responsible for monitoring residential child care facilities and child-placing agencies
by conducting inspections, providing technical assistance to providers, and processing applications for licenses.”
(D.E. 546-1, Page 116).
59
   “Priority I reports concern children who appear to face an immediate risk of abuse or neglect that could result in
death or serious harm.” 40 Tex. Admin. Code. § 700.505(a)(1).


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days of intake in a Priority Two60 child abuse or neglect investigation. (D.E. 546, Page 36). To

measure the extent to which the RCCL worker met the casework practice standards, CFRP

calculated a rate for each RCCL worker. (D.E. 546, Page 36).

         Performance rates were lower for child abuse and neglect investigations than standards

investigations.61 (D.E. 546, Page 36). RCCL Investigators observed or interviewed the alleged

child victim in required time frames just slightly over half of the time. (D.E. 546, Page 36). On

average, investigators sent notification letters to the reporters and providers of the investigation

outcomes on time for approximately nine percent of Priority One and 13 percent of Priority

Two abuse and neglect investigations. (D.E. 546, Page 36).                           Investigators completed the

required investigative documentation on time 57 percent of the time for Priority One

investigations and 59 percent of the time for Priority Two investigations. (D.E. 546, Page 36).

They initiated, on average, over 90 percent of Priority One and Priority Two abuse and neglect

investigations within the required time frames.                    (D.E. 546, Page 36).             They completed

investigations within required timeframes 44 percent of the time for Priority One investigations

and 45 percent of the time for Priority Two investigations. (D.E. 546, Page 36).

         RCCL inspectors met the casework practice standards at fairly high rates. These rates

ranged from notifying the reporter of the investigation outcome on time for an average of 74

percent of Priority Two standards investigations, to notifying the provider of the outcome

for an average of 95 percent of Priority Five standards investigations. (D.E. 546, Page 36).

         The Workload Study found that, statewide, RCCL investigators had a median average

daily caseload of 14 abuse and neglect investigations in the month of June 2017. (D.E. 546-1,

Page 12). The median average daily caseload for inspectors was seven standards investigations

60
   “Priority II reports are all other reports of abuse or neglect that are not assigned a Priority I.” 40 Tex. Admin.
Code § 700.505(a)(2).
61
   See supra p. 79 n. 48.


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and 11 operations, and the median average daily caseload for generalists62 was four abuse and

neglect investigations, two standards investigations, and nine operations. (D.E. 546-1, Page 12).

However, the study found the allocation of work very uneven:                        RCCL abuse and neglect

investigative caseloads varied considerably. (D.E. 546, Page 36; D.E. 546-1, Page 12).                          The

northeast district had half as many RCCL investigators and a much higher median average daily

caseload than the other districts. (D.E. 546, Pages 36-37; D.E. 546-1, Page 13). Investigators in

the northeast district had median caseloads of 28.4 child abuse and neglect investigations, with

a maximum investigative caseload of 48.3 investigations at one time. (D.E. 546-1, Page 13).

In contrast, investigators in the northwest district had median caseloads of seven child abuse and

neglect investigations, with a maximum investigative caseload of 22 investigations at one time.

(D.E. 546-1, Page 13)

         There was little variation in the inspectors’ standards investigation caseloads for across

the state, with each district showing median caseloads between six and seven standards

investigations, and maximum caseloads ranging between nine and 14 matters. (D.E. 546-1, Page

13). Inspectors in the northeast district were responsible for approximately three times as many

operations than in the southeast and southwest districts. (D.E. 546-1, Page 13). The northwest

average daily caseload of operations was not as high as it was in the northeast, but the median

average daily caseload of operations for inspectors in the northwest was approximately double

that of the inspectors in the southeast and southwest districts. (D.E. 546-1, Page 13).

         Given how RCCL workers of each type reported they spent their time during the study

period, the authors at the University of Texas-Austin determined a reasonable investigative

caseload for RCCL investigators to be no more than seven investigations. (D.E. 546-1, Page 36).


62
  RCCL generalists are “[s]taff responsible for fulfilling both the RCCL inspector and investigator roles.” (D.E.
546-1, Page 117). Defendants state in their Objections that these positions no longer exist. (D.E. 556, Page 33).


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         Given how RCCL workers of each type reported they spent their time during the study

period, the authors at the University of Texas-Austin determined a reasonable investigative

caseload for RCCL inspectors to be no more than five investigations. (D.E. 546-1, Page 37).

         Given how RCCL workers of each type reported they spent their time during the study

period, the authors at the University of Texas-Austin determined a reasonable investigative

caseload for RCCL generalists (a small group of staff who perform both investigations and

inspections) of five investigations. (D.E. 546-1, Page 37).

         The Special Masters recommended in November 2016 that DFPS identify a discrete

cohort of staff exclusively assigned to conduct child maltreatment investigations in licensed

placements. (D.E. 546, Page 37). The Special Masters reported that DFPS has done so pursuant

to recent Texas statutory change. (D.E. 546, Page 37).

         Defendants’ Objection that there is no basis for the relief in this Section is

OVERRULED.

         M.       Sexual Abuse63

     1. Effective March 2018, DFPS shall implement within the child’s electronic case record
        a profile characteristic option for caseworkers or supervisors to designate PMC and
        TMC children as “sexually abused” in the record if the child has been confirmed to
        be sexually abused by an adult or another youth.

     2. Effective March 2018, DFPS shall document in each child’s records all confirmed
        allegations of sexual abuse in which the child is the victim.

     3. Effective immediately, all of a child’s caregivers must be apprised of confirmed
        allegations at each present and subsequent placement.

     4. Effective immediately, if a child has been sexually abused by an adult or another
        youth, DFPS must ensure all information about sexual abuse is reflected in the
        child’s placement summary form, and common application for placement.


63
  The Court finds that, in order to ensure PMC children are free from an unreasonable risk of harm, it is necessary
for all of the relief in Section M to apply to all PMC and TMC children in DFPS custody. See infra at III.M.13.b;
see also supra at II.B.7.


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   5. Effective immediately, all of the child’s caregivers must be apprised of confirmed
      allegations of sexual abuse of the child at each present and subsequent placement.
   6. Effective immediately, DFPS shall ensure a child’s electronic case record documents
      “child sexual aggression” and “sexual behavior problem” through the profile
      characteristic option when a youth has sexually abused another child or is at high
      risk for perpetrating sexual assault.

   7. Effective immediately, if sexually aggressive behavior is identified from a child,
      DFPS shall also ensure the information is reflected in the child’s placement
      summary form, and common application for placement.

   8. Effective immediately, DFPS must also document in each child’s records all
      confirmed allegations of sexual abuse involving the child as the aggressor.

   9. Effective immediately, all of the child’s caregivers must be apprised at each present
      and subsequent placement of confirmed allegations of sexual abuse involving the
      PMC child as the aggressor.

   10. Within 90 days of the Court’s Final Order, DFPS shall create a clear policy on
       what constitutes child on child sexual abuse. Within 6 months of the Court’s
       Final Order, DFPS shall ensure that all staff who are responsible for making the
       determinations on what constitutes child on child sexual abuse are trained on the
       policy.

   11. Effective immediately, DFPS shall ensure foster caregivers and other placement
       providers immediately report all allegations of sexual abuse by a child against
       another child to the 24-hour hotline established by DFPS to screen referrals of abuse
       and neglect.

   12. Effective March 2018, DFPS shall document, track and report quarterly to the
      monitor(s) all referrals of child-on-child sexual abuse i nvolving chil dren in
      DFPS custody made to the 24-hour hotline established by DFPS to screen
      referrals of abuse and neglect.

   13. Effective immediately and ongoing thereafter, DFPS shall report quarterly to
       the monitor(s) and confirm that all reports of child on child sexual abuse involving
       children in DFPS custody that have been referred to the 24-hour hotline have
       been assigned for investigation for, at minimum, neglectful supervision by the
       placement caregiver(s).




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                a. Objections

       The Court carries forward Defendants’ Objection that portions of the Plan provide relief

to foster children who are not part of the certified class, and that those portions of the Plan are

therefore overbroad. (D.E. 556, Pages 13-14 ¶ 2(e)).

       Defendants object that there is no basis in the record for finding that existing DFPS

policies or practices regarding definition and investigation of sexual abuse cause class-wide

constitutional injury, and that all of the Items in this Section are therefore unjustified. (D.E. 556,

Pages 37-38).

                b. Ruling on Objections

       The Court has amended this Section of the Plan to reach all children in DFPS

custody, including TMC children. The Court is aware that the class before it is solely

composed of PMC children. Because TMC and PMC children may reside in the same

placement, failure to track the sexual abuse and sexual aggression history of TMC children

risks exposing PMC children to sexual aggression or sexual abuse. See, e.g., PX 591 (filed

under seal); PX 598 (filed under seal); (D.E. 328, Page 120) (noting that a child’s placement

is not typically changed if the child’s status changes from TMC to PMC). The Objection is

OVERRULED.

       In its December 2015 Order, the Court extensively documented the epidemic of physical

and sexual abuse in the Texas foster care system and those findings are incorporated by

reference. See (D.E. 368). At trial, the Court discovered RCCL does not track child-on-child

abuse and therefore, there was no centralized, comprehensive data that shows which foster

children have a history of physical or sexual abuse. (D.E. 368, Page 206). At trial, Plaintiffs’

expert, Dr. Miller, explained that tracking child-on-child abuse is critically important regarding




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subsequent placements and treatment needs. (D.E. 303, Page 8). Multiple witnesses testified at

trial that there are always two victims when child-on-child abuse occurs and that sexually abused

children often become abusers themselves. (D.E. 368, Pages 207-08). The Court found in its

December 2015 Order that without tracking this information, no one would be aware of a child’s

past regarding being either a perpetrator or a victim of child-on-child abuse, making it

impossible to assure safe placements. (D.E. 368, Page 208).

       In January 2017, the Court directed “the Special Masters are also ordered to work with

DFPS to ensure that a child’s case record prominently identifies sexually abused PMC youth.

Both the term ‘sexually abused’ and ‘sexually aggressive’ should be word searchable in the

child’s records.” (D.E. 500, Page 26). DFPS has not created a profile characteristic for child

“sexual abuse” in the electronic case record. (D.E. 546, Page 40). DFPS replied to questions

from the Special Masters indicating the identification of all PMC children who have been

sexually abused “can be pulled and aggregated via a manual process that requires a case read.”

(D.E. 546, Pages 40-41, 132).         Responding that, “labeling of victims is inappropriate,

stigmatizing, and ultimately unhelpful,” DFPS indicated they do not intend to proceed with a

profile characteristic for sexual abuse in the child’s electronic record. (D.E. 546, Pages 41, 138).

Absent a manual reading of all its PMC children’s cases, which number in the many thousands,

DFPS leadership cannot track all of the PMC children who have suffered sexual abuse to ensure

system-wide those children are receiving appropriate services, including an appropriate

placement. (D.E. 546, Page 41).

       The Special Masters conducted a PMC child case record review in May 2017 and verified

that DFPS has implemented within the child welfare electronic data system (IMPACT) a profile

characteristic option to designate “child sexual aggression” and “sexual behavior problem” when




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a youth has sexually abused another child or is at high risk for perpetrating sexual assault. (D.E.

546, Page 41).

       In its December 2015 Order, the Court ordered DFPS to “track child-on-child abuse, and

categorize it as such.” (D.E. 368, Page 252). Further, DFPS has known about the Court’s

concern regarding tracking child-on-child sexual abuse since the trial and has not taken sufficient

steps to cure the constitutional deficiency found by the Court. See (D.E. 368, Page 208).

Instead, DFPS has repeatedly stated it has no plans to track child-on-child sexual abuse and has

repeatedly stated to the Special Masters it does not intend implement policies to do so. (D.E.

368, Page 208; D.E. 546, Pages 40-41). As the Court found in its December 2015 Order, “DFPS

is equipped to track child-on-child abuse, but simply refuses to do so.” (D.E. 368, Page 213).

The Objection is OVERRULED.

       N.        PMC Children’s Placements

   1. Effective March 2018, DFPS shall implement a policy that requires that no unrelated
      children more than three years apart in age be placed in the same room. The policy
      may also establish exceptions, including a thorough and documented assessment that
      certifies it is in the child’s best interest or that no risk of harm would result from
      placing any unrelated children more than three years apart in the same room. Any
      exceptions applied under this policy must be approved and documented in the
      child’s electronic record by the DFPS county director.

   2. Effective March 2018, DFPS shall implement a policy that requires that no unrelated
      children with different service levels be placed in the same room. The policy may
      also establish exceptions, including a thorough and documented assessment by DFPS
      that certifies it is in the child’s best interest or that no risk of harm would result from
      placing any unrelated children of different service levels in the same room. Any
      exceptions applied under this policy must be approved and documented in the
      child’s electronic case record by the county director.

   3. Effective immediately, DFPS may not place a child in the PMC class in an
      office overnight, and must track all instances if it does so, and report the same to the
      monitor(s) monthly. If, under any circumstance, a child in the PMC class
      spends the night in an office, DFPS staff must document that fact, and the reason, in
      an electronically available log maintained by DFPS in each county. These logs shall
      be submitted on the first day of every month to a designated senior manager in



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         DFPS’ central office and to the monitor(s). The designated DFPS senior manager
         shall review these logs monthly and take immediate follow up action to identify and
         address problems encountered at the county level with respect to securing minimally
         adequate, safe placements for children in the PMC class.

     4. Within six months of the Court’s Final Order, all PMC children under two years of
        age shall be placed in a family-like setting, including non-relative foster care, tribal
        foster care,64 kinship foster care and therapeutic foster care. DFPS may make
        exceptions to family-based placements for sibling groups of four or more children
        who cannot otherwise be placed together, children whose individual needs require
        hospitalization, treatment and/or medical care or young children who are placed
        with their minor parent in the PMC class and who may require services provided in a
        non-family-like placement. All exceptions must be approved by a supervisor and
        documented in the child’s electronic case record.

     5. Within 12 months of the Court’s Final Order, all PMC children under six years of
        age shall be placed in a family-like setting, including non-relative foster care, tribal
        foster care, kinship foster care and therapeutic foster care. DFPS may make
        exceptions to family-based placements for sibling groups of four or more children
        who cannot otherwise be placed together, children whose individual needs require
        hospitalization, treatment and/or medical care or young children who are placed
        with their minor parent in the PMC class and who may require services provided in a
        non-family-like placement. All exceptions must be approved by a supervisor and
        documented in the child’s electronic case record.

     6. Within 24 months of the Court’s Final Order, all PMC children under the age of 13
        shall be placed in a family-like setting, including non-relative foster care, tribal
        foster care, kinship foster care and therapeutic foster care. DFPS may make
        exceptions to family-based placements for sibling groups of four or more children
        who cannot otherwise be placed together, children whose individual needs require
        inpatient psychiatric hospitalization, treatment and/or medical care or young children
        who are placed with their minor parent in the PMC class and who may require
        services provided in a non-family-like placement. All exceptions must be approved
        by a supervisor and documented in the child’s electronic case record.

                   a. Objections

         Defendants object that there is no basis in the record for finding that existing DFPS

policies or practices regarding PMC child placements cause class-wide constitutional injury, and

that all of the Items in this Section are therefore unjustified. (D.E. 556, Page 39).



64
   Tribal foster care refers to “a foster home . . . or a comparable facility licensed or approved by . . . an Indian Tribal
licensing authority . . . .” See 40 Tex. Admin. Code § 700.1307(2) (internal quotation marks omitted).


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       Defendants also object to the logistical challenges of implementing all the provisions

contained in this section. (D.E. 556, Page 39). Defendants argue the provisions would require

substantial budget appropriations, would be impossible to implement in the timeframe provided,

and would impact permanency for children. (D.E. 556, Page 39).

               b. Ruling on Objections

       The Court’s December 2015 Order documented extensive evidence of the harms caused

by DFPS’s practice of placing unrelated children of different ages and service levels in the same

room, particularly sexual and physical abuse. See, e.g., (D.E. 368, Pages 74, 236-37). At trial,

Plaintiffs’ expert Mary Richter testified that a “very high percentage of . . . younger children

were being placed with older children” and that “creates more risk.” (D.E. 326, Pages 22-23).

Richter also testified the most significant risk to children’s safety in Foster Group Homes is the

fact they are unrelated. (D.E. 326, Page 14). The instinct which related children have not to

harm each other is not present between completely unrelated children. (D.E. 368, Page 236). In

fact, Defendants’ expert on social work, Linda McNall, testified that multiple unrelated children

living in one home are exposed to different risks than a similar number of related children living

in a single home. (D.E. 368, Page 51; D.E. 319, Pages 24-25). However, DFPS does not

prohibit teenagers from sharing a bedroom with younger children. (D.E. 315, Pages 10-11). On

top of this, DFPS allows for young girls and teenage boys to be placed in the same Foster Group

Home. (D.E. 368, Page 235; D.E. 300, Page 63). Former foster child Sharp testified a boy was

sexually abused almost every night by one of the older boys in the home and due to DFPS not

regulating the mixing of ages in bedrooms, the abuser and the abused shared a bunkbed. (D.E.

324, Page 172). This is just one of the many tragic events documented in the Court’s December




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2015 Order that resulted from the mixing of children of different ages. See, e.g., (PX 372; PX

377; PX 406; PX 457; PX 459; PX 502; PX 2014, Pages 31-36).

       Additionally, mixing varying service levels exacerbates these problems. (D.E. 368, Page

237). DFPS does not impose any prohibition or limitations on the mixing of children of different

service levels. (D.E. 368, Page 235). Evidence at trial showed 89% of Foster Group Homes

with seven or more foster children had a mix of basic, moderate, specialized, or intense service

levels. (D.E. 326, Page 24). When service levels are mixed, children’s outcomes may be

damaged to an unconscionable degree. (D.E. 368, Page 238; D.E. 326, Page 17). For instance,

placing basic level children in a home with very aggressive or self-injurious children can lead to

bullying or otherwise damage the basic level child. (D.E. 326, Page 17).

       Based on the Court’s extensive findings of fact at trial, the Court included in its

December 2015 Order a directive for “[t]he Special Master [to] recommend what age ranges of

unrelated children are appropriate to be placed in the same room in any residential facility.”

(D.E. 368, Page 252).

       The Special Masters asked DFPS to share a draft or final policy and/or regulation that

prohibits the placement of unrelated children who are more than three years apart in the same

room. (D.E. 546, Page 43). DFPS responded that the agency “has no plans to adopt policy or

regulation that prohibits the placement of unrelated children who are more than three years apart

in the same room.” (D.E. 546, Pages 43, 131). DFPS has still not developed a policy or

regulation that prohibits the placement of unrelated children who are more than three years apart

in the same room. (D.E. 546, Pages 43, 128-31).

       Based on the Court’s extensive findings of fact at trial, the Court in January 2017 ordered

“the Special Masters to work with DFPS to ensure that unrelated PMC children with different




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service levels not be placed in the same room unless a thorough and documented assessment is

conducted by DFPS staff certifying that such placement is safe and appropriate for each PMC

child.” (D.E. 500, Page 27). The Special Masters asked DFPS to share a draft or final policy

and/or regulation that prohibits the placement of unrelated PMC children with different service

levels in the same room unless a thorough and documented assessment is conducted by DFPS

staff certifying that such placement is safe and appropriate for each PMC child. (D.E. 546, Page

43). DFPS responded that “[a]gency rules (minimum standards) . . . allow children receiving

different types of service to reside in the same room if the provider evaluates the living quarters

for each child and ensures there is no conflict of care with the child’s best interests; the

arrangement will not adversely impact other children in the room; the number of children in the

room is appropriate at all times; caregivers can appropriately supervise all children and the

provider can meet the needs of all children in the room.” (D.E. 546, Pages 43-44, 128-31).

       Further, the Court found it is typical for foster children to sleep in CPS offices because

there are no available beds. (D.E. 368, Page 219; DX 18, Page 1; PX 1217, Page 5; D.E. 327,

Pages 201-02). The Special Masters requested DFPS report the number of children who spent a

night in a DFPS office, waiting for a placement. (D.E. 546, Page 44). DFPS reported it does not

track the number of PMC children who experience a first night sleeping in an office. (D.E .546,

Page 44). DFPS begins its tracking on the child’s second night. (D.E. 546, Page 44).

       The Special Masters asked DFPS how many foster children spent a night in an unlicensed

facility, such as a hotel or a caseworker’s office in 2016. (D.E. 546, Page 44). DFPS reported

that from September 2016 to August 2017, 554 children did not have a placement. (D.E. 546,

Page 44). DFPS reported this information showing the total number of children without a




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placement broken down by each of these 12 months, with a high of 84 children during May 2017

and a low of 17 children during August 2017. (D.E. 546, Page 44).

       Based on the Court’s extensive findings of fact at trial, the Court in January 2017 ordered

the final Implementation Plan “should include a provision that, within 6 months from the date of

the final order, all PMC children under two years of age shall be placed in a family-like setting.”

(D.E. 500, Pages 27-28). The Special Masters asked DFPS to share a draft or final policy and/or

regulation that all PMC children under two years of age shall be placed in a family-like setting.

(D.E. 546, Page 45). The Special Masters invited DFPS to identify exceptions, such as sibling

groups of four or more children who cannot otherwise be placed together, treatment and/or

medical care, or young children who are placed with a minor parent. (D.E. 546, Page 45). DFPS

declined to provide a draft policy and/or regulation, pointing to its existing policies and

minimum standards, which do not require that children under two years of age be placed in

family-like settings. (D.E. 546, Page 45).

       Based on the Court’s extensive findings of fact at trial, the Court in January 2017 ordered

the final implementation plan should include a provision that, “within 12 months from the date of

the final order, all PMC children under six years of age shall be placed in a family-like setting.”

(D.E. 500, Page 28).

       Based on the Court’s extensive findings of fact at trial, the Court in January 2017 ordered

this final implementation plan must include a provision that, “[w]ithin 24 months from the date

of the final order, all PMC children under thirteen shall be placed in a family-like setting.” (D.E.

500, Page 28).

       Dr. Miller testified at trial that placing children in the most family-like setting possible

“is not only what’s best for children, it’s absolutely essential if those children are going to be




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whole and remain whole.” (D.E. 368, Page 224; D.E. 303, Pages 51-52). DFPS policy states

when appropriate, placements should be with families as opposed to group care facilities. (D.E.

368, Page 218; PX 50, Page 4). However, the Court reiterates that policies not practiced have no

value. Ruiz, 679 F.2d at 1160. Accordingly, the Court finds there is sufficient basis in the record

and the Objection is OVERRULED.

         Defendants were ordered to draft policies and procedures to ensure PMC children are free

from an unreasonable risk of harm. (D.E. 368, Page 245). Despite this, Defendants repeatedly

refused to provide the Special Master with any sort of policy or regulation concerning any of the

provisions in this section. (D.E. 546, Pages 43-45). Defendants repeatedly stated they were not

creating such policies or that the current policies did not require such provisions. (D.E. 546,

Page 43-45). However, the existence of current policy means nothing if those policies are not

being practiced. See Ruiz, 679 F.2d at 1160; supra at II.B.1.                   Defendants’ Objection repeats

their overruled General Objection that the Order requires new appropriations. Accordingly, the

Objection is OVERRULED.

         O.       DFPS Placement Array

     1. DFPS shall immediately implement a policy that establishes single-child homes as
        the presumptive placement for all sexualized children, either as the aggressor or
        the victim. The policy also will allow for exceptions, including: placement in a
        therapeutic setting for treatment; placement with siblings when the safety of all
        children involved can be closely monitored and secured; a thorough and documented
        assessment certifies that it is in the child’s best interest to be placed in a home with
        other children and the safety of all children involved can be closely monitored and
        secured. Any exceptions applied under this policy must be approved and documented
        by a senior DFPS manager.

     2. DFPS shall ensure it has at least as many foster home placements for children, by
        catchment area,65 by the end of FY 18 as the agency found it requires to meet the

65
  At a December 21, 2016 hearing, the Special Master defined a “catchment area” as a “cluster of counties populous
enough to move foster care redesign forward.” (D.E. 500, Page 28 n. 20). Counsel for the State agreed with this
definition. (D.E. 500, Page 28 n. 20). Cf. Tex. Fam. Code Ann. § 264.152 (West) (“‘Catchment area’ means a
geographic service area for providing child protective services that is identified as part of community-based care.”).


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         needs of children in its January 2017 Foster Care Needs Assessment,66 Table 5.
         DFPS shall report quarterly to the monitor(s) on the available supply of foster
         homes for children by catchment area as of the last date of the quarter.

                  a.       Objection

         Defendants object that compliance with Item 2 depends on factors outside Defendants’

control. (D.E. 556, Pages 40-41). Defendants state that the Plan would require major budget

appropriations, that DFPS cannot compel people to become foster parents or providers to open

placements, and that natural disasters may render compliance impossible. (D.E. 556, Pages 40-

41).

                  b.       Ruling on Objection

         Defendants’ Objection to Item 2 largely repeats Defendants’ overruled General Objection

that the Order requires new appropriations. The Court returns to this Objection to note that while

Defendants obviously cannot compel Texans to serve as foster parents, there are numerous steps

Defendants can take to expand their placement array, such as greater recruiting efforts or

increased incentives for becoming a foster parent. Defendants have known about the Court’s

concerns regarding the placement array for over two years and the deficiencies persist. In the

December 2015 Order, Defendants were ordered to “establish and implement policies and

procedures” to remedy the deficiencies. (D.E. 368, Page 245). Despite this, Defendants refused

to provide a draft plan to develop the placement array needed to address geographic,

demographic, and service level deficits identified in its own foster care needs assessment. (D.E.

546, Page 47). If a natural disaster makes compliance impossible sometime in the future,

Defendants may raise the issue with the Court then. Further, both parties’ experts (Dr. Viola


66
  Foster Care Needs Assessment is the term used by DFPS to describe its analysis of historical foster care
placement activity to understand how the system has performed in the past, along with a forecast of foster care
placement demand. See (D.E. 507-1, Page 4).



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Miller, Gail Gonzalez, and Frianita Wilson) testified that sexually aggressive children should be

placed in single child placements. (D.E. 303, Page 8; D.E. 328, Page 161; D.E. 329, Page 161);

see infra at III.N.6.b. Plaintiffs’ expert, Dr. Viola Miller, testified that sexually abused children

should be in single child placements. (D.E. 303, Page 8). Considering that DFPS does not track

single child placements and has no present intention of doing so, it is inexplicable that DFPS can

determine that they do not have such placements and cannot have such placements. (D.E. 492,

Page 4). This Objection to Item 2 is OVERRULED.

   3. By June 2018, DFPS shall complete and submit to the Court an update of its January
      2017 Foster Care Needs Assessment, and include:
         a. A review and assessment of the placement needs of sibling groups
            that are separated into different placements and children who have been
            identified as sexually aggressive or whose IMPACT records document their
            having been sexually abused.
         b. Data on the number of foster homes in each county that could be readily
            designated as single-child homes.
         c. Data on the number of homes in each county available for the placement of
            sibling groups of various sizes.
         d. An analysis of the number of homes in each county and region that have a
            deficit or surplus of single-child homes to meet the needs of children from the
            same counties and regions who are sexually aggressive or have been sexually
            abused.
         e. An analysis of the number of homes in each county and region that have a
            deficit or surplus of homes that can meet the placement needs of sibling
            groups from the same counties and regions or catchment areas.

               a.      Objection

       Defendants object that Item 3 “circumvents” the requirements of Texas Family Code

Section 264.1261. (D.E. 556, Page 41).

               b.      Ruling on Objection

       Section 264.1261 of the Texas Family Code creates certain reporting requirements

regarding DFPS’s placement array. The Court finds that compliance with both this Order and

Section 264.1261 would be both possible and reasonable. Overlap between this Court’s Order




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and a newly enacted state law is irrelevant. See In re Rodriguez, 695 F.3d 360, 369 (5th Cir.

2012). Defendants’ Objection as to Item 3 is OVERRULED.

   4. Effective immediately, DFPS shall immediately establish a tracking mechanism to
      identify how many children are in all placements where a PMC child resides,
      including foster, biological, non-foster and adoptive children, as well as each
      placement’s licensed capacity. By May 2018, DFPS shall publish this information on
      its website and update the information quarterly.

              a.     Objection

       Defendants object that the timeline for completing Item 4 is impossible. (D.E. 556, Page

41).

              b.     Ruling on Objection

       The Court again returns to Defendants’ logistical Objection to emphasize that Defendants

have known about the Court’s concerns with the lack of a tracking system since the Court

identified them two years ago in its December 2015 Order. (D.E. 368, Page 253). The Court’s

December 2015 Order ordered that the “State shall establish and implement policies and

procedures to ensure that Texas’s PMC foster children are free from an unreasonable risk of

harm.” (D.E. 368, Page 245). Further, Defendants rebuffed the Special Master’s requests for

plans resolving the issue and inquiries into how long an overhaul would take. (D.E. 546, Pages

47, 113-17). Defendants now object, fifteen days after the Plan was filed, that the Plan’s

timelines for these goals are “impossible.” (D.E 556, Page 41). As is the case with Defendants’

Objection to the orders on PMC Children’s Records, supra III.B, their claim of impossibility is

not supported by anything other than the Defendants’ representation. For these reasons, and the

reasons given supra at II.B.9, this Objection is OVERRULED.

   5. Effective June 2018, DFPS shall establish and implement a policy that requires a
      transition plan of no less than two weeks to change a PMC child’s placement if the
      disruption is due to a change in the child’s level of care. The policy shall require a
      documented assessment to determine if the child should remain in the same



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       placement for an extended period if the assessment determines the child’s behavioral
       or emotional challenges are likely to re--‐ escalate if the placement is changed.

   6. Beginning in June 2018, DFPS shall report to the monitor(s) semi-annually on PMC
      children's placement moves, and ensure that all such moves, and the reasons for the
      placement moves, are documented in the child’s electronic case record.
             a. Objection

       Defendants object that there is no basis in the record for finding that existing DFPS

policies or practices regarding placement array cause class-wide constitutional harm, and that all

of the Items in this Section are therefore unjustified. (D.E. 556, Page 40).

               b. Ruling on Objection

       The Court documented extensively in its December 2015 Order the harms presented by

DFPS’s inadequate placement array.        See (D.E. 368). Specifically, the Court found in its

December 2015 Order that not placing sexualized children in single-child placements causes an

unreasonable risk of harm to PMC children. (D.E. 368, Page 226). The trial transcript includes

testimony from two defense witnesses, Gail Gonzalez and Frianita Wilson (D.E. 328, Page 161;

D.E. 329, Page 161), indicating that DFPS should look to place sexualized children in

placements or in homes where the child is the only one in the home. (D.E. 546, Page 46). There

is testimony in the record of the sexualization of children due to sexual abuse, causing sexually

abused children to become aggressors or perform sexual acts. (D.E. 326, Pages 15-16). For

example, D.I. was repeatedly sexually abused by older boys at his placement yet he was

subsequently placed in a foster home with a five year old biological granddaughter with whom

he engaged in sexually inappropriate conduct. (D.E. 326, Pages 92-93, Page 110-11). The Court

found that DFPS’s inadequate placement array prevents sexualized children from being placed

appropriately. (D.E. 368, Page 227). In its December 2015 Order, the Court included among its

goals for the implementation plan a directive for DFPS to “track how many placements in its




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array are designated as single-child homes (including biological and adopted children), and track

how many foster children need single child homes.            DFPS shall explain its criteria for

determining which children need single-child homes. DFPS shall ensure that all children who

need single-child homes are placed in such homes.” (D.E. 368, Page 253).

        The Special Masters asked DFPS to report the soonest date DFPS could begin to

track single child homes. (D.E. 546, Page 47). DFPS replied that it “has no plans to track

single child homes.” (D.E. 546, Pages 47, 118; D.E. 492, Page 4).

        The Special Masters asked DFPS what processes it administers to match specific

placements to PMC children who, through documented assessment, are determined to need a

single child home. (D.E. 546, Page 47). DFPS responded that it “has no such processes” and

referred the Special Masters back to its earlier response that it “has no plans to track single child

homes.” (D.E. 546, Pages 47, 118).

        The Court’s December 2015 Order documented extensively how DFPS’s placement array

harms children by forcing them to be placed far from their home communities. (D.E. 368, Page

227).   The geographic distribution of services provided by DFPS is imbalanced, meaning

capacity and types of placements are more readily available in certain areas of the state but not

others. (D.E. 369, Page 218). As a result, thirty-nine percent (39%) of children are placed out of

region and sixty percent (60%) are placed out of county. (D.E. 315, Pages 41-42; D.E. 300, Page

101). The inadequate array results in children not being placed with their siblings due to the lack

of placement resources.       (D.E. 368, Page 219).        This directly contravenes established

professional standards and Texas’s own policy. (D.E. 368, Page 219). The inadequate array also

results in children being placed in inappropriate facilities, including overreliance on congregate

care facilities. (D.E. 368, Page 219). The evidence in the record found that Texas’s percentage




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of children twelve and younger who had been in care at least 18 months and were placed in

group homes or institutions was almost three times the national average. (PX 2128, Page 1).

Despite this inadequate array, DFPS has repeatedly refused to develop a plan to create a

placement array necessary to address these deficiencies. (D.E. 546, Page 47).

       DFPS completed and filed with the Court a Foster Care Needs Assessment, dated

January 2017. (D.E. 507-1). The Assessment includes on page 43 in Table 5, Column 1, a

forecast for the agency’s FY17-18 need for foster homes by catchment area. (D.E. 507-1, Page

43). The Special Masters asked DFPS, based on its Foster Care Needs Assessment, to provide

a draft plan or plan outline for a 12-month period to develop the placement array needed to

address the specific geographic, demographic and service level placement deficits identified in

the Assessment. (D.E. 546, Page 47).        DPFS responded that while they are “continually

working to address placement capacity within the agency” they are “declining to develop such

a 12-month plan.” (D.E. 546, Pages 47, 118).

       The Special Masters asked DFPS if the agency can report aggregate data on how many

children are placed in foster homes with non-foster or adoptive children. (D.E. 546, Page 48).

DFPS responded, “DFPS does not have the capability to report aggregate data on how many

PMC children are placed in foster homes that contain non-foster or adoptive children, and the

[Provider] Portal is not moving forward at this time. (D.E. 546, Page 48). DFPS does possess

the capability to report the number of foster children placed in homes with other DFPS foster

children at a certain time and date.”       (D.E. 546, Pages 48, 121).      DFPS subsequently

reaffirmed, “no additional information will be provided. Agency staff have determined that the

aggregate data that can be produced are those referenced in the original response (DFPS foster

children placed with other foster children).” (D.E. 546, Pages 49, 137).




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       The Special Masters’ team conducted a case record review of 50 randomly selected PMC

children’s cases to confirm that children’s individualized files accurately reflected the

information contained in the agency’s placement moves report. (D.E. 546, Page 49).           The

Special Masters’ team confirmed the aggregate report did accurately reflect the information on

placement moves found in PMC children’s files. (D.E. 546, Page 49).

       Accordingly, the Objection is OVERRULED.

       P.      Foster Care Group Homes

   1. Effective immediately and ongoing thereafter, no PMC child may reside in a
      Foster Group Home placement.

               a.      Objections

       Defendants object that Item 1 requires the closure of Foster Group Homes without regard

to the number of children in the home. (D.E. 556, Page 41).

       Defendants object that there is no basis in the record for finding that existing DFPS

policies or practices regarding Foster Group Homes cause class-wide constitutional injury, and

that both of the Items in this Section are therefore unjustified. (D.E. 556, Page 41).

               b.      Ruling on Objections

       Defendants represented to the Court that existing Foster Group Homes were in the

process of being phased out, and the Court is aware that the Texas Legislature has instituted a

process to transition all Foster Group Homes to another license type or to close them. See H.B. 7

§ 78; (D.E. 410, Page 33). For the purpose of Item 1, the term “Foster Group Home” does not

refer to any placement housing fewer than seven children, inclusive of biological, adoptive, non-

foster and foster children. As properly interpreted, this Item will cause minimal disruption—

Defendants state in their objection that there are “over 100” children in “all Foster Group

Homes,” so the number still in Foster Group Homes containing greater than six children must be



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still lower. (D.E. 556, Page 42) (emphasis in original). To the extent that Defendants maintain

their Objection to Item 1 despite this clarification, it is OVERRULED.

        The Court’s December 2015 Order described a litany of harms caused by Foster Group

Homes, including rampant physical and sexual abuse. E.g., (D.E. 368, Pages 182, 216, 236-37);

see also id. at 239 (citing further examples from the record). The December 2015 Order also

described how Texas’s Foster Group Homes effectively exist outside of any professional

standards, because no other state allows such large numbers of unrelated foster children to reside

together without more strictly regulating the home as a congregate care facility. See (D.E. 368,

Page 233-34). The Court’s December 2015 Order enjoined DFPS to “immediately stop placing

PMC foster children in unsafe placements, which include Foster Group Homes that lack 24-hour

awake-night supervision. Foster Group Homes that immediately require 24-hour awake-night

supervision may continue to operate while the Special Masters and the State craft and enforce the

Implementation Plan.” (D.E. 368, Page 245). As of December 21, 2016, Texas still maintained

57 foster care group homes that they represented had 24-hour awake-night supervision. (D.E.

492, Page 2).67

        To verify the overnight supervision plans submitted to the Special Masters by DFPS with

respect to the State’s Foster Group Homes, Special Master Kevin Ryan and a member of the

Special Masters’ team, Deborah Fowler, conducted visits with randomly selected Foster Group

Home caregivers in their homes. (D.E. 546, Page 50). DFPS counsel and staff accompanied

Mr. Ryan and Ms. Fowler. (D.E. 546, Page 50). All of the visits except one were announced in




67
  Texas advised the Court that there was one additional Foster Group Home with seven or more children, but that
none of the children in that home were in the PMC class. (D.E. 492, Page 2 n. 1). According to the Advisory, DFPS
was working with the caregivers to establish awake-night supervision in that home as well, but had not
accomplished it as of the Advisory’s filing. (D.E. 492, Page 2 n. 1).


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advance. (D.E. 546, Page 50). The visits occurred at staggered times throughout the day. (D.E.

546, Page 50).

       In the first Foster Group Home visited by Mr. Ryan, on March 1, 2017, eight children

resided in the home: three children in the custody of DFPS, ages 10, 9 and 2, and five

birth/adopted children, ages 17, 14, 11, 8 and 2. (D.E. 546, Page 50). The caregivers had

installed a camera system throughout the home, featuring a motion detection system. (D.E. 546,

Page 50). When there was activity in the home at night, the camera system recorded the

movement(s) that it recorded in a log. (D.E. 546, Page 50). In addition, the caregivers hired

a night nanny to stay in the home overnight while the family slept. (D.E. 546, Page 50).

       In the second Foster Group Home visited by Mr. Ryan, on March 1, 2017, seven children

resided in the home: two boys in the custody of DFPS, ages 4 and 5, and five of the couple’s

birth children, all girls, ages 13, 9, 7, 5 and 1. (D.E. 546, Page 50). The caregivers, a married

couple, reported they provided supervision by alternating shifts overnight. (D.E. 546, Page 50).

The couple described the arrangement as difficult and looked forward to adopting the boys and

closing their home to future placements. (D.E. 546, Page 50).

       In the first Foster Group Home visited by Ms. Fowler on February 28, 2017, eight boys,

ages 18 and under, resided in the home. (D.E. 546, Page 50). Four children were in the custody

of DFPS and four were adopted. (D.E. 546, Page 50). The foster children were 18, 15, 13 and

11 years old. (D.E. 546, Page 50). The 15-year-old reportedly had behavioral challenges, and

the caregiver indicated that those challenges had led him to ask for the boy to be moved. (D.E.

546, Page 50). A live-in, adult female supported the caregiver in oversight of the home. (D.E.

546, Page 50). The family’s awake-night supervision plan included an individual who lived in

back of the house in a shed just a few feet from the back door. There was also an old RV behind




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the house, and the caregiver indicated someone else occasionally stayed in the RV. (D.E. 546,

Page 50). The awake-night supervisor’s home appeared to be a gardening shed. (D.E. 546,

Pages 50-51). It was new, and it had a light mounted over the door of the type that one can buy

at stores like Home Depot. (D.E. 546, Page 51). The caregiver indicated the awake-night

supervisor typically came home from work around 10:30 pm or 11:00 pm. (D.E. 546, Page 51).

The caregiver said he and the adult female went to bed around 11:30 pm or midnight, and the

awake-night supervisor was said to then stay awake for the rest of the night, performing

occasional walk-throughs of the home, until the caregiver rose the next morning. (D.E. 546,

Page 51).

       In the second Foster Group Home visited by Ms. Fowler, on February 28, 2017, nine

children resided in the home: three girls in the custody of DFPS, ages 11, 7 and 5, and six

adopted children, two boys who were 16 and 10, and four girls who were 10, 7, 6 and 4 years

old. (D.E. 546, Page 51). The caregivers installed an alarm in the boys’ bedroom that beeped if

the boys opened their door. (D.E. 546, Page 51). The caregivers, a married couple, reported

they provided overnight supervision by alternating shifts overnight. (D.E. 546, Page 51).

       In the third Foster Group Home visited by Ms. Fowler, on March 6, 2017, seven children

under the age of 18 resided in the home. (D.E. 546, Page 51). One child, a 16 year-old daughter,

is adopted. (D.E. 546, Page 51). Six of these children were foster youth: 3 girls who were 14, 11

and 9 years old, and 3 boys who were 17, 15 and 10 years old. (D.E. 546, Page 51). Of the

foster youth in the home, one had a specialized Level of Care designation, and three had

moderate Levels of Care designations, indicating heightened needs. (D.E. 546, Page 51).

       The doors to the bedrooms were connected to an alarm and made a loud noise when

opened.     (D.E. 546, Page 51).   The caregivers, a married couple, reported they provided




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overnight supervision by alternating shifts overnight. (D.E. 546, Page 51). The caregivers also

had two adult sons who were members of the household, ages 47 and 18. (D.E. 546, Page 51).

The caregiver said her live-in 47-year-old adopted son, who is disabled, helped his parents with

the awake-night supervision.    (D.E. 546, Page 51).       It appeared he has an intellectual or

developmental disability. (D.E. 546, Page 51). The caregiver pointed out that his role in

overnight supervision was limited to getting up if anything happened or required intervention.

(D.E. 546, Page 510).

       In the fourth Foster Group Home visited by Ms. Fowler, on March 7, 2017, seven

children under the age of 18 resided in their home. (D.E. 546, Page 51). Four were foster youth:

two boys ages 8 and 3 years old, and two girls 6 and 5 years old. (D.E. 546, Page 51). The

couple’s three biological children were 16, 14 and 12 years old. (D.E. 546, Page 510). The

caregivers, a married couple, reported they provided overnight supervision by alternating shifts

overnight. (D.E. 546, Pages 51-52). The caregiver’s mother was reportedly able to help on

occasion when someone was sick or the husband worked outside the home. (D.E. 546, Page 52).

       In the fifth Foster Group Home visited by Ms. Fowler, on March 7, 2017, three foster

children resided in the home, one boy age 1 year old, and two girls, ages 5 and 2 years old. (D.E.

546, Page 52). The caregivers, a married couple, also had four birth children who lived in the

home: daughters, ages 15, 12, 9 and 6 years old. (D.E. 546, Page 52). In order to avoid an

awake-night supervision requirement, the caregivers reported that every night one of the foster

parents’ biological children left the home with an older, adult sibling who maintained a separate

residence, and stayed at her house. (D.E. 546, Page 52).

       In the sixth Foster Group Home visited by Ms. Fowler, on March 8, 2017, seven children

resided in the home, only one of whom was a foster child: a 2 year old girl. (D.E. 546, Page 52).




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The caregivers have six young children who they have adopted, and one adult biological son (22

years old) who also lives with them. (D.E. 546, Page 52). The caregivers, a married couple,

reported they alternated shifts for awake-night supervision. (D.E. 546, Page 52). The plan

allowed the caregivers approximately 5 to 6 hours of sleep per night, which the wife said was

enough for her. (D.E. 546, Page 52). Her great grandmother was also reportedly available to

help when needed, and their adult son who lived with them also helped when needed. (D.E. 546,

Page 52).

       The awake-night supervision plans utilized in these homes invoke the same concerns the

Court found concerning overworked caseworkers. The caregivers in these homes are staying

awake throughout all hours of the night rather than bringing in a qualified outside person to

provide supervision. Exhausted caregivers, like overworked caseworkers, provide lower quality

care to children. The actions currently being taken concerning Foster Group Homes do not

follow the spirit of the Court’s December 2015 Order and do not cure the multitude of harms

present in Foster Group Homes.

       The Court’s January 2017 Opinion requires this Implementation Plan include the

elimination of Foster Group Homes as placements for children in the PMC class. (D.E. 500,

Page 29). In May 2017, Texas House Bill 7 amended the Human Resources Code (HRC),

Chapter 42, and prohibited Licensing from issuing any new permits to Foster Group Homes

after August 31, 2017. (D.E. 546, Page 52). House Bill 7 allows any Foster Group Home

licensed or verified before September 1, 2017, to continue to operate under the law in effect prior

to that date, until Licensing develops and implements procedures for conversion to a traditional

foster home and relinquishment of the Foster Group Home License. (D.E. 546, Page 52). House

Bill 7 also lowered the minimum capacity for General Residential Operations (GRO), a form of




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congregate care with heightened licensure requirements, from 13 children to 7 children. (D.E.

546, Page 52). The Objection is OVERRULED.

      2. Effective immediately and ongoing thereafter, no PMC child may reside in any
         family-like placement that houses more than six children, inclusive of biological,
         adoptive, non-foster and foster children. Family-like placements include non-relative
         foster care, tribal foster care, and therapeutic foster care.68

                a.      Objection

         Defendants object that Item 2 contradicts a newly enacted state law allowing foster

family homes to have up to 8 children. (D.E. 556, Page 42-43).

                b.      Ruling on Objection

         Defendants’ objection to Item 2 is that the Texas Legislature recently enacted a law

allowing DFPS to expand the capacity of foster family homes to eight children. See HB 7, Acts

2017, 85th Leg., R.S., Ch. 317, eff. September 1, 2017. The law cited by Defendants says only

that DFPS “may” issue exceptions to the six-child capacity limit, it does not mandate it. The

Court’s Order, then, does not require Defendants to violate state law. Ultimately, however, this

Court has the responsibility to take the steps necessary to cure violations of the Constitution. To

the extent HB 7 does conflict with this Court’s order, a “[s]tate-law prohibition against

compliance with [a] District Court’s decree cannot survive the command of the Supremacy

Clause of the United States Constitution.”            See Washington v. Wash. State Commercial

Passenger Fishing Vessel Ass’n, 443 U.S. 658, 695 (1979). Defendants’ Objection to Item 2 is

OVERRULED. For a discussion as to the basis for this relief, see supra at III.P.1.

IV.      MONITORING

         Pursuant to its inherent authority and Federal Rule of Civil Procedure 53, the Court

appoints Monitors to superintend compliance with its decree.                 Remedying the numerous,

68
 Defendants’ Objection that Item 2 affected kinship placements is SUSTAINED. (D.E. 556, Pages 43-44). The
Court has deleted the reference to kinship placements.


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decades-old problems in Texas’s foster-care system is just as complex a task as was the reform

of Texas’s prison system mandated by Ruiz v. Estelle. See 679 F. 2d at 1160. “The scope and

complexity of the decree” in this case, like that of the decree in Ruiz, weigh heavily in favor of

appointing a monitor. 679 F. 2d at 1160; accord Nat’l Org. for the Reform of Marijuana Laws v.

Mullen, 828 F. 2d 536, 543 (9th Cir. 1987). “The sheer size” of the Texas foster-care system,

like “[t]he sheer size of the Texas prison system[,] could be found to pose special difficulties in

implementing a remedial decree.” Ruiz, 679 F. 2d at 1160 n. 238. Appointment of a monitor in

this situation is even more appropriate today than it was when Ruiz was decided because Rule 53

has since been amended to explicitly recognize that “[r]eliance on a master is appropriate when a

complex decree requires complex policing . . . .” See Fed. R. Civ. P. 53 advisory committee’s

note (citing Local 28, Sheet Metal Workers’ Internat’l Ass’n v. EEOC, 478 U.S. 421, 481-82

(1986)). Institutional reform of a massive state agency, as the Constitution requires here, is a

“posttrial matter[] that cannot be effectively and timely addressed by an available district judge

or magistrate judge of the district.” Fed. R. Civ. P. 53(a)(1)(C).

       Because the State of Texas has failed to rectify long-standing problems with its foster-

care system despite decades of awareness and extensive reports and recommendations by internal

and external authorities, this Court concludes that “unless directed otherwise by some authority,

the studies and testing will continue, no remediation will occur and the dangerous condition[s]

will continue to exist.” See Interfaith Cmty. Org. v. Honeywell Int’l, Inc., 263 F. Supp. 2d 796,

834 (D.N.J. 2003), aff’d 399 F. 3d 248 (3d Cir. 2005); (D.E. 500, Page 12) (discussing Texas’s

failure to act upon twenty years of studies conducted or commissioned by the State); (D.E. 368,

Pages 201-04) (discussing Texas’s inadequate response to two internal studies finding error rates

of 64.6% and 75%, respectively, in its investigations of abuse and negligent supervision). The




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State of Texas’s unwillingness to assist the Court in developing a remedy, its continued

insistence that it has not violated the Constitution, and its failure to conduct court-ordered

workload studies bolster that conclusion. See Howe v. City of Akron, 801 F. 3d 718, 737-38 (6th

Cir. 2015); (D.E. 500 at 23); see also Ruiz, 679 F. 2d at 1160 (5th Cir. 1982) (citing the Texas

Department of Corrections’ “failure to acknowledge even ‘completely evident’ constitutional

violations” as one of the considerations justifying the lower court’s appointment of a monitor).

         Finally, the disconnect between the written policies of DFPS and its actual practices

provides another reason why this Court finds appointment of a monitor necessary to ensure

compliance with this Order. See Ruiz, 679 F. 2d at 1160; (D.E. 500, Page 11) (“[P]olicies not

practiced are insufficient to address the constitutional deficiencies found in the Court’s 2015

Order.”).

         Therefore, it is ORDERED that:

      1. The Court hereby appoints Kevin Ryan69 and Deborah Fowler as the Monitors of this
         Final Order, responsible to assess and report on Defendants’ compliance with the
         terms of this Final Order. The Monitors shall be responsible solely to the Court but
         shall work actively with the parties to assure the effective and prompt implementation
         of this Order. The Monitors shall proceed with all reasonable diligence and shall
         commence their duties no later than January 19, 2018. The Monitors shall serve until
         the Court determines, upon Defendants’ application, that the Monitors are no longer
         necessary.

      2. Neither party, nor any employee or agent of either party, shall have any supervisory
         authority over the Monitors’ activities, reports, findings, or recommendations. The
         retention of the Monitors shall be conducted solely pursuant to the procedures set
         forth in this Order and shall not be governed by any formal or legal procurement
         requirements. The Monitors shall have a budget and staff sufficient to allow the
         Monitors to carry out the responsibilities set forth in this Final Order, and may
         contract with such experts or consultants as the Monitors may deem appropriate, in
         consultation with the Court. The Monitors, and any experts or consultants hired by
         the Monitors, may initiate and receive ex parte communications with the parties, and
         with the Court.


69
   The Court’s previous Order of Appointment (D.E. 379) on March 21, 2016 naming Kevin Ryan as Special Master
is superseded by this Order.


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   3. The Monitors’ duties shall include to independently verify data reports and statistics
      provided pursuant to this Final Order. The Monitors shall have the authority to
      conduct, or cause to be conducted, such case record reviews, qualitative reviews, and
      audits as the Monitors reasonably deem necessary. In order to avoid duplication,
      DFPS shall provide the Monitors with copies of all state-issued data reports regarding
      topics covered by this Final Order. Notwithstanding the existence of state data, data
      analysis or reports, the Monitors shall have the authority to prepare new reports on all
      terms of this Final Order to the extent the Monitors deem necessary.

   4. The Monitors shall periodically conduct case record and qualitative reviews to
      monitor and evaluate the Defendants’ performance with respect to this Final Order.
      The Monitors shall also review all plans and documents to be developed and
      produced by Defendants pursuant to this Final Order and report on Defendants’
      compliance in implementing the terms of this Final Order. The Monitors shall take
      into account the timeliness, appropriateness, and quality of the Defendants’
      performance with respect to the terms of this Final Order.

   5. The Monitors shall provide a written report to the Court every six months. The
      Monitors’ reports shall set forth whether the Defendants have met the requirements of
      this Final Order. In addition, the Monitors’ reports shall set forth the steps taken by
      Defendants, and the reasonableness of those efforts; the quality of the work done by
      Defendants in carrying out those steps; and the extent to which that work is producing
      the intended effects and/or the likelihood that the work will produce the intended
      effects.

   6. The Monitors shall have free and complete access to records maintained by
      Defendants, its divisions and any successor agencies or divisions, and by its private
      agency partners. The Monitors shall also have free and complete access to the staff of
      DFPS; its divisions and any successor agencies or divisions; persons within the
      executive branch; private agency partners; PMC children in the care of DFPS and of
      private agencies; and other individuals that the Monitors deem relevant to their work.
      DFPS shall direct all employees and contract providers to cooperate fully with the
      Monitors and shall assist the Monitors in gaining free access to other stakeholders in
      the child welfare system. Defendants shall provide the Monitors with free and, upon
      request, private access to all individuals within DFPS and persons within the
      Executive Branch of Texas State government, as the Monitors choose; to assist the
      Monitors in gaining access to other stakeholders in the child welfare system
      (including but not limited to the staff of contract agencies); and to provide the
      Monitors with free access to all documents, data, and premises it deems relevant to
      their work (including but not limited to documents and data from contract agencies
      and courts). The Monitors shall respect the confidentiality of all information related
      to individually identifiable clients, subject to applicable law. Defendants shall take
      no adverse action against individuals or agencies because they shared information
      with the Monitors pursuant to this Final Order.




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   7. The reports of the Monitors shall be public documents filed with the Court, except
      that any individually identifying information and any other confidential information
      protected from disclosure by law shall be redacted or otherwise removed from any
      public report.

   8. The parties shall have access, through the Monitors, to all information made available
      to the Monitors, subject to the existing confidentiality order in effect in this case. The
      Monitors may protect the identity of confidential sources of any such information.

   9. The Monitor may periodically meet privately with the Court concerning issues related
      to this case.

   10. Defendants shall deliver to the Monitors all records, reports, data and information
       within 30 days of the Monitors’ request. The Monitors may grant extensions to due
       dates upon application in writing by the Defendants. If the Monitors decline to grant
       Defendants an extension, the Monitor shall do so in writing and the Defendants shall
       either produce the requested records, reports, data and information by the due date or
       appeal to the Court for an extension.

   11. The Monitors shall submit bills for their compensation and reasonable expenses to the
       State, as well as file these bills under seal with the Court, on a monthly basis. The
       State shall approve and issue payment within 30 days of receipt of the monthly bill.
       If the State disputes a bill, Defendants shall file their objections with the Court no
       later than 15 days after receiving the bill and/or request additional clarifying
       information or documentation to the Monitors, with a copy served on Plaintiffs. The
       Monitors shall have 15 days in which to respond and to provide the additional
       information and/or documentation requested, with a copy served on Plaintiffs. If
       within 45 days of presentation of the Monitors’ bill there is still a dispute, the parties
       shall submit the dispute to the Court for resolution. At this time, Plaintiffs,
       Defendants, and the Monitors shall file a joint statement regarding the disputed
       payment.

   12. The Monitors shall not intervene in the administrative management of either DFPS or
       any of its units and shall not direct the defendants or any of their subordinates to take
       or to refrain from taking any specific action to achieve compliance. The Monitors are
       not to consider matters that go beyond superintending compliance with this Court’s
       decree.

   13. If at any point the Monitor can no longer serve, the Court shall appoint another
       Monitor, with input and recommendations from the outgoing Monitor.




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V.      CONCLUSION

        In its December 2015 Order, the Court found Texas’s foster care system was broken.

Over two-years later, the system remains broken and DFPS has demonstrated an unwillingness to

take tangible steps to fix the broken system.

        The Court ADOPTS in part the Special Master’s Implementation Plan and all

Objections not specifically sustained above are OVERRULED. The State SHALL implement

the policies and procedures herein to ensure that Texas’s PMC foster children are free

from an unreasonable risk of harm.

        The Court appoints Kevin Ryan and Deborah Fowler to monitor compliance with this

order. The Monitors are ORDERED to file compliance reports on each policy outlined in this

order due every SIX MONTHS with the first report due six months from the date of entry of this

order. DFPS is ORDERED to cooperate fully with the Monitors to implement each plan

without delay and to assist the Monitors in the creation of monitoring reports. The Court retains

jurisdiction for a period of 3 years after full compliance as certified by the Monitors. Either

party may apply to the Court during the term of monitoring to terminate supervision over one or

more components of this Order if that party can show full compliance with that component and

that further monitoring will not serve a purpose. Cf. Freeman v. Pitts, 503 U.S. 467, 489 (1992)

(“A federal court in a school desegregation case has the discretion to order an incremental or

partial withdrawal of its supervision and control.”). All monitoring costs are to be borne by

Defendants.

        SIGNED and ORDERED this 19th day of January, 2018.


                                                ___________________________________
                                                          Janis Graham Jack
                                                   Senior United States District Judge



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